24-10449-mew       Doc 14-1      Filed 03/27/24 Entered 03/27/24 11:34:24               Most recent
                                    tax return Pg 1 of 107

  CLIENT M3234

                                        LALAJ CPA PC
                                         2817 31ST ST
                                      ASTORIA, NY 11102
                                        (212) 404-6150

                                                                                  March 15, 2024

  MOXY RESTAURANT ASSOCIATES INC.
  SMITHFIELD HALL
  138 WEST 25TH ST
  NEW YORK, NY 10001


  Dear Client:

  Your 2023 Federal S Corporation Income Tax return will be electronically filed with the Internal
  Revenue Service upon receipt of a signed Form 8879-CORP, E-file Authorization for
  Corporations. No tax is payable with the filing of this return.

  Your 2023 New York S Corporation Franchise Tax Return will be electronically filed with the
  New York Department of Taxation and Finance upon receipt of a signed Form TR-579-CT.
  There is a balance due of $1,000.

  Mail your New York payment voucher, CT-200-V, on or before March 15, 2024 to:

                              NYS Department of Taxation & Finance
                                           Corp - V
                                        P.O. Box 15163
                                   Albany, NY 12212-5163

  Your 2023 New York City Corporation Income Tax Return will be electronically filed with the
  New York City Department of Finance upon receipt of a signed Form NYC 579-GCT. There is a
  balance due of $2,327. Mail the New York City payment voucher on or before March 15, 2024
  to:

                               NYC DEPARTMENT OF FINANCE
                                      P.O. BOX 3933
                                 NEW YORK, NY 10008-3933

  Your estimated tax schedule for 2024 is listed below:

                                Due Date             New York City
                                 3/15/24           $         618 Paid
                                 6/17/24                     620
                                 9/16/24                     619
                                12/16/24                     619
                                                        ----------
                                                   $       2,476

  You must distribute a copy of the 2023 Schedule K-1 to each shareholder. Be sure to give each
  shareholder a copy of the Shareholder's Instructions for Schedule K-1 (Form 1120S).
24-10449-mew       Doc 14-1       Filed 03/27/24 Entered 03/27/24 11:34:24   Most recent
                                     tax return Pg 2 of 107




  Please call if you have any questions.

  Sincerely,



  ELTON LALAJ CPA
                24-10449-mew                              Doc 14-1                     Filed 03/27/24 Entered 03/27/24 11:34:24                                                                         Most recent
                                                                                          tax return Pg 3 of 107

Form     1120-S                                                 U.S. Income Tax Return for an S Corporation
                                            Do not file this form unless the corporation has filed or
                                                                                                                                                                                                                  OMB No. 1545-0123



Department of the Treasury
Internal Revenue Service
                                            is attaching Form 2553 to elect to be an S corporation.
                                  Go to www.irs.gov/Form1120S for instructions and the latest information.
                                                                                                                                                                                                                       2023
For calendar year 2023 or tax year beginning                    , 2023, ending                   ,
A S election effective date                                                                                                                                                                       D    Employer identification number

      12/20/2013                         TYPE              MOXY RESTAURANT ASSOCIATES INC.                                                                                                            XX-XXXXXXX
B     Business activity code
      number (see instructions)          OR                SMITHFIELD HALL                                                                                                                        E    Date incorporated

      722410                                               138 WEST 25TH ST                                                                                                                           12/20/2013
                                         PRINT
C     Check if Schedule                                    NEW YORK, NY 10001                                                                                                                     F    Total assets (see instructions)
      M-3 attached
                                                                                                                                                                                                  $                     633,337.
G Is the corporation electing to be an S corporation beginning with this tax year? See instructions.                                                                              Yes         X No
H     Check if:          (1)
                         Final return     (2)     Name change        (3)    Address change
                         (4)
                         Amended return       (5)    S election termination
I     Enter the number of shareholders who were shareholders during any part of the tax year. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 9
J     Check if corporation:    (1)    Aggregated activities for section 465 at-risk purposes (2)       Grouped activities for section 469 passive activity purposes
Caution: Include only trade or business income and expenses on lines 1a through 22. See the instructions for more information.
      1 a Gross receipts or sales                  4,282,509. b Less returns and allowances                                                                                              Balance           1c          4,282,509.
 I
 N
      2 Cost of goods sold (attach Form 1125-A) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                    2           1,134,636.
 C
 O
      3 Gross profit. Subtract line 2 from line 1c. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                3           3,147,873.
 M    4 Net gain (loss) from Form 4797, line 17 (attach Form 4797). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                    4
 E
      5 Other income (loss) (see instrs ' att statement). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                      5
      6 Total income (loss). Add lines 3 through 5. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                    6           3,147,873.
      7 Compensation of officers (see instructions ' attach Form 1125-E). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                          7             213,250.
      8 Salaries and wages (less employment credits) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                         8           1,406,209.
 D
      9   Repairs   and    maintenance             ...........................................................................                                                                             9              27,474.
 E   10 Bad debts . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 10
 D
 U
 C
     11 Rents. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 11                414,106.
 T   12 Taxes and licenses. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 12                             393,170.
 I
 O   13 Interest (see instructions). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 13
 N
 S   14 Depreciation from Form 4562 not claimed on Form 1125-A or elsewhere on return (attach Form 4562). . . 14                                                                                                            32,278.
 S
     15 Depletion (Do not deduct oil and gas depletion.). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 15
 E
 E
     16 Advertising . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 16                        1,205.
     17 Pension, profit-sharing, etc., plans . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 17
 I
 N   18 Employee benefit programs. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 18                                       68,435.
 S
 T   19 Energy efficient commercial buildings deduction (attach Form 7205). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 19
 R   20 Other deductions (attach statement). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . SEE                         . . . . . . STATEMENT
                                                                                                                                                                         . . . . . . . . . . . . . . . .1 20             514,569.
 S
     21 Total deductions. Add lines 7 through 20 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 21                                            3,070,696.
     22 Ordinary business income (loss). Subtract line 21 from line 6. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 22                                                                 77,177.
     23 a Excess net passive income or LIFO recapture
          tax (see instructions). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 23 a
        b Tax from Schedule D (Form 1120-S). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 23 b
 T
 A      c Add lines 23a and 23b (see instructions for additional taxes). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 23 c
 X   24 a Current year's estimated tax payments and preceding year's overpayment
 A        credited to the current year . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 24 a
 N
 D      b Tax deposited with Form 7004 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 24 b
 P
        c Credit for federal tax paid on fuels (attach Form 4136). . . . . . . . . . . . . . . . . . . . . 24 c
 A      d Elective payment election amount from Form 3800 . . . . . . . . . . . . . . . . . . . . . . . . 24 d
 Y
 M      z Add lines 24a through 24d . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 24 z
 E
 N   25 Estimated tax penalty (see instructions). Check if Form 2220 is attached. . . . . . . . . . . . . . . . . . . . . . . . . .                                                                       25
 T
 S   26 Amount owed. If line 24z is smaller than the total of lines 23c and 25, enter amount owed. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 26                                                                      0.
     27 Overpayment. If line 24z is larger than the total of lines 23c and 25, enter amount overpaid. . . . . . . . . . . . . 27
     28 Enter amount from line 27: Credited to 2024 estimated tax                                                                                                                 Refunded . . 28
                    Under penalties of perjury, I declare that I have examined this return, including accompanying schedules and statements, and to the best of my knowledge and belief, it is true,
                    correct, and complete. Declaration of preparer (other than taxpayer) is based on all information of which preparer has any knowledge.
Sign                                                                                                                                                            May the IRS discuss this return
                                                                                                                                                                with the preparer shown below?
Here                                                                                                                                           DIRECTOR         See instructions.
                    Signature of officer                                                Date                          Title                                                        Yes           No                    X
                    Print/Type preparer's name                                           Preparer's signature                                       Date                                                        PTIN
                                                                                                                                                                                     Check             if
Paid                ELTON LALAJ CPA              ELTON LALAJ CPA                                                                                                                     self-employed        P00437378
Preparer
Use Only
                    Firm's name    LALAJ CPA PC                                                                                                                                  Firm's EIN           XX-XXXXXXX
                    Firm's address 2817 31ST ST
                                   ASTORIA, NY 11102                                                                                                                             Phone no.       (212) 404-6150
BAA For Paperwork Reduction Act Notice, see separate instructions.                                                                                  SPSA0112         06/27/23                                     Form 1120-S (2023)
             24-10449-mew                              Doc 14-1                    Filed 03/27/24 Entered 03/27/24 11:34:24                                                                      Most recent
                                                                                      tax return Pg 4 of 107
Form 1120-S (2023)MOXY RESTAURANT ASSOCIATES INC.                                                                                                                                       XX-XXXXXXX                                Page 2
Schedule B     Other Information (see instructions)                                                                                                                                                                    Yes         No
 1 Check accounting method: a  Cash b X Accrual    c Other (specify)
 2     See the instructions and enter the:
       a Business activity BAR & TAVERN                                                                      b Product or service                 FOOD & BEVERAGES
 3  At any time during the tax year, was any shareholder of the corporation a disregarded entity, a trust, an estate, or a
    nominee or similar person? If "Yes," attach Schedule B-1, Information on Certain Shareholders of an S Corporation . . . . . .                                                                                                         X
 4 At the end of the tax year, did the corporation:
  a Own directly 20% or more, or own, directly or indirectly, 50% or more of the total stock issued and outstanding of
    any foreign or domestic corporation? For rules of constructive ownership, see instructions. If "Yes," complete (i)
    through (v) below . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .               X
                 (i) Name of Corporation                                                                    (ii) Employer                             (iii) Country of                       (iv) Percentage (v) If Percentage in (iv)
                                                                                                             Identification                            Incorporation                          of Stock Owned is 100%, Enter the
                                                                                                           Number (if any)                                                                                              Date (if applicable) a
                                                                                                                                                                                                                         Qualified Subchapter
                                                                                                                                                                                                                        S Subsidiary Election
                                                                                                                                                                                                                              Was Made




     b Own directly an interest of 20% or more, or own, directly or indirectly, an interest of 50% or more in the profit, loss, or
       capital in any foreign or domestic partnership (including an entity treated as a partnership) or in the beneficial interest
       of a trust? For rules of constructive ownership, see instructions. If "Yes," complete (i) through (v) below. . . . . . . . . . . . . . . . . .                                                                                  X
                                 (i) Name of Entity                                                             (ii) Employer                      (iii) Type                    (iv) Country of                      (v) Maximum %
                                                                                                                 Identification                    of Entity                      Organization                         Owned in Profit,
                                                                                                               Number (if any)                                                                                         Loss, or Capital




 5 a At the end of the tax year, did the corporation have any outstanding shares of restricted stock?. . . . . . . . . . . . . . . . . . . . . . . . . .                                                                               X
     If "Yes," complete lines (i) and (ii) below.
     (i) Total shares of restricted stock . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
     (ii) Total shares of non-restricted stock . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
     b At the end of the tax year, did the corporation have any outstanding stock options, warrants, or similar instruments?. . . . . .                                                                                                X
       If "Yes," complete lines (i) and (ii) below.
       (i) Total shares of stock outstanding at the end of the tax year . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
       (ii) Total shares of stock outstanding if all instruments were executed . . . . . . . . . . . . . . . . . . . . . . . . . . .
 6     Has this corporation filed, or is it required to file, Form 8918, Material Advisor Disclosure Statement, to provide
       information on any reportable transaction? . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                X
 7     Check this box if the corporation issued publicly offered debt instruments with original issue discount . . . . . . . . . . . . . . . .
       If checked, the corporation may have to file Form 8281, Information Return for Publicly Offered Original Issue Discount
       Instruments.
 8     If the corporation (a) was a C corporation before it elected to be an S corporation or the corporation acquired an
       asset with a basis determined by reference to the basis of the asset (or the basis of any other property) in
       the hands of a C corporation, and (b) has net unrealized built-in gain in excess of the net recognized built-in gain
       from prior years, enter the net unrealized built-in gain reduced by net recognized built-in gain from prior years.
       See instructions . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $
 9     Did the corporation have an election under section 163(j) for any real property trade or business or any farming business
       in effect during the tax year? See instructions . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                 X
10     Does the corporation satisfy one or more of the following? See instructions. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                            X
  a The corporation owns a pass-through entity with current, or prior year carryover, excess business interest expense.
  b The corporation's aggregate average annual gross receipts (determined under section 448(c)) for the 3 tax years
    preceding the current tax year are more than $29 million and the corporation has business interest expense.
  c The corporation is a tax shelter and the corporation has business interest expense.
    If "Yes," complete and attach Form 8990, Limitation on Business Interest Expense Under Section 163(j).
11 Does the corporation satisfy both of the following conditions?. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                   X
  a The corporation's total receipts (see instructions) for the tax year were less than $250,000.
  b The corporation's total assets at the end of the tax year were less than $250,000.
    If "Yes," the corporation is not required to complete Schedules L and M-1.
                                                                                                        SPSA0112        06/27/23                                                                             Form 1120-S (2023)
             24-10449-mew                                Doc 14-1                     Filed 03/27/24 Entered 03/27/24 11:34:24                                                                          Most recent
                                                                                         tax return Pg 5 of 107
Form 1120-S (2023)              MOXY RESTAURANT ASSOCIATES INC.                                                                                                                           XX-XXXXXXX                         Page 3
Schedule B                     Other Information (see instructions) (continued)                                                                                                                                      Yes       No
12    During the tax year, did the corporation have any non-shareholder debt that was canceled, was forgiven, or had the
      terms modified so as to reduce the principal amount of the debt?. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                            X
       If "Yes," enter the amount of principal reduction. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $
13 During the tax year, was a qualified subchapter S subsidiary election terminated or revoked? If "Yes," see instructions. . . . .                                                                                            X
14a Did the corporation make any payments in 2023 that would require it to file Form(s) 1099? . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                           X
  b If "Yes," did or will the corporation file required Form(s) 1099?. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                              X
15 Is the corporation attaching Form 8996 to certify as a Qualified Opportunity Fund?. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                             X
      If "Yes," enter the amount from Form 8996, line 15 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $
16    At any time during the tax year, did the corporation: (a) receive (as a reward, award, or payment for property or services);
      or (b) sell, exchange, or otherwise dispose of a digital asset (or a financial interest in a digital asset)? See instructions . . . .                                                                                    X
Schedule K                     Shareholders' Pro Rata Share Items                                                                                                                                             Total amount
Income          1 Ordinary business income (loss) (page 1, line 22). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                        1             77,177.
(Loss)          2 Net rental real estate income (loss) (attach Form 8825) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                             2
                3 a Other gross rental income (loss). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 3 a
                  b Expenses from other rental activities (attach statement). . . . . . . . . . . . . . . . . . . . . . . . . . 3 b
                  c Other net rental income (loss). Subtract line 3b from line 3a. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                             3c
                4 Interest income. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .         4
                5 Dividends: a Ordinary dividends . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                          5a
                                   b Qualified dividends . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 5 b
                6 Royalties. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .   6
                7 Net short-term capital gain (loss) (attach Schedule D (Form 1120-S)) . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                         7
                8 a Net long-term capital gain (loss) (attach Schedule D (Form 1120-S)) . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                      8a
                  b Collectibles (28%) gain (loss). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 8 b
                  c Unrecaptured section 1250 gain (attach statement) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 8 c
                9 Net section 1231 gain (loss) (attach Form 4797) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                       9
               10 Other income (loss) (see instructions). . . . . . . . . . Type:                                                                                                                      10
Deduc-         11 Section 179 deduction (attach Form 4562). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                   11            31,433.
tions          12 a Charitable contributions . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .SEE
                                                                                                                                     . . . . . .STATEMENT
                                                                                                                                                . . . . . . . . . . . . . . .2
                                                                                                                                                                             ......                    12 a              122.
                  b Investment interest expense. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                   12 b
                  c Section 59(e)(2) expenditures . . . . . . . . . . . . . . . . . Type:                                                                                                              12 c
                  d Other deductions (see instructions) . . . . . . . . . . . . Type:                                                                                                                  12 d
Credits        13 a Low-income housing credit (section 42(j)(5)). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                13 a
                    b Low-income housing credit (other) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                      13 b
                    c Qualified rehabilitation expenditures (rental real estate) (attach Form 3468, if applicable) . . . . . . . . . . . . . . . . . . . . . . . . . . . .                             13 c
                    d Other rental real estate credits (see instrs) . . . . . Type:                                                                                                                    13 d
                    e Other rental credits (see instructions) . . . . . . . . . . Type:                                                                                                                13 e
                    f Biofuel producer credit (attach Form 6478) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                             13 f
                    g Other credits (see instructions) . . . . . . . . . . . . . . . . Type:                               SEE STATEMENT 3                                                             13 g           52,787.
Interna-
tional         14      Attach Schedule K-2 (Form 1120-S), Shareholders' Pro Rata Share Items—International, and
                       check this box to indicate you are reporting items of international tax relevance. . . . . . . . . . . .
Alterna-       15 a Post-1986 depreciation adjustment. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                         15 a
tive              b Adjusted gain or loss. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .           15b
Mini-
mum               c Depletion (other than oil and gas). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                      15 c
Tax               d Oil, gas, and geothermal properties ' gross income . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                         15d
(AMT)
Items             e Oil, gas, and geothermal properties ' deductions. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                      15 e
                  f Other AMT items (attach statement). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                          15 f
Items          16 a Tax-exempt interest income . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                   16 a
Affec-            b Other tax-exempt income. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                 16b
ting
Share-            c Nondeductible expenses. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                16 c           52,787.
holder
Basis
                  d Distributions (attach stmt if required) (see instrs). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                16d            87,788.
                  e Repayment of loans from shareholders. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                              16 e
                  f Foreign taxes paid or accrued . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                    16 f
                                                                                                            SPSA0134         06/27/23                                                                          Form 1120-S (2023)
               24-10449-mew                              Doc 14-1                     Filed 03/27/24 Entered 03/27/24 11:34:24                                                                    Most recent
                                                                                         tax return Pg 6 of 107
Form 1120-S (2023)               MOXY RESTAURANT ASSOCIATES INC.                                                                                                                    XX-XXXXXXX                             Page 4
Schedule K                      Shareholders' Pro Rata Share Items (continued)                                                                                                                              Total amount
Other            17 a Investment income. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .   17 a
Infor-              b Investment expenses. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .     17 b
mation
                    c Dividend distributions paid from accumulated earnings and profits. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                           17 c
                      d Other items and amounts
                        (attach statement)                                                                                             SEE STATEMENT 4
Recon-           18     Income (loss) reconciliation. Combine the total amounts on lines 1 through 10. From the result,
ciliation               subtract the sum of the amounts on lines 11 through 12d and 16f . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                         18                  45,622.
Schedule L                      Balance Sheets per Books                                                 Beginning of tax year                                                               End of tax year
                                    Assets                                                            (a)                    (b)                                                    (c)                            (d)
  1 Cash. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                    191.                                                                673.
  2 a Trade notes and accounts receivable. . . . . . . .
    b Less allowance for bad debts . . . . . . . . . . . . . . .                      (                                   )                                          (                              )
  3 Inventories . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                               30,495.                                                               31,545.
  4 U.S. government obligations. . . . . . . . . . . . . . . .
  5 Tax-exempt securities (see instructions). . . . .
  6 Other current assets (attach stmt). . . . . SEE       . . . . . . ST
                                                                      . . . . .5..                                                           32,719.                                                                58,891.
  7 Loans to shareholders. . . . . . . . . . . . . . . . . . . . . .                                                                        224,974.                                                                87,794.
  8 Mortgage and real estate loans . . . . . . . . . . . . .
  9 Other investments (attach statement) . . . . . . . . . . . . . . .
 10 a Buildings and other depreciable assets. . . . . .                                        1,242,914.                                                                    1,274,347.
    b Less accumulated depreciation . . . . . . . . . . . . .                         (          756,202.)                                  486,712. (                         819,913.)                          454,434.
 11 a Depletable assets. . . . . . . . . . . . . . . . . . . . . . . . . .
    b Less accumulated depletion . . . . . . . . . . . . . . . .                      (                                   )                                          (                              )
 12 Land (net of any amortization). . . . . . . . . . . . . .
 13 a Intangible assets (amortizable only). . . . . . . . .
    b Less accumulated amortization . . . . . . . . . . . . .                         (                                   )                                          (                              )
 14 Other assets (attach stmt). . . . . . . . . . . . . . . . . .
 15 Total assets . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                              775,091.                                                              633,337.
        Liabilities and Shareholders' Equity
 16 Accounts payable. . . . . . . . . . . . . . . . . . . . . . . . . .                                                                      36,393.                                                               53,993.
 17 Mortgages, notes, bonds payable in less than 1 year . . . .                                                                              39,076.                                                               39,076.
 18 Other current liabilities (attach stmt). . . SEE      . . . . . . ST
                                                                      . . . . .6..                                                           67,165.                                                              146,519.
 19 Loans from shareholders . . . . . . . . . . . . . . . . . . .                                                                           133,250.
 20 Mortgages, notes, bonds payable in 1 year or more . . . . .                                                                             114,979.                                                              104,474.
 21 Other liabilities (attach statement) . . . . . . . . . . . . . . . . .
 22 Capital stock. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
 23 Additional paid-in capital . . . . . . . . . . . . . . . . . . .
 24 Retained earnings. . . . . . . . . . . . . . . . . . . . . . . . . .                                                                    384,228.                                                              289,275.
 25 Adjustments to shareholders' equity (att stmt). . . . . . . . .
 26 Less cost of treasury stock . . . . . . . . . . . . . . . . .                                                             (                                  )                                      (                         )
 27 Total liabilities and shareholders' equity . . . . .                                                                                    775,091.                                                              633,337.
                                                                                                         SPSA0134        06/27/23                                                                            Form 1120-S (2023)
             24-10449-mew                              Doc 14-1                    Filed 03/27/24 Entered 03/27/24 11:34:24                                               Most recent
                                                                                      tax return Pg 7 of 107
Form 1120-S (2023) MOXY
                   RESTAURANT ASSOCIATES INC.                                   XX-XXXXXXX                                                                                                        Page 5
Schedule M-1 Reconciliation of Income (Loss) per Books With Income (Loss) per Return
                              Note: The corporation may be required to file Schedule M-3. See instructions.
 1     Net income (loss) per books. . . . . . . . . . . . . . . .                                   -7,165. 5 Income recorded on books this year not included
 2     Income included on Schedule K, lines 1, 2, 3c, 4, 5a, 6, 7,                                                       on Schedule K, lines 1 through 10 (itemize):
       8a, 9, and 10, not recorded on books this year (itemize):                                                       a Tax-exempt interest . . $
                                                                                                                                                 ........


 3     Expenses recorded on books this year not                                                                       6 Deductions included on Schedule K, lines 1 through
       included on Schedule K, lines 1 through 12                                                                        12, and 16f, not charged against book income this
       and 16f (itemize):                                                                                                year (itemize):
     a Depreciation. . . . . . . . $                                                                                   a Depreciation. . . . $
     b Travel and entertainment $
       SEE STATEMENT 7                                          52,787.
                                            52,787. 7 Add lines 5 and 6. . . . . . . . . . . . . . . . . . . . . . .                 0.
 4                                          45,622. 8 Income (loss) (Schedule K, line 18). Subtract line 7 from line 4. . . . .
       Add lines 1 through 3 . . . . . . . . . . . . . . . . . . . . . .                                                        45,622.
Schedule M-2 Analysis of Accumulated Adjustments Account, Shareholders' Undistributed Taxable Income
             Previously Taxed, Accumulated Earnings and Profits, and Other Adjustments Account
             (see instructions)
                                                                                                  (a) Accumulated              (b) Shareholders'          (c) Accumulated          (d) Other adjustments
                                                                                                adjustments account           undistributed taxable
                                                                                                                            income previously taxed     earnings and profits              account
 1     Balance at beginning of tax year. . . . . . . . . . . . . . . . .                             384,228.
 2     Ordinary income from page 1, line 22 . . . . . . . . . . . .                                   77,177.
 3     Other additions . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
 4     Loss from page 1, line 22. . . . . . . . . . . . . . . . . . . . . . . . (                                       )
 5     Other reductions. . . . SEE
                                 . . . . . . STATEMENT
                                             ...............8              ....... (                  84,342. )                                                                (                           )
 6     Combine lines 1 through 5. . . . . . . . . . . . . . . . . . . . . . .                        377,063.
 7     Distributions. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .           87,788.
 8     Balance at end of tax year. Subtract line 7 from line 6. . . . . . . .                        289,275.
                                                                                              SPSA0134   06/27/23                                                                  Form 1120-S (2023)
   24-10449-mew     Doc 14-1   Filed 03/27/24 Entered 03/27/24 11:34:24   Most recent
                                  tax return Pg 8 of 107




Lalaj CPA PC
2817 31st St
Astoria, NY 11102




DAVID MASSEY
129 BUCKINGHAM ROAD
YONKERS, NY 10701
24-10449-mew       Doc 14-1      Filed 03/27/24 Entered 03/27/24 11:34:24                 Most recent
                                    tax return Pg 9 of 107



                            MOXY RESTAURANT ASSOCIATES INC.
                                   SMITHFIELD HALL
                                    138 WEST 25TH ST
                                  NEW YORK, NY 10001
                                      (212) 929-9677

                                                                                    March 15, 2024
  DAVID MASSEY
  129 BUCKINGHAM ROAD
  YONKERS, NY 10701


  RE:
  MOXY RESTAURANT ASSOCIATES INC.
  SMITHFIELD HALL
  XX-XXXXXXX
  2023 S Corporation Schedule K-1 (Form 1120S)

  Dear DAVID MASSEY:


  Enclosed is your 2023 Schedule K-1 (Form 1120S) Shareholder's Share of Income, Deductions,
  Credits, Etc. from MOXY RESTAURANT ASSOCIATES INC.. This information reflects the
  amounts you need in order to complete your income tax return. The amounts shown are your
  distributive share of tax items from the S Corporation to be reported on your tax return and may
  not correspond to the actual distributions you have received during the year. This information is
  included in the S Corporation's 2023 federal income tax return that was filed with the Internal
  Revenue Service.

  If you have any questions concerning this information, please contact us immediately.

  Sincerely,



  MOXY RESTAURANT ASSOCIATES INC.

  Enclosure(s)
            24-10449-mew                           Doc 14-1                 Filed 03/27/24 Entered 03/27/24 11:34:24                                          Most recent
                                                                               tax return Pg 10 of 107
                                                                                                                                                                                     671121
                                                                                                        Final K-1                      Amended K-1                             OMB No. 1545-0123
Schedule K-1
(Form 1120-S)                                                                    2023                   Part III       Shareholder's Share of Current Year Income,
Department of the Treasury                                   For calendar year 2023, or tax year                       Deductions, Credits, and Other Items
Internal Revenue Service
                                                                                                   1      Ordinary business income (loss) 13             Credits
     beginning             /          /                 ending          /        /                                                   16,400. N                                       11,217.
                                                                                                   2      Net rental real estate income (loss)
Shareholder's Share of Income, Deductions,
Credits, etc.        See separate instructions.                                                    3      Other net rental income (loss)

     Part I           Information About the Corporation                                            4      Interest income
 A     Corporation's employer identification number
       XX-XXXXXXX                                                                                  5 a Ordinary dividends
 B     Corporation's name, address, city, state, and ZIP code
       MOXY RESTAURANT ASSOCIATES INC.                                                             5 b Qualified dividends                          14   Schedule K-3 is attached if
       SMITHFIELD HALL                                                                                                                                   checked . . . . . . . . . . . . . . . .
       138 WEST 25TH ST                                                                            6      Royalties                                 15   Alternative minimum tax (AMT) items
       NEW YORK, NY 10001
                                                                                                   7      Net short-term capital gain (loss)
 C     IRS Center where corporation filed return
       E-FILE                                                                                      8 a Net long-term capital gain (loss)
 D     Corporation's total number of shares
          Beginning of tax year . . . . . . . . . . . . . . .                             100      8 b Collectibles (28%) gain (loss)
          End of tax year . . . . . . . . . . . . . . . . . . . . .                       100
                                                                                                   8 c Unrecaptured section 1250 gain

     Part II          Information About the Shareholder
                                                                                                   9      Net section 1231 gain (loss)              16   Items affecting shareholder basis
 E     Shareholder's identifying number                                                                                                              C                               11,217.
                                                                                                   10     Other income (loss)
 F     Shareholder's name, address, city, state, and ZIP code                                                                                        D                               16,842.
       DAVID MASSEY
       129 BUCKINGHAM ROAD
       YONKERS, NY 10701



 G Current year allocation percentage. . . . . . . . . .                             21.25 %                                                        17   Other information
                                                                                                                                                    AC* STMT
 H     Shareholder's number of shares
                                                                                                   11     Section 179 deduction
          Beginning of tax year . . . . . . . . . . . . . . .                               21                                         6,680. AJ* STMT
          End of tax year . . . . . . . . . . . . . . . . . . . . .                         21 12 Other deductions
                                                                                                A                                                26. V* STMT
 I     Loans from shareholder
          Beginning of tax year . . . . . . . . . . . . . $                      37,171.
          End of tax year . . . . . . . . . . . . . . . . . . . $



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 L                                                                                                 18        More than one activity for at-risk purposes*
 Y
                                                                                                   19        More than one activity for passive activity purposes*
                                                                                                             *See attached statement for additional information.
BAA For Paperwork Reduction Act Notice, see the Instructions for Form 1120-S. www.irs.gov/Form1120S                                                  Schedule K-1 (Form 1120-S) 2023
SHAREHOLDER 1
                                                                                         SPSA0412 06/23/23
          24-10449-mew                  Doc 14-1             Filed 03/27/24 Entered 03/27/24 11:34:24                                         Most recent
                                                                tax return Pg 11 of 107
MOXY RESTAURANT ASSOCIATES INC. XX-XXXXXXX
SCHEDULE K-1 (FORM 1120S) 2023                                    SUPPLEMENTAL INFORMATION                                                               PAGE   2

    BOX 17
    OTHER INFORMATION

    * DESCRIPTIVE INFORMATION
    AC   GROSS RECEIPTS FOR SECTION 448(C) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .   $   910,033.
    AJ   AGGREGATE BUSINESS ACTIVITY GROSS INCOME . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                      668,923.
    AJ   AGGREGATE BUSINESS ACTIVITY TOTAL DEDUCTIONS . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                              659,202.




SHAREHOLDER 1 : DAVID MASSEY
                                                                            SPSL1201L   07/06/22
         24-10449-mew              Doc 14-1          Filed 03/27/24 Entered 03/27/24 11:34:24                       Most recent
                                                        tax return Pg 12 of 107
Statement A—QBI Pass-through Entity Reporting (Schedule K-1, Box 17, Code V)
S corporation's name: MOXY RESTAURANT ASSOCIATES INC.                           S corporation's EIN: XX-XXXXXXX
Shareholder's name: DAVID MASSEY                                        Shareholder's identifying number:



                                                MOXY RESTAURANT
                                                ASSOCIATES INC.

                                                      PTP                            PTP                            PTP

                                                      Aggregated                     Aggregated                     Aggregated

                                                      SSTB                           SSTB                           SSTB
Shareholder's share of:
QBI or qualified PTP items subject to shareholder-specific determinations:
              Ordinary business income (loss)                              16,400.
              Rental income (loss) . . . . . . . . . .
              Royalty income (loss) . . . . . . . . .
              Section 1231 gain (loss). . . . . . .
              Other income (loss) . . . . . . . . . . .
              Section 179 deduction. . . . . . . . .                        6,680.
              Other deductions. . . . . . . . . . . . . .
W-2 wages . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 344,135.
UBIA of qualified property. . . . . . . . . . . . . . . . . .             111,689.
Section 199A dividends




                                                      PTP                            PTP                            PTP

                                                      Aggregated                     Aggregated                     Aggregated

                                                      SSTB                           SSTB                           SSTB
Shareholder's share of:
QBI or qualified PTP items subject to shareholder-specific determinations:
              Ordinary business income (loss)
              Rental income (loss) . . . . . . . . . .
              Royalty income (loss) . . . . . . . . .
              Section 1231 gain (loss). . . . . . .
              Other income (loss) . . . . . . . . . . .
              Section 179 deduction. . . . . . . . .
              Other deductions. . . . . . . . . . . . . .
W-2 wages . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
UBIA of qualified property. . . . . . . . . . . . . . . . . .




SHAREHOLDER 1
BAA For Paperwork Reduction Act Notice, see the Instructions for Form 1120-S.          SPSA1515   05/15/23   Statement A (Form 1120-S) (2023)
   24-10449-mew     Doc 14-1   Filed 03/27/24 Entered 03/27/24 11:34:24   Most recent
                                  tax return Pg 13 of 107




Lalaj CPA PC
2817 31st St
Astoria, NY 11102




WILLIAM THOMPSON
4106 50TH ST AP 6F
WOODSIDE, NY 11377
24-10449-mew       Doc 14-1      Filed 03/27/24 Entered 03/27/24 11:34:24                 Most recent
                                    tax return Pg 14 of 107



                            MOXY RESTAURANT ASSOCIATES INC.
                                   SMITHFIELD HALL
                                    138 WEST 25TH ST
                                  NEW YORK, NY 10001
                                      (212) 929-9677

                                                                                    March 15, 2024
  WILLIAM THOMPSON
  4106 50TH ST AP 6F
  WOODSIDE, NY 11377


  RE:
  MOXY RESTAURANT ASSOCIATES INC.
  SMITHFIELD HALL
  XX-XXXXXXX
  2023 S Corporation Schedule K-1 (Form 1120S)

  Dear WILLIAM THOMPSON:


  Enclosed is your 2023 Schedule K-1 (Form 1120S) Shareholder's Share of Income, Deductions,
  Credits, Etc. from MOXY RESTAURANT ASSOCIATES INC.. This information reflects the
  amounts you need in order to complete your income tax return. The amounts shown are your
  distributive share of tax items from the S Corporation to be reported on your tax return and may
  not correspond to the actual distributions you have received during the year. This information is
  included in the S Corporation's 2023 federal income tax return that was filed with the Internal
  Revenue Service.

  If you have any questions concerning this information, please contact us immediately.

  Sincerely,



  MOXY RESTAURANT ASSOCIATES INC.

  Enclosure(s)
            24-10449-mew                           Doc 14-1                 Filed 03/27/24 Entered 03/27/24 11:34:24                                         Most recent
                                                                               tax return Pg 15 of 107
                                                                                                                                                                                    671121
                                                                                                        Final K-1                      Amended K-1                            OMB No. 1545-0123
Schedule K-1
(Form 1120-S)                                                                    2023                   Part III       Shareholder's Share of Current Year Income,
Department of the Treasury                                   For calendar year 2023, or tax year                       Deductions, Credits, and Other Items
Internal Revenue Service
                                                                                                   1      Ordinary business income (loss) 13            Credits
     beginning             /          /                 ending          /        /                                                     3,859. N                                        2,639.
                                                                                                   2      Net rental real estate income (loss)
Shareholder's Share of Income, Deductions,
Credits, etc.        See separate instructions.                                                    3      Other net rental income (loss)

     Part I           Information About the Corporation                                            4      Interest income
 A     Corporation's employer identification number
       XX-XXXXXXX                                                                                  5 a Ordinary dividends
 B     Corporation's name, address, city, state, and ZIP code
       MOXY RESTAURANT ASSOCIATES INC.                                                             5 b Qualified dividends                         14   Schedule K-3 is attached if
       SMITHFIELD HALL                                                                                                                                  checked . . . . . . . . . . . . . . . .
       138 WEST 25TH ST                                                                            6      Royalties                                15   Alternative minimum tax (AMT) items
       NEW YORK, NY 10001
                                                                                                   7      Net short-term capital gain (loss)
 C     IRS Center where corporation filed return
       E-FILE                                                                                      8 a Net long-term capital gain (loss)
 D     Corporation's total number of shares
          Beginning of tax year . . . . . . . . . . . . . . .                             100      8 b Collectibles (28%) gain (loss)
          End of tax year . . . . . . . . . . . . . . . . . . . . .                       100
                                                                                                   8 c Unrecaptured section 1250 gain

     Part II          Information About the Shareholder
                                                                                                   9      Net section 1231 gain (loss)             16   Items affecting shareholder basis
 E     Shareholder's identifying number                                                                                                             C                                  2,639.
                                                                                                   10     Other income (loss)
 F     Shareholder's name, address, city, state, and ZIP code                                                                                       D                                  7,464.
       WILLIAM THOMPSON
       4106 50TH ST AP 6F
       WOODSIDE, NY 11377



 G Current year allocation percentage. . . . . . . . . .                                   5%                                                      17   Other information
                                                                                                                                                   AC* STMT
 H     Shareholder's number of shares
                                                                                                   11     Section 179 deduction
          Beginning of tax year . . . . . . . . . . . . . . .                                 5                                        1,572. AJ* STMT
          End of tax year . . . . . . . . . . . . . . . . . . . . .                           5 12 Other deductions
                                                                                                 A                                               6. V* STMT
 I     Loans from shareholder
          Beginning of tax year . . . . . . . . . . . . . $
          End of tax year . . . . . . . . . . . . . . . . . . . $



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 L                                                                                                 18        More than one activity for at-risk purposes*
 Y
                                                                                                   19        More than one activity for passive activity purposes*
                                                                                                             *See attached statement for additional information.
BAA For Paperwork Reduction Act Notice, see the Instructions for Form 1120-S. www.irs.gov/Form1120S                                                 Schedule K-1 (Form 1120-S) 2023
SHAREHOLDER 2
                                                                                         SPSA0412 06/23/23
          24-10449-mew                  Doc 14-1             Filed 03/27/24 Entered 03/27/24 11:34:24                                         Most recent
                                                                tax return Pg 16 of 107
MOXY RESTAURANT ASSOCIATES INC. XX-XXXXXXX
SCHEDULE K-1 (FORM 1120S) 2023                                    SUPPLEMENTAL INFORMATION                                                               PAGE   2

    BOX 17
    OTHER INFORMATION

    * DESCRIPTIVE INFORMATION
    AC   GROSS RECEIPTS FOR SECTION 448(C) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .   $   214,125.
    AJ   AGGREGATE BUSINESS ACTIVITY GROSS INCOME . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                      157,394.
    AJ   AGGREGATE BUSINESS ACTIVITY TOTAL DEDUCTIONS . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                              155,106.




SHAREHOLDER 2 : WILLIAM THOMPSON
                                                                            SPSL1201L   07/06/22
         24-10449-mew              Doc 14-1         Filed 03/27/24 Entered 03/27/24 11:34:24                       Most recent
                                                       tax return Pg 17 of 107
Statement A—QBI Pass-through Entity Reporting (Schedule K-1, Box 17, Code V)
S corporation's name: MOXY RESTAURANT ASSOCIATES INC.                           S corporation's EIN: XX-XXXXXXX
Shareholder's name: WILLIAM THOMPSON                                    Shareholder's identifying number:



                                                MOXY RESTAURANT
                                                ASSOCIATES INC.

                                                     PTP                            PTP                            PTP

                                                     Aggregated                     Aggregated                     Aggregated

                                                     SSTB                           SSTB                           SSTB
Shareholder's share of:
QBI or qualified PTP items subject to shareholder-specific determinations:
              Ordinary business income (loss)                              3,859.
              Rental income (loss) . . . . . . . . . .
              Royalty income (loss) . . . . . . . . .
              Section 1231 gain (loss). . . . . . .
              Other income (loss) . . . . . . . . . . .
              Section 179 deduction. . . . . . . . .                       1,572.
              Other deductions. . . . . . . . . . . . . .
W-2 wages . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 80,973.
UBIA of qualified property. . . . . . . . . . . . . . . . . .             26,280.
Section 199A dividends




                                                     PTP                            PTP                            PTP

                                                     Aggregated                     Aggregated                     Aggregated

                                                     SSTB                           SSTB                           SSTB
Shareholder's share of:
QBI or qualified PTP items subject to shareholder-specific determinations:
              Ordinary business income (loss)
              Rental income (loss) . . . . . . . . . .
              Royalty income (loss) . . . . . . . . .
              Section 1231 gain (loss). . . . . . .
              Other income (loss) . . . . . . . . . . .
              Section 179 deduction. . . . . . . . .
              Other deductions. . . . . . . . . . . . . .
W-2 wages . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
UBIA of qualified property. . . . . . . . . . . . . . . . . .




SHAREHOLDER 2
BAA For Paperwork Reduction Act Notice, see the Instructions for Form 1120-S.         SPSA1515   05/15/23   Statement A (Form 1120-S) (2023)
   24-10449-mew     Doc 14-1   Filed 03/27/24 Entered 03/27/24 11:34:24   Most recent
                                  tax return Pg 18 of 107




Lalaj CPA PC
2817 31st St
Astoria, NY 11102




KEITH DUVAL
11 IDAHO AVE
STATEN ISLAND, NY 10309
24-10449-mew       Doc 14-1      Filed 03/27/24 Entered 03/27/24 11:34:24                 Most recent
                                    tax return Pg 19 of 107



                            MOXY RESTAURANT ASSOCIATES INC.
                                   SMITHFIELD HALL
                                    138 WEST 25TH ST
                                  NEW YORK, NY 10001
                                      (212) 929-9677

                                                                                    March 15, 2024
  KEITH DUVAL
  11 IDAHO AVE
  STATEN ISLAND, NY 10309


  RE:
  MOXY RESTAURANT ASSOCIATES INC.
  SMITHFIELD HALL
  XX-XXXXXXX
  2023 S Corporation Schedule K-1 (Form 1120S)

  Dear KEITH DUVAL:


  Enclosed is your 2023 Schedule K-1 (Form 1120S) Shareholder's Share of Income, Deductions,
  Credits, Etc. from MOXY RESTAURANT ASSOCIATES INC.. This information reflects the
  amounts you need in order to complete your income tax return. The amounts shown are your
  distributive share of tax items from the S Corporation to be reported on your tax return and may
  not correspond to the actual distributions you have received during the year. This information is
  included in the S Corporation's 2023 federal income tax return that was filed with the Internal
  Revenue Service.

  If you have any questions concerning this information, please contact us immediately.

  Sincerely,



  MOXY RESTAURANT ASSOCIATES INC.

  Enclosure(s)
            24-10449-mew                           Doc 14-1                 Filed 03/27/24 Entered 03/27/24 11:34:24                                         Most recent
                                                                               tax return Pg 20 of 107
                                                                                                                                                                                    671121
                                                                                                        Final K-1                      Amended K-1                            OMB No. 1545-0123
Schedule K-1
(Form 1120-S)                                                                    2023                   Part III       Shareholder's Share of Current Year Income,
Department of the Treasury                                   For calendar year 2023, or tax year                       Deductions, Credits, and Other Items
Internal Revenue Service
                                                                                                   1      Ordinary business income (loss) 13            Credits
     beginning             /          /                 ending          /        /                                                     1,544. N                                        1,056.
                                                                                                   2      Net rental real estate income (loss)
Shareholder's Share of Income, Deductions,
Credits, etc.        See separate instructions.                                                    3      Other net rental income (loss)

     Part I           Information About the Corporation                                            4      Interest income
 A     Corporation's employer identification number
       XX-XXXXXXX                                                                                  5 a Ordinary dividends
 B     Corporation's name, address, city, state, and ZIP code
       MOXY RESTAURANT ASSOCIATES INC.                                                             5 b Qualified dividends                         14   Schedule K-3 is attached if
       SMITHFIELD HALL                                                                                                                                  checked . . . . . . . . . . . . . . . .
       138 WEST 25TH ST                                                                            6      Royalties                                15   Alternative minimum tax (AMT) items
       NEW YORK, NY 10001
                                                                                                   7      Net short-term capital gain (loss)
 C     IRS Center where corporation filed return
       E-FILE                                                                                      8 a Net long-term capital gain (loss)
 D     Corporation's total number of shares
          Beginning of tax year . . . . . . . . . . . . . . .                             100      8 b Collectibles (28%) gain (loss)
          End of tax year . . . . . . . . . . . . . . . . . . . . .                       100
                                                                                                   8 c Unrecaptured section 1250 gain

     Part II          Information About the Shareholder
                                                                                                   9      Net section 1231 gain (loss)             16   Items affecting shareholder basis
 E     Shareholder's identifying number                                                                                                             C                                  1,056.
                                                                                                   10     Other income (loss)
 F     Shareholder's name, address, city, state, and ZIP code                                                                                       D                                  2,108.
       KEITH DUVAL
       11 IDAHO AVE
       STATEN ISLAND, NY 10309



 G Current year allocation percentage. . . . . . . . . .                                   2%                                                      17   Other information
                                                                                                                                                   AC* STMT
 H     Shareholder's number of shares
                                                                                                   11     Section 179 deduction
          Beginning of tax year . . . . . . . . . . . . . . .                                 2                                             629. AJ* STMT
          End of tax year . . . . . . . . . . . . . . . . . . . . .                           2 12 Other deductions
                                                                                                 A                                               2. V* STMT
 I     Loans from shareholder
          Beginning of tax year . . . . . . . . . . . . . $                      47,557.
          End of tax year . . . . . . . . . . . . . . . . . . . $



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 L                                                                                                 18        More than one activity for at-risk purposes*
 Y
                                                                                                   19        More than one activity for passive activity purposes*
                                                                                                             *See attached statement for additional information.
BAA For Paperwork Reduction Act Notice, see the Instructions for Form 1120-S. www.irs.gov/Form1120S                                                 Schedule K-1 (Form 1120-S) 2023
SHAREHOLDER 3
                                                                                         SPSA0412 06/23/23
          24-10449-mew                  Doc 14-1             Filed 03/27/24 Entered 03/27/24 11:34:24                                         Most recent
                                                                tax return Pg 21 of 107
MOXY RESTAURANT ASSOCIATES INC. XX-XXXXXXX
SCHEDULE K-1 (FORM 1120S) 2023                                    SUPPLEMENTAL INFORMATION                                                              PAGE   2

    BOX 17
    OTHER INFORMATION

    * DESCRIPTIVE INFORMATION
    AC   GROSS RECEIPTS FOR SECTION 448(C) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .   $   85,650.
    AJ   AGGREGATE BUSINESS ACTIVITY GROSS INCOME . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                      62,957.
    AJ   AGGREGATE BUSINESS ACTIVITY TOTAL DEDUCTIONS . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                              62,043.




SHAREHOLDER 3 : KEITH DUVAL
                                                                            SPSL1201L   07/06/22
         24-10449-mew              Doc 14-1         Filed 03/27/24 Entered 03/27/24 11:34:24                       Most recent
                                                       tax return Pg 22 of 107
Statement A—QBI Pass-through Entity Reporting (Schedule K-1, Box 17, Code V)
S corporation's name: MOXY RESTAURANT ASSOCIATES INC.                           S corporation's EIN: XX-XXXXXXX
Shareholder's name: KEITH DUVAL                                         Shareholder's identifying number:



                                                MOXY RESTAURANT
                                                ASSOCIATES INC.

                                                     PTP                            PTP                            PTP

                                                     Aggregated                     Aggregated                     Aggregated

                                                     SSTB                           SSTB                           SSTB
Shareholder's share of:
QBI or qualified PTP items subject to shareholder-specific determinations:
              Ordinary business income (loss)                              1,544.
              Rental income (loss) . . . . . . . . . .
              Royalty income (loss) . . . . . . . . .
              Section 1231 gain (loss). . . . . . .
              Other income (loss) . . . . . . . . . . .
              Section 179 deduction. . . . . . . . .                         629.
              Other deductions. . . . . . . . . . . . . .
W-2 wages . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 32,389.
UBIA of qualified property. . . . . . . . . . . . . . . . . .             10,512.
Section 199A dividends




                                                     PTP                            PTP                            PTP

                                                     Aggregated                     Aggregated                     Aggregated

                                                     SSTB                           SSTB                           SSTB
Shareholder's share of:
QBI or qualified PTP items subject to shareholder-specific determinations:
              Ordinary business income (loss)
              Rental income (loss) . . . . . . . . . .
              Royalty income (loss) . . . . . . . . .
              Section 1231 gain (loss). . . . . . .
              Other income (loss) . . . . . . . . . . .
              Section 179 deduction. . . . . . . . .
              Other deductions. . . . . . . . . . . . . .
W-2 wages . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
UBIA of qualified property. . . . . . . . . . . . . . . . . .




SHAREHOLDER 3
BAA For Paperwork Reduction Act Notice, see the Instructions for Form 1120-S.         SPSA1515   05/15/23   Statement A (Form 1120-S) (2023)
   24-10449-mew     Doc 14-1   Filed 03/27/24 Entered 03/27/24 11:34:24   Most recent
                                  tax return Pg 23 of 107




Lalaj CPA PC
2817 31st St
Astoria, NY 11102




DAVID N MASSEY
517 WEST FREDERICK ST
LANCASTER, PA 17603
24-10449-mew       Doc 14-1      Filed 03/27/24 Entered 03/27/24 11:34:24                 Most recent
                                    tax return Pg 24 of 107



                            MOXY RESTAURANT ASSOCIATES INC.
                                   SMITHFIELD HALL
                                    138 WEST 25TH ST
                                  NEW YORK, NY 10001
                                      (212) 929-9677

                                                                                    March 15, 2024
  DAVID N MASSEY
  517 WEST FREDERICK ST
  LANCASTER, PA 17603


  RE:
  MOXY RESTAURANT ASSOCIATES INC.
  SMITHFIELD HALL
  XX-XXXXXXX
  2023 S Corporation Schedule K-1 (Form 1120S)

  Dear DAVID N MASSEY:


  Enclosed is your 2023 Schedule K-1 (Form 1120S) Shareholder's Share of Income, Deductions,
  Credits, Etc. from MOXY RESTAURANT ASSOCIATES INC.. This information reflects the
  amounts you need in order to complete your income tax return. The amounts shown are your
  distributive share of tax items from the S Corporation to be reported on your tax return and may
  not correspond to the actual distributions you have received during the year. This information is
  included in the S Corporation's 2023 federal income tax return that was filed with the Internal
  Revenue Service.

  If you have any questions concerning this information, please contact us immediately.

  Sincerely,



  MOXY RESTAURANT ASSOCIATES INC.

  Enclosure(s)
            24-10449-mew                           Doc 14-1                 Filed 03/27/24 Entered 03/27/24 11:34:24                                         Most recent
                                                                               tax return Pg 25 of 107
                                                                                                                                                                                    671121
                                                                                                        Final K-1                      Amended K-1                            OMB No. 1545-0123
Schedule K-1
(Form 1120-S)                                                                    2023                   Part III       Shareholder's Share of Current Year Income,
Department of the Treasury                                   For calendar year 2023, or tax year                       Deductions, Credits, and Other Items
Internal Revenue Service
                                                                                                   1      Ordinary business income (loss) 13            Credits
     beginning             /          /                 ending          /        /                                                     1,544. N                                        1,056.
                                                                                                   2      Net rental real estate income (loss)
Shareholder's Share of Income, Deductions,
Credits, etc.        See separate instructions.                                                    3      Other net rental income (loss)

     Part I           Information About the Corporation                                            4      Interest income
 A     Corporation's employer identification number
       XX-XXXXXXX                                                                                  5 a Ordinary dividends
 B     Corporation's name, address, city, state, and ZIP code
       MOXY RESTAURANT ASSOCIATES INC.                                                             5 b Qualified dividends                         14   Schedule K-3 is attached if
       SMITHFIELD HALL                                                                                                                                  checked . . . . . . . . . . . . . . . .
       138 WEST 25TH ST                                                                            6      Royalties                                15   Alternative minimum tax (AMT) items
       NEW YORK, NY 10001
                                                                                                   7      Net short-term capital gain (loss)
 C     IRS Center where corporation filed return
       E-FILE                                                                                      8 a Net long-term capital gain (loss)
 D     Corporation's total number of shares
          Beginning of tax year . . . . . . . . . . . . . . .                             100      8 b Collectibles (28%) gain (loss)
          End of tax year . . . . . . . . . . . . . . . . . . . . .                       100
                                                                                                   8 c Unrecaptured section 1250 gain

     Part II          Information About the Shareholder
                                                                                                   9      Net section 1231 gain (loss)             16   Items affecting shareholder basis
 E     Shareholder's identifying number                                                                                                             C                                  1,056.
                                                                                                   10     Other income (loss)
 F     Shareholder's name, address, city, state, and ZIP code                                                                                       D                                  2,108.
       DAVID N MASSEY
       517 WEST FREDERICK ST
       LANCASTER, PA 17603



 G Current year allocation percentage. . . . . . . . . .                                   2%                                                      17   Other information
                                                                                                                                                   AC* STMT
 H     Shareholder's number of shares
                                                                                                   11     Section 179 deduction
          Beginning of tax year . . . . . . . . . . . . . . .                                 2                                             629. AJ* STMT
          End of tax year . . . . . . . . . . . . . . . . . . . . .                           2 12 Other deductions
                                                                                                 A                                               2. V* STMT
 I     Loans from shareholder
          Beginning of tax year . . . . . . . . . . . . . $                      30,354.
          End of tax year . . . . . . . . . . . . . . . . . . . $



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 L                                                                                                 18        More than one activity for at-risk purposes*
 Y
                                                                                                   19        More than one activity for passive activity purposes*
                                                                                                             *See attached statement for additional information.
BAA For Paperwork Reduction Act Notice, see the Instructions for Form 1120-S. www.irs.gov/Form1120S                                                 Schedule K-1 (Form 1120-S) 2023
SHAREHOLDER 4
                                                                                         SPSA0412 06/23/23
          24-10449-mew                  Doc 14-1             Filed 03/27/24 Entered 03/27/24 11:34:24                                         Most recent
                                                                tax return Pg 26 of 107
MOXY RESTAURANT ASSOCIATES INC. XX-XXXXXXX
SCHEDULE K-1 (FORM 1120S) 2023                                    SUPPLEMENTAL INFORMATION                                                              PAGE   2

    BOX 17
    OTHER INFORMATION

    * DESCRIPTIVE INFORMATION
    AC   GROSS RECEIPTS FOR SECTION 448(C) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .   $   85,650.
    AJ   AGGREGATE BUSINESS ACTIVITY GROSS INCOME . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                      62,957.
    AJ   AGGREGATE BUSINESS ACTIVITY TOTAL DEDUCTIONS . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                              62,043.




SHAREHOLDER 4 : DAVID N MASSEY
                                                                            SPSL1201L   07/06/22
         24-10449-mew              Doc 14-1         Filed 03/27/24 Entered 03/27/24 11:34:24                       Most recent
                                                       tax return Pg 27 of 107
Statement A—QBI Pass-through Entity Reporting (Schedule K-1, Box 17, Code V)
S corporation's name: MOXY RESTAURANT ASSOCIATES INC.                           S corporation's EIN: XX-XXXXXXX
Shareholder's name: DAVID N MASSEY                                      Shareholder's identifying number:



                                                MOXY RESTAURANT
                                                ASSOCIATES INC.

                                                     PTP                            PTP                            PTP

                                                     Aggregated                     Aggregated                     Aggregated

                                                     SSTB                           SSTB                           SSTB
Shareholder's share of:
QBI or qualified PTP items subject to shareholder-specific determinations:
              Ordinary business income (loss)                              1,544.
              Rental income (loss) . . . . . . . . . .
              Royalty income (loss) . . . . . . . . .
              Section 1231 gain (loss). . . . . . .
              Other income (loss) . . . . . . . . . . .
              Section 179 deduction. . . . . . . . .                         629.
              Other deductions. . . . . . . . . . . . . .
W-2 wages . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 32,389.
UBIA of qualified property. . . . . . . . . . . . . . . . . .             10,512.
Section 199A dividends




                                                     PTP                            PTP                            PTP

                                                     Aggregated                     Aggregated                     Aggregated

                                                     SSTB                           SSTB                           SSTB
Shareholder's share of:
QBI or qualified PTP items subject to shareholder-specific determinations:
              Ordinary business income (loss)
              Rental income (loss) . . . . . . . . . .
              Royalty income (loss) . . . . . . . . .
              Section 1231 gain (loss). . . . . . .
              Other income (loss) . . . . . . . . . . .
              Section 179 deduction. . . . . . . . .
              Other deductions. . . . . . . . . . . . . .
W-2 wages . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
UBIA of qualified property. . . . . . . . . . . . . . . . . .




SHAREHOLDER 4
BAA For Paperwork Reduction Act Notice, see the Instructions for Form 1120-S.         SPSA1515   05/15/23   Statement A (Form 1120-S) (2023)
   24-10449-mew     Doc 14-1   Filed 03/27/24 Entered 03/27/24 11:34:24   Most recent
                                  tax return Pg 28 of 107




Lalaj CPA PC
2817 31st St
Astoria, NY 11102




ERIK M. MANNING
293 FAHLGREN PLACE APT 3C
BROOKLYN, NY 11228
24-10449-mew       Doc 14-1      Filed 03/27/24 Entered 03/27/24 11:34:24                 Most recent
                                    tax return Pg 29 of 107



                            MOXY RESTAURANT ASSOCIATES INC.
                                   SMITHFIELD HALL
                                    138 WEST 25TH ST
                                  NEW YORK, NY 10001
                                      (212) 929-9677

                                                                                    March 15, 2024
  ERIK M. MANNING
  293 FAHLGREN PLACE APT 3C
  BROOKLYN, NY 11228


  RE:
  MOXY RESTAURANT ASSOCIATES INC.
  SMITHFIELD HALL
  XX-XXXXXXX
  2023 S Corporation Schedule K-1 (Form 1120S)

  Dear ERIK M. MANNING:


  Enclosed is your 2023 Schedule K-1 (Form 1120S) Shareholder's Share of Income, Deductions,
  Credits, Etc. from MOXY RESTAURANT ASSOCIATES INC.. This information reflects the
  amounts you need in order to complete your income tax return. The amounts shown are your
  distributive share of tax items from the S Corporation to be reported on your tax return and may
  not correspond to the actual distributions you have received during the year. This information is
  included in the S Corporation's 2023 federal income tax return that was filed with the Internal
  Revenue Service.

  If you have any questions concerning this information, please contact us immediately.

  Sincerely,



  MOXY RESTAURANT ASSOCIATES INC.

  Enclosure(s)
            24-10449-mew                           Doc 14-1                 Filed 03/27/24 Entered 03/27/24 11:34:24                                         Most recent
                                                                               tax return Pg 30 of 107
                                                                                                                                                                                    671121
                                                                                                        Final K-1                      Amended K-1                            OMB No. 1545-0123
Schedule K-1
(Form 1120-S)                                                                    2023                   Part III       Shareholder's Share of Current Year Income,
Department of the Treasury                                   For calendar year 2023, or tax year                       Deductions, Credits, and Other Items
Internal Revenue Service
                                                                                                   1      Ordinary business income (loss) 13            Credits
     beginning             /          /                 ending          /        /                                                     3,859. N                                        2,639.
                                                                                                   2      Net rental real estate income (loss)
Shareholder's Share of Income, Deductions,
Credits, etc.        See separate instructions.                                                    3      Other net rental income (loss)

     Part I           Information About the Corporation                                            4      Interest income
 A     Corporation's employer identification number
       XX-XXXXXXX                                                                                  5 a Ordinary dividends
 B     Corporation's name, address, city, state, and ZIP code
       MOXY RESTAURANT ASSOCIATES INC.                                                             5 b Qualified dividends                         14   Schedule K-3 is attached if
       SMITHFIELD HALL                                                                                                                                  checked . . . . . . . . . . . . . . . .
       138 WEST 25TH ST                                                                            6      Royalties                                15   Alternative minimum tax (AMT) items
       NEW YORK, NY 10001
                                                                                                   7      Net short-term capital gain (loss)
 C     IRS Center where corporation filed return
       E-FILE                                                                                      8 a Net long-term capital gain (loss)
 D     Corporation's total number of shares
          Beginning of tax year . . . . . . . . . . . . . . .                             100      8 b Collectibles (28%) gain (loss)
          End of tax year . . . . . . . . . . . . . . . . . . . . .                       100
                                                                                                   8 c Unrecaptured section 1250 gain

     Part II          Information About the Shareholder
                                                                                                   9      Net section 1231 gain (loss)             16   Items affecting shareholder basis
 E     Shareholder's identifying number                                                                                                             C                                  2,639.
                                                                                                   10     Other income (loss)
 F     Shareholder's name, address, city, state, and ZIP code                                                                                       D                                  7,464.
       ERIK M. MANNING
       293 FAHLGREN PLACE APT 3C
       BROOKLYN, NY 11228



 G Current year allocation percentage. . . . . . . . . .                                   5%                                                      17   Other information
                                                                                                                                                   AC* STMT
 H     Shareholder's number of shares
                                                                                                   11     Section 179 deduction
          Beginning of tax year . . . . . . . . . . . . . . .                                 5                                        1,572. AJ* STMT
          End of tax year . . . . . . . . . . . . . . . . . . . . .                           5 12 Other deductions
                                                                                                 A                                               6. V* STMT
 I     Loans from shareholder
          Beginning of tax year . . . . . . . . . . . . . $                          9,249.
          End of tax year . . . . . . . . . . . . . . . . . . . $



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 L                                                                                                 18        More than one activity for at-risk purposes*
 Y
                                                                                                   19        More than one activity for passive activity purposes*
                                                                                                             *See attached statement for additional information.
BAA For Paperwork Reduction Act Notice, see the Instructions for Form 1120-S. www.irs.gov/Form1120S                                                 Schedule K-1 (Form 1120-S) 2023
SHAREHOLDER 5
                                                                                         SPSA0412 06/23/23
          24-10449-mew                  Doc 14-1             Filed 03/27/24 Entered 03/27/24 11:34:24                                         Most recent
                                                                tax return Pg 31 of 107
MOXY RESTAURANT ASSOCIATES INC. XX-XXXXXXX
SCHEDULE K-1 (FORM 1120S) 2023                                    SUPPLEMENTAL INFORMATION                                                               PAGE   2

    BOX 17
    OTHER INFORMATION

    * DESCRIPTIVE INFORMATION
    AC   GROSS RECEIPTS FOR SECTION 448(C) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .   $   214,126.
    AJ   AGGREGATE BUSINESS ACTIVITY GROSS INCOME . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                      157,394.
    AJ   AGGREGATE BUSINESS ACTIVITY TOTAL DEDUCTIONS . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                              155,106.




SHAREHOLDER 5 : ERIK M. MANNING
                                                                            SPSL1201L   07/06/22
         24-10449-mew              Doc 14-1         Filed 03/27/24 Entered 03/27/24 11:34:24                       Most recent
                                                       tax return Pg 32 of 107
Statement A—QBI Pass-through Entity Reporting (Schedule K-1, Box 17, Code V)
S corporation's name: MOXY RESTAURANT ASSOCIATES INC.                           S corporation's EIN: XX-XXXXXXX
Shareholder's name: ERIK M. MANNING                                     Shareholder's identifying number:



                                                MOXY RESTAURANT
                                                ASSOCIATES INC.

                                                     PTP                            PTP                            PTP

                                                     Aggregated                     Aggregated                     Aggregated

                                                     SSTB                           SSTB                           SSTB
Shareholder's share of:
QBI or qualified PTP items subject to shareholder-specific determinations:
              Ordinary business income (loss)                              3,859.
              Rental income (loss) . . . . . . . . . .
              Royalty income (loss) . . . . . . . . .
              Section 1231 gain (loss). . . . . . .
              Other income (loss) . . . . . . . . . . .
              Section 179 deduction. . . . . . . . .                       1,572.
              Other deductions. . . . . . . . . . . . . .
W-2 wages . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 80,973.
UBIA of qualified property. . . . . . . . . . . . . . . . . .             26,280.
Section 199A dividends




                                                     PTP                            PTP                            PTP

                                                     Aggregated                     Aggregated                     Aggregated

                                                     SSTB                           SSTB                           SSTB
Shareholder's share of:
QBI or qualified PTP items subject to shareholder-specific determinations:
              Ordinary business income (loss)
              Rental income (loss) . . . . . . . . . .
              Royalty income (loss) . . . . . . . . .
              Section 1231 gain (loss). . . . . . .
              Other income (loss) . . . . . . . . . . .
              Section 179 deduction. . . . . . . . .
              Other deductions. . . . . . . . . . . . . .
W-2 wages . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
UBIA of qualified property. . . . . . . . . . . . . . . . . .




SHAREHOLDER 5
BAA For Paperwork Reduction Act Notice, see the Instructions for Form 1120-S.         SPSA1515   05/15/23   Statement A (Form 1120-S) (2023)
   24-10449-mew     Doc 14-1   Filed 03/27/24 Entered 03/27/24 11:34:24   Most recent
                                  tax return Pg 33 of 107




Lalaj CPA PC
2817 31st St
Astoria, NY 11102




JOHN SCHNEIDER
54 HAYMAKER LANE
LEVITTOWN, NY 11756
24-10449-mew       Doc 14-1      Filed 03/27/24 Entered 03/27/24 11:34:24                 Most recent
                                    tax return Pg 34 of 107



                            MOXY RESTAURANT ASSOCIATES INC.
                                   SMITHFIELD HALL
                                    138 WEST 25TH ST
                                  NEW YORK, NY 10001
                                      (212) 929-9677

                                                                                    March 15, 2024
  JOHN SCHNEIDER
  54 HAYMAKER LANE
  LEVITTOWN, NY 11756


  RE:
  MOXY RESTAURANT ASSOCIATES INC.
  SMITHFIELD HALL
  XX-XXXXXXX
  2023 S Corporation Schedule K-1 (Form 1120S)

  Dear JOHN SCHNEIDER:


  Enclosed is your 2023 Schedule K-1 (Form 1120S) Shareholder's Share of Income, Deductions,
  Credits, Etc. from MOXY RESTAURANT ASSOCIATES INC.. This information reflects the
  amounts you need in order to complete your income tax return. The amounts shown are your
  distributive share of tax items from the S Corporation to be reported on your tax return and may
  not correspond to the actual distributions you have received during the year. This information is
  included in the S Corporation's 2023 federal income tax return that was filed with the Internal
  Revenue Service.

  If you have any questions concerning this information, please contact us immediately.

  Sincerely,



  MOXY RESTAURANT ASSOCIATES INC.

  Enclosure(s)
            24-10449-mew                           Doc 14-1                 Filed 03/27/24 Entered 03/27/24 11:34:24                                         Most recent
                                                                               tax return Pg 35 of 107
                                                                                                                                                                                    671121
                                                                                                        Final K-1                      Amended K-1                            OMB No. 1545-0123
Schedule K-1
(Form 1120-S)                                                                    2023                   Part III       Shareholder's Share of Current Year Income,
Department of the Treasury                                   For calendar year 2023, or tax year                       Deductions, Credits, and Other Items
Internal Revenue Service
                                                                                                   1      Ordinary business income (loss) 13            Credits
     beginning             /          /                 ending          /        /                                                          772. N                                          528.
                                                                                                   2      Net rental real estate income (loss)
Shareholder's Share of Income, Deductions,
Credits, etc.        See separate instructions.                                                    3      Other net rental income (loss)

     Part I           Information About the Corporation                                            4      Interest income
 A     Corporation's employer identification number
       XX-XXXXXXX                                                                                  5 a Ordinary dividends
 B     Corporation's name, address, city, state, and ZIP code
       MOXY RESTAURANT ASSOCIATES INC.                                                             5 b Qualified dividends                         14   Schedule K-3 is attached if
       SMITHFIELD HALL                                                                                                                                  checked . . . . . . . . . . . . . . . .
       138 WEST 25TH ST                                                                            6      Royalties                                15   Alternative minimum tax (AMT) items
       NEW YORK, NY 10001
                                                                                                   7      Net short-term capital gain (loss)
 C     IRS Center where corporation filed return
       E-FILE                                                                                      8 a Net long-term capital gain (loss)
 D     Corporation's total number of shares
          Beginning of tax year . . . . . . . . . . . . . . .                             100      8 b Collectibles (28%) gain (loss)
          End of tax year . . . . . . . . . . . . . . . . . . . . .                       100
                                                                                                   8 c Unrecaptured section 1250 gain

     Part II          Information About the Shareholder
                                                                                                   9      Net section 1231 gain (loss)             16   Items affecting shareholder basis
 E     Shareholder's identifying number                                                                                                             C                                       528.
                                                                                                   10     Other income (loss)
 F     Shareholder's name, address, city, state, and ZIP code                                                                                       D                                  1,276.
       JOHN SCHNEIDER
       54 HAYMAKER LANE
       LEVITTOWN, NY 11756



 G Current year allocation percentage. . . . . . . . . .                                   1%                                                      17   Other information
                                                                                                                                                   AC* STMT
 H     Shareholder's number of shares
                                                                                                   11     Section 179 deduction
          Beginning of tax year . . . . . . . . . . . . . . .                                 1                                             314. AJ* STMT
          End of tax year . . . . . . . . . . . . . . . . . . . . .                           1 12 Other deductions
                                                                                                 A                                               1. V* STMT
 I     Loans from shareholder
          Beginning of tax year . . . . . . . . . . . . . $                          8,919.
          End of tax year . . . . . . . . . . . . . . . . . . . $



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 L                                                                                                 18        More than one activity for at-risk purposes*
 Y
                                                                                                   19        More than one activity for passive activity purposes*
                                                                                                             *See attached statement for additional information.
BAA For Paperwork Reduction Act Notice, see the Instructions for Form 1120-S. www.irs.gov/Form1120S                                                 Schedule K-1 (Form 1120-S) 2023
SHAREHOLDER 6
                                                                                         SPSA0412 06/23/23
          24-10449-mew                  Doc 14-1             Filed 03/27/24 Entered 03/27/24 11:34:24                                         Most recent
                                                                tax return Pg 36 of 107
MOXY RESTAURANT ASSOCIATES INC. XX-XXXXXXX
SCHEDULE K-1 (FORM 1120S) 2023                                    SUPPLEMENTAL INFORMATION                                                              PAGE   2

    BOX 17
    OTHER INFORMATION

    * DESCRIPTIVE INFORMATION
    AC   GROSS RECEIPTS FOR SECTION 448(C) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .   $   42,825.
    AJ   AGGREGATE BUSINESS ACTIVITY GROSS INCOME . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                      31,479.
    AJ   AGGREGATE BUSINESS ACTIVITY TOTAL DEDUCTIONS . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                              31,021.




SHAREHOLDER 6 : JOHN SCHNEIDER
                                                                            SPSL1201L   07/06/22
         24-10449-mew              Doc 14-1         Filed 03/27/24 Entered 03/27/24 11:34:24                       Most recent
                                                       tax return Pg 37 of 107
Statement A—QBI Pass-through Entity Reporting (Schedule K-1, Box 17, Code V)
S corporation's name: MOXY RESTAURANT ASSOCIATES INC.                           S corporation's EIN: XX-XXXXXXX
Shareholder's name: JOHN SCHNEIDER                                      Shareholder's identifying number:



                                                MOXY RESTAURANT
                                                ASSOCIATES INC.

                                                     PTP                            PTP                            PTP

                                                     Aggregated                     Aggregated                     Aggregated

                                                     SSTB                           SSTB                           SSTB
Shareholder's share of:
QBI or qualified PTP items subject to shareholder-specific determinations:
              Ordinary business income (loss)                                772.
              Rental income (loss) . . . . . . . . . .
              Royalty income (loss) . . . . . . . . .
              Section 1231 gain (loss). . . . . . .
              Other income (loss) . . . . . . . . . . .
              Section 179 deduction. . . . . . . . .                         314.
              Other deductions. . . . . . . . . . . . . .
W-2 wages . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 16,195.
UBIA of qualified property. . . . . . . . . . . . . . . . . .              5,256.
Section 199A dividends




                                                     PTP                            PTP                            PTP

                                                     Aggregated                     Aggregated                     Aggregated

                                                     SSTB                           SSTB                           SSTB
Shareholder's share of:
QBI or qualified PTP items subject to shareholder-specific determinations:
              Ordinary business income (loss)
              Rental income (loss) . . . . . . . . . .
              Royalty income (loss) . . . . . . . . .
              Section 1231 gain (loss). . . . . . .
              Other income (loss) . . . . . . . . . . .
              Section 179 deduction. . . . . . . . .
              Other deductions. . . . . . . . . . . . . .
W-2 wages . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
UBIA of qualified property. . . . . . . . . . . . . . . . . .




SHAREHOLDER 6
BAA For Paperwork Reduction Act Notice, see the Instructions for Form 1120-S.         SPSA1515   05/15/23   Statement A (Form 1120-S) (2023)
   24-10449-mew     Doc 14-1   Filed 03/27/24 Entered 03/27/24 11:34:24   Most recent
                                  tax return Pg 38 of 107




Lalaj CPA PC
2817 31st St
Astoria, NY 11102




GAVIN WHISTON
240 WOODLAND DRIVE
WADING RIVER, NY 11792
24-10449-mew       Doc 14-1      Filed 03/27/24 Entered 03/27/24 11:34:24                 Most recent
                                    tax return Pg 39 of 107



                            MOXY RESTAURANT ASSOCIATES INC.
                                   SMITHFIELD HALL
                                    138 WEST 25TH ST
                                  NEW YORK, NY 10001
                                      (212) 929-9677

                                                                                    March 15, 2024
  GAVIN WHISTON
  240 WOODLAND DRIVE
  WADING RIVER, NY 11792


  RE:
  MOXY RESTAURANT ASSOCIATES INC.
  SMITHFIELD HALL
  XX-XXXXXXX
  2023 S Corporation Schedule K-1 (Form 1120S)

  Dear GAVIN WHISTON:


  Enclosed is your 2023 Schedule K-1 (Form 1120S) Shareholder's Share of Income, Deductions,
  Credits, Etc. from MOXY RESTAURANT ASSOCIATES INC.. This information reflects the
  amounts you need in order to complete your income tax return. The amounts shown are your
  distributive share of tax items from the S Corporation to be reported on your tax return and may
  not correspond to the actual distributions you have received during the year. This information is
  included in the S Corporation's 2023 federal income tax return that was filed with the Internal
  Revenue Service.

  If you have any questions concerning this information, please contact us immediately.

  Sincerely,



  MOXY RESTAURANT ASSOCIATES INC.

  Enclosure(s)
            24-10449-mew                           Doc 14-1                 Filed 03/27/24 Entered 03/27/24 11:34:24                                          Most recent
                                                                               tax return Pg 40 of 107
                                                                                                                                                                                     671121
                                                                                                        Final K-1                      Amended K-1                             OMB No. 1545-0123
Schedule K-1
(Form 1120-S)                                                                    2023                   Part III       Shareholder's Share of Current Year Income,
Department of the Treasury                                   For calendar year 2023, or tax year                       Deductions, Credits, and Other Items
Internal Revenue Service
                                                                                                   1      Ordinary business income (loss) 13             Credits
     beginning             /          /                 ending          /        /                                                   16,400. N                                       11,217.
                                                                                                   2      Net rental real estate income (loss)
Shareholder's Share of Income, Deductions,
Credits, etc.        See separate instructions.                                                    3      Other net rental income (loss)

     Part I           Information About the Corporation                                            4      Interest income
 A     Corporation's employer identification number
       XX-XXXXXXX                                                                                  5 a Ordinary dividends
 B     Corporation's name, address, city, state, and ZIP code
       MOXY RESTAURANT ASSOCIATES INC.                                                             5 b Qualified dividends                          14   Schedule K-3 is attached if
       SMITHFIELD HALL                                                                                                                                   checked . . . . . . . . . . . . . . . .
       138 WEST 25TH ST                                                                            6      Royalties                                 15   Alternative minimum tax (AMT) items
       NEW YORK, NY 10001
                                                                                                   7      Net short-term capital gain (loss)
 C     IRS Center where corporation filed return
       E-FILE                                                                                      8 a Net long-term capital gain (loss)
 D     Corporation's total number of shares
          Beginning of tax year . . . . . . . . . . . . . . .                             100      8 b Collectibles (28%) gain (loss)
          End of tax year . . . . . . . . . . . . . . . . . . . . .                       100
                                                                                                   8 c Unrecaptured section 1250 gain

     Part II          Information About the Shareholder
                                                                                                   9      Net section 1231 gain (loss)              16   Items affecting shareholder basis
 E     Shareholder's identifying number                                                                                                              C                               11,217.
                                                                                                   10     Other income (loss)
 F     Shareholder's name, address, city, state, and ZIP code                                                                                        D                               16,842.
       GAVIN WHISTON
       240 WOODLAND DRIVE
       WADING RIVER, NY 11792



 G Current year allocation percentage. . . . . . . . . .                             21.25 %                                                        17   Other information
                                                                                                                                                    AC* STMT
 H     Shareholder's number of shares
                                                                                                   11     Section 179 deduction
          Beginning of tax year . . . . . . . . . . . . . . .                               21                                         6,679. AJ* STMT
          End of tax year . . . . . . . . . . . . . . . . . . . . .                         21 12 Other deductions
                                                                                                A                                                26. V* STMT
 I     Loans from shareholder
          Beginning of tax year . . . . . . . . . . . . . $
          End of tax year . . . . . . . . . . . . . . . . . . . $



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 L                                                                                                 18        More than one activity for at-risk purposes*
 Y
                                                                                                   19        More than one activity for passive activity purposes*
                                                                                                             *See attached statement for additional information.
BAA For Paperwork Reduction Act Notice, see the Instructions for Form 1120-S. www.irs.gov/Form1120S                                                  Schedule K-1 (Form 1120-S) 2023
SHAREHOLDER 7
                                                                                         SPSA0412 06/23/23
          24-10449-mew                  Doc 14-1             Filed 03/27/24 Entered 03/27/24 11:34:24                                         Most recent
                                                                tax return Pg 41 of 107
MOXY RESTAURANT ASSOCIATES INC. XX-XXXXXXX
SCHEDULE K-1 (FORM 1120S) 2023                                    SUPPLEMENTAL INFORMATION                                                               PAGE   2

    BOX 17
    OTHER INFORMATION

    * DESCRIPTIVE INFORMATION
    AC   GROSS RECEIPTS FOR SECTION 448(C) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .   $   910,033.
    AJ   AGGREGATE BUSINESS ACTIVITY GROSS INCOME . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                      668,923.
    AJ   AGGREGATE BUSINESS ACTIVITY TOTAL DEDUCTIONS . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                              659,203.




SHAREHOLDER 7 : GAVIN WHISTON
                                                                            SPSL1201L   07/06/22
         24-10449-mew              Doc 14-1          Filed 03/27/24 Entered 03/27/24 11:34:24                       Most recent
                                                        tax return Pg 42 of 107
Statement A—QBI Pass-through Entity Reporting (Schedule K-1, Box 17, Code V)
S corporation's name: MOXY RESTAURANT ASSOCIATES INC.                           S corporation's EIN: XX-XXXXXXX
Shareholder's name: GAVIN WHISTON                                       Shareholder's identifying number:



                                                MOXY RESTAURANT
                                                ASSOCIATES INC.

                                                      PTP                            PTP                            PTP

                                                      Aggregated                     Aggregated                     Aggregated

                                                      SSTB                           SSTB                           SSTB
Shareholder's share of:
QBI or qualified PTP items subject to shareholder-specific determinations:
              Ordinary business income (loss)                              16,400.
              Rental income (loss) . . . . . . . . . .
              Royalty income (loss) . . . . . . . . .
              Section 1231 gain (loss). . . . . . .
              Other income (loss) . . . . . . . . . . .
              Section 179 deduction. . . . . . . . .                        6,679.
              Other deductions. . . . . . . . . . . . . .
W-2 wages . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 344,135.
UBIA of qualified property. . . . . . . . . . . . . . . . . .             111,689.
Section 199A dividends




                                                      PTP                            PTP                            PTP

                                                      Aggregated                     Aggregated                     Aggregated

                                                      SSTB                           SSTB                           SSTB
Shareholder's share of:
QBI or qualified PTP items subject to shareholder-specific determinations:
              Ordinary business income (loss)
              Rental income (loss) . . . . . . . . . .
              Royalty income (loss) . . . . . . . . .
              Section 1231 gain (loss). . . . . . .
              Other income (loss) . . . . . . . . . . .
              Section 179 deduction. . . . . . . . .
              Other deductions. . . . . . . . . . . . . .
W-2 wages . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
UBIA of qualified property. . . . . . . . . . . . . . . . . .




SHAREHOLDER 7
BAA For Paperwork Reduction Act Notice, see the Instructions for Form 1120-S.          SPSA1515   05/15/23   Statement A (Form 1120-S) (2023)
   24-10449-mew     Doc 14-1   Filed 03/27/24 Entered 03/27/24 11:34:24   Most recent
                                  tax return Pg 43 of 107




Lalaj CPA PC
2817 31st St
Astoria, NY 11102




THOMAS MCCARTHY
24 HAYMAKER LANE
LEVITTOWN, NY 11756
24-10449-mew       Doc 14-1      Filed 03/27/24 Entered 03/27/24 11:34:24                 Most recent
                                    tax return Pg 44 of 107



                            MOXY RESTAURANT ASSOCIATES INC.
                                   SMITHFIELD HALL
                                    138 WEST 25TH ST
                                  NEW YORK, NY 10001
                                      (212) 929-9677

                                                                                    March 15, 2024
  THOMAS MCCARTHY
  24 HAYMAKER LANE
  LEVITTOWN, NY 11756


  RE:
  MOXY RESTAURANT ASSOCIATES INC.
  SMITHFIELD HALL
  XX-XXXXXXX
  2023 S Corporation Schedule K-1 (Form 1120S)

  Dear THOMAS MCCARTHY:


  Enclosed is your 2023 Schedule K-1 (Form 1120S) Shareholder's Share of Income, Deductions,
  Credits, Etc. from MOXY RESTAURANT ASSOCIATES INC.. This information reflects the
  amounts you need in order to complete your income tax return. The amounts shown are your
  distributive share of tax items from the S Corporation to be reported on your tax return and may
  not correspond to the actual distributions you have received during the year. This information is
  included in the S Corporation's 2023 federal income tax return that was filed with the Internal
  Revenue Service.

  If you have any questions concerning this information, please contact us immediately.

  Sincerely,



  MOXY RESTAURANT ASSOCIATES INC.

  Enclosure(s)
            24-10449-mew                           Doc 14-1                 Filed 03/27/24 Entered 03/27/24 11:34:24                                          Most recent
                                                                               tax return Pg 45 of 107
                                                                                                                                                                                     671121
                                                                                                        Final K-1                      Amended K-1                             OMB No. 1545-0123
Schedule K-1
(Form 1120-S)                                                                    2023                   Part III       Shareholder's Share of Current Year Income,
Department of the Treasury                                   For calendar year 2023, or tax year                       Deductions, Credits, and Other Items
Internal Revenue Service
                                                                                                   1      Ordinary business income (loss) 13             Credits
     beginning             /          /                 ending          /        /                                                   16,400. N                                       11,218.
                                                                                                   2      Net rental real estate income (loss)
Shareholder's Share of Income, Deductions,
Credits, etc.        See separate instructions.                                                    3      Other net rental income (loss)

     Part I           Information About the Corporation                                            4      Interest income
 A     Corporation's employer identification number
       XX-XXXXXXX                                                                                  5 a Ordinary dividends
 B     Corporation's name, address, city, state, and ZIP code
       MOXY RESTAURANT ASSOCIATES INC.                                                             5 b Qualified dividends                          14   Schedule K-3 is attached if
       SMITHFIELD HALL                                                                                                                                   checked . . . . . . . . . . . . . . . .
       138 WEST 25TH ST                                                                            6      Royalties                                 15   Alternative minimum tax (AMT) items
       NEW YORK, NY 10001
                                                                                                   7      Net short-term capital gain (loss)
 C     IRS Center where corporation filed return
       E-FILE                                                                                      8 a Net long-term capital gain (loss)
 D     Corporation's total number of shares
          Beginning of tax year . . . . . . . . . . . . . . .                             100      8 b Collectibles (28%) gain (loss)
          End of tax year . . . . . . . . . . . . . . . . . . . . .                       100
                                                                                                   8 c Unrecaptured section 1250 gain

     Part II          Information About the Shareholder
                                                                                                   9      Net section 1231 gain (loss)              16   Items affecting shareholder basis
 E     Shareholder's identifying number                                                                                                              C                               11,218.
                                                                                                   10     Other income (loss)
 F     Shareholder's name, address, city, state, and ZIP code                                                                                        D                               16,842.
       THOMAS MCCARTHY
       24 HAYMAKER LANE
       LEVITTOWN, NY 11756



 G Current year allocation percentage. . . . . . . . . .                             21.25 %                                                        17   Other information
                                                                                                                                                    AC* STMT
 H     Shareholder's number of shares
                                                                                                   11     Section 179 deduction
          Beginning of tax year . . . . . . . . . . . . . . .                               21                                         6,679. AJ* STMT
          End of tax year . . . . . . . . . . . . . . . . . . . . .                         21 12 Other deductions
                                                                                                A                                                27. V* STMT
 I     Loans from shareholder
          Beginning of tax year . . . . . . . . . . . . . $
          End of tax year . . . . . . . . . . . . . . . . . . . $



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 L                                                                                                 18        More than one activity for at-risk purposes*
 Y
                                                                                                   19        More than one activity for passive activity purposes*
                                                                                                             *See attached statement for additional information.
BAA For Paperwork Reduction Act Notice, see the Instructions for Form 1120-S. www.irs.gov/Form1120S                                                  Schedule K-1 (Form 1120-S) 2023
SHAREHOLDER 8
                                                                                         SPSA0412 06/23/23
          24-10449-mew                  Doc 14-1             Filed 03/27/24 Entered 03/27/24 11:34:24                                         Most recent
                                                                tax return Pg 46 of 107
MOXY RESTAURANT ASSOCIATES INC. XX-XXXXXXX
SCHEDULE K-1 (FORM 1120S) 2023                                    SUPPLEMENTAL INFORMATION                                                               PAGE   2

    BOX 17
    OTHER INFORMATION

    * DESCRIPTIVE INFORMATION
    AC   GROSS RECEIPTS FOR SECTION 448(C) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .   $   910,034.
    AJ   AGGREGATE BUSINESS ACTIVITY GROSS INCOME . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                      668,923.
    AJ   AGGREGATE BUSINESS ACTIVITY TOTAL DEDUCTIONS . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                              659,203.




SHAREHOLDER 8 : THOMAS MCCARTHY
                                                                            SPSL1201L   07/06/22
         24-10449-mew              Doc 14-1          Filed 03/27/24 Entered 03/27/24 11:34:24                       Most recent
                                                        tax return Pg 47 of 107
Statement A—QBI Pass-through Entity Reporting (Schedule K-1, Box 17, Code V)
S corporation's name: MOXY RESTAURANT ASSOCIATES INC.                           S corporation's EIN: XX-XXXXXXX
Shareholder's name: THOMAS MCCARTHY                                     Shareholder's identifying number:



                                                MOXY RESTAURANT
                                                ASSOCIATES INC.

                                                      PTP                            PTP                            PTP

                                                      Aggregated                     Aggregated                     Aggregated

                                                      SSTB                           SSTB                           SSTB
Shareholder's share of:
QBI or qualified PTP items subject to shareholder-specific determinations:
              Ordinary business income (loss)                              16,400.
              Rental income (loss) . . . . . . . . . .
              Royalty income (loss) . . . . . . . . .
              Section 1231 gain (loss). . . . . . .
              Other income (loss) . . . . . . . . . . .
              Section 179 deduction. . . . . . . . .                        6,679.
              Other deductions. . . . . . . . . . . . . .
W-2 wages . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 344,135.
UBIA of qualified property. . . . . . . . . . . . . . . . . .             111,689.
Section 199A dividends




                                                      PTP                            PTP                            PTP

                                                      Aggregated                     Aggregated                     Aggregated

                                                      SSTB                           SSTB                           SSTB
Shareholder's share of:
QBI or qualified PTP items subject to shareholder-specific determinations:
              Ordinary business income (loss)
              Rental income (loss) . . . . . . . . . .
              Royalty income (loss) . . . . . . . . .
              Section 1231 gain (loss). . . . . . .
              Other income (loss) . . . . . . . . . . .
              Section 179 deduction. . . . . . . . .
              Other deductions. . . . . . . . . . . . . .
W-2 wages . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
UBIA of qualified property. . . . . . . . . . . . . . . . . .




SHAREHOLDER 8
BAA For Paperwork Reduction Act Notice, see the Instructions for Form 1120-S.          SPSA1515   05/15/23   Statement A (Form 1120-S) (2023)
   24-10449-mew     Doc 14-1   Filed 03/27/24 Entered 03/27/24 11:34:24   Most recent
                                  tax return Pg 48 of 107




Lalaj CPA PC
2817 31st St
Astoria, NY 11102




KIERON SLATTERY
1363 82ND STREET
BROOKLYN, NY 11228
24-10449-mew       Doc 14-1      Filed 03/27/24 Entered 03/27/24 11:34:24                 Most recent
                                    tax return Pg 49 of 107



                            MOXY RESTAURANT ASSOCIATES INC.
                                   SMITHFIELD HALL
                                    138 WEST 25TH ST
                                  NEW YORK, NY 10001
                                      (212) 929-9677

                                                                                    March 15, 2024
  KIERON SLATTERY
  1363 82ND STREET
  BROOKLYN, NY 11228


  RE:
  MOXY RESTAURANT ASSOCIATES INC.
  SMITHFIELD HALL
  XX-XXXXXXX
  2023 S Corporation Schedule K-1 (Form 1120S)

  Dear KIERON SLATTERY:


  Enclosed is your 2023 Schedule K-1 (Form 1120S) Shareholder's Share of Income, Deductions,
  Credits, Etc. from MOXY RESTAURANT ASSOCIATES INC.. This information reflects the
  amounts you need in order to complete your income tax return. The amounts shown are your
  distributive share of tax items from the S Corporation to be reported on your tax return and may
  not correspond to the actual distributions you have received during the year. This information is
  included in the S Corporation's 2023 federal income tax return that was filed with the Internal
  Revenue Service.

  If you have any questions concerning this information, please contact us immediately.

  Sincerely,



  MOXY RESTAURANT ASSOCIATES INC.

  Enclosure(s)
            24-10449-mew                           Doc 14-1                 Filed 03/27/24 Entered 03/27/24 11:34:24                                          Most recent
                                                                               tax return Pg 50 of 107
                                                                                                                                                                                     671121
                                                                                                        Final K-1                      Amended K-1                             OMB No. 1545-0123
Schedule K-1
(Form 1120-S)                                                                    2023                   Part III       Shareholder's Share of Current Year Income,
Department of the Treasury                                   For calendar year 2023, or tax year                       Deductions, Credits, and Other Items
Internal Revenue Service
                                                                                                   1      Ordinary business income (loss) 13             Credits
     beginning             /          /                 ending          /        /                                                   16,399. N                                       11,217.
                                                                                                   2      Net rental real estate income (loss)
Shareholder's Share of Income, Deductions,
Credits, etc.        See separate instructions.                                                    3      Other net rental income (loss)

     Part I           Information About the Corporation                                            4      Interest income
 A     Corporation's employer identification number
       XX-XXXXXXX                                                                                  5 a Ordinary dividends
 B     Corporation's name, address, city, state, and ZIP code
       MOXY RESTAURANT ASSOCIATES INC.                                                             5 b Qualified dividends                          14   Schedule K-3 is attached if
       SMITHFIELD HALL                                                                                                                                   checked . . . . . . . . . . . . . . . .
       138 WEST 25TH ST                                                                            6      Royalties                                 15   Alternative minimum tax (AMT) items
       NEW YORK, NY 10001
                                                                                                   7      Net short-term capital gain (loss)
 C     IRS Center where corporation filed return
       E-FILE                                                                                      8 a Net long-term capital gain (loss)
 D     Corporation's total number of shares
          Beginning of tax year . . . . . . . . . . . . . . .                             100      8 b Collectibles (28%) gain (loss)
          End of tax year . . . . . . . . . . . . . . . . . . . . .                       100
                                                                                                   8 c Unrecaptured section 1250 gain

     Part II          Information About the Shareholder
                                                                                                   9      Net section 1231 gain (loss)              16   Items affecting shareholder basis
 E     Shareholder's identifying number                                                                                                              C                               11,217.
                                                                                                   10     Other income (loss)
 F     Shareholder's name, address, city, state, and ZIP code                                                                                        D                               16,842.
       KIERON SLATTERY
       1363 82ND STREET
       BROOKLYN, NY 11228



 G Current year allocation percentage. . . . . . . . . .                             21.25 %                                                        17   Other information
                                                                                                                                                    AC* STMT
 H     Shareholder's number of shares
                                                                                                   11     Section 179 deduction
          Beginning of tax year . . . . . . . . . . . . . . .                               21                                         6,679. AJ* STMT
          End of tax year . . . . . . . . . . . . . . . . . . . . .                         21 12 Other deductions
                                                                                                A                                                26. V* STMT
 I     Loans from shareholder
          Beginning of tax year . . . . . . . . . . . . . $
          End of tax year . . . . . . . . . . . . . . . . . . . $



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 L                                                                                                 18        More than one activity for at-risk purposes*
 Y
                                                                                                   19        More than one activity for passive activity purposes*
                                                                                                             *See attached statement for additional information.
BAA For Paperwork Reduction Act Notice, see the Instructions for Form 1120-S. www.irs.gov/Form1120S                                                  Schedule K-1 (Form 1120-S) 2023
SHAREHOLDER 9
                                                                                         SPSA0412 06/23/23
          24-10449-mew                  Doc 14-1             Filed 03/27/24 Entered 03/27/24 11:34:24                                         Most recent
                                                                tax return Pg 51 of 107
MOXY RESTAURANT ASSOCIATES INC. XX-XXXXXXX
SCHEDULE K-1 (FORM 1120S) 2023                                    SUPPLEMENTAL INFORMATION                                                               PAGE   2

    BOX 17
    OTHER INFORMATION

    * DESCRIPTIVE INFORMATION
    AC   GROSS RECEIPTS FOR SECTION 448(C) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .   $   910,033.
    AJ   AGGREGATE BUSINESS ACTIVITY GROSS INCOME . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                      668,923.
    AJ   AGGREGATE BUSINESS ACTIVITY TOTAL DEDUCTIONS . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                              659,202.




SHAREHOLDER 9 : KIERON SLATTERY
                                                                            SPSL1201L   07/06/22
         24-10449-mew              Doc 14-1          Filed 03/27/24 Entered 03/27/24 11:34:24                       Most recent
                                                        tax return Pg 52 of 107
Statement A—QBI Pass-through Entity Reporting (Schedule K-1, Box 17, Code V)
S corporation's name: MOXY RESTAURANT ASSOCIATES INC.                           S corporation's EIN: XX-XXXXXXX
Shareholder's name: KIERON SLATTERY                                     Shareholder's identifying number:



                                                MOXY RESTAURANT
                                                ASSOCIATES INC.

                                                      PTP                            PTP                            PTP

                                                      Aggregated                     Aggregated                     Aggregated

                                                      SSTB                           SSTB                           SSTB
Shareholder's share of:
QBI or qualified PTP items subject to shareholder-specific determinations:
              Ordinary business income (loss)                              16,399.
              Rental income (loss) . . . . . . . . . .
              Royalty income (loss) . . . . . . . . .
              Section 1231 gain (loss). . . . . . .
              Other income (loss) . . . . . . . . . . .
              Section 179 deduction. . . . . . . . .                        6,679.
              Other deductions. . . . . . . . . . . . . .
W-2 wages . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 344,135.
UBIA of qualified property. . . . . . . . . . . . . . . . . .             111,688.
Section 199A dividends




                                                      PTP                            PTP                            PTP

                                                      Aggregated                     Aggregated                     Aggregated

                                                      SSTB                           SSTB                           SSTB
Shareholder's share of:
QBI or qualified PTP items subject to shareholder-specific determinations:
              Ordinary business income (loss)
              Rental income (loss) . . . . . . . . . .
              Royalty income (loss) . . . . . . . . .
              Section 1231 gain (loss). . . . . . .
              Other income (loss) . . . . . . . . . . .
              Section 179 deduction. . . . . . . . .
              Other deductions. . . . . . . . . . . . . .
W-2 wages . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
UBIA of qualified property. . . . . . . . . . . . . . . . . .




SHAREHOLDER 9
BAA For Paperwork Reduction Act Notice, see the Instructions for Form 1120-S.          SPSA1515   05/15/23   Statement A (Form 1120-S) (2023)
                24-10449-mew                                 Doc 14-1                     Filed 03/27/24 Entered 03/27/24 11:34:24                                                                            Most recent
                                                                                             tax return Pg 53 of 107
Form     1125-A                                                                                      Cost of Goods Sold
(Rev. November 2018)                                                                                                                                                                                               OMB No. 1545-0123
                                                                   G Attach to Form 1120, 1120-C, 1120-F, 1120S, or 1065.
Department of the Treasury
Internal Revenue Service                                          G Go to www.irs.gov/Form1125A for the latest information.
Name                                                                                                                                                                                             Employer identification number
             MOXY RESTAURANT ASSOCIATES INC.
             SMITHFIELD HALL                                                                                                                                                                     XX-XXXXXXX
   1     Inventory at beginning of year . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                   1                   30,495.
   2     Purchases. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .   2
   3     Cost of labor. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .   3
   4     Additional section 263A costs (attach schedule). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .               4
   5     Other costs (attach schedule). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .SEE    . . . . . .STATEMENT
                                                                                                                                                        . . . . . . . . . . . . . . .9......                  5          1,135,686.
   6     Total. Add lines 1 through 5 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                 6          1,166,181.
   7     Inventory at end of year . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .             7             31,545.
   8   Cost of goods sold. Subtract line 7 from line 6. Enter here and on Form 1120, page 1, line 2 or the
       appropriate line of your tax return. See instructions . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                      8          1,134,636.
   9 a Check all methods used for valuing closing inventory:
         (i) X Cost
        (ii)   Lower of cost or market
         (iii)     Other (Specify method used and attach explanation.) G
       b Check if there was a writedown of subnormal goods. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . G
       c Check if the LIFO inventory method was adopted this tax year for any goods (if checked, attach Form 970) . . . . . . . . . . . . . . . . . . . G
       d If the LIFO inventory method was used for this tax year, enter amount of closing inventory computed
         under LIFO . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 9d
       e If property is produced or acquired for resale, do the rules of section 263A apply to the entity? See instructions. . . . . . .                                                                       Yes                  X No
  f Was there any change in determining quantities, cost, or valuations between opening and
    closing inventory? If "Yes," attach explanation . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . Yes X No
BAA For Paperwork Reduction Act Notice, see instructions.                                                                                                                   Form 1125-A (Rev. 11-2018)




                                                                                                                CPCZ0401L          09/26/18
              24-10449-mew                              Doc 14-1                   Filed 03/27/24 Entered 03/27/24 11:34:24                                                                      Most recent
                                                                                      tax return Pg 54 of 107
Form    1125-E                                                                      Compensation of Officers
                                                                                                                                                                                                       OMB No. 1545-0123
(Rev October 2016)
                                                       G Attach to Form 1120, 1120-C, 1120-F, 1120-REIT, 1120-RIC, or 1120S.
Department of the Treasury
Internal Revenue Service                          G Information about Form 1125-E and its separate instructions is at www.irs.gov/form1125e.
Name                                                                                                                                                                              Employer identification number
            MOXY RESTAURANT ASSOCIATES INC.
            SMITHFIELD HALL                                                                                                                                                      XX-XXXXXXX
Note: Complete Form 1125-E only if total receipts are $500,000 or more. See instructions for definition of total receipts.

                                                                       (b) Social security                  (c) Percent of                         Percent of stock owned                                 (f) Amount of
  1                  (a) Name of officer                                                                    time devoted
                                                                            number                           to business                    (d) Common                      (e) Preferred                 compensation


GAVIN            WHISTON                                                                                       100               %                21.25 %                                        %               53,050.

THOMAS              MCCARTHY                                                                                   100               %                21.25 %                                        %               78,150.

KIERON SLATTERY                                                                                                100               %                21.25 %                                        %               82,050.

WILLIAM THOMPSON                                                                                               100               %                   5.00 %                                      %                         0.

                                                                                                                                 %                               %                               %

                                                                                                                                 %                               %                               %

                                                                                                                                 %                               %                               %

                                                                                                                                 %                               %                               %

                                                                                                                                 %                               %                               %

                                                                                                                                 %                               %                               %

                                                                                                                                 %                               %                               %

                                                                                                                                 %                               %                               %

                                                                                                                                 %                               %                               %

                                                                                                                                 %                               %                               %

                                                                                                                                 %                               %                               %

                                                                                                                                 %                               %                               %

                                                                                                                                 %                               %                               %

                                                                                                                                 %                               %                               %

                                                                                                                                 %                               %                               %

                                                                                                                                 %                               %                               %

  2    Total compensation of officers. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .            213,250.

  3    Compensation of officers claimed on Form 1125-A or elsewhere on return. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
  4Subtract line 3 from line 2. Enter the result here and on Form 1120, page 1, line 12 or the appropriate
   line of your tax return. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .         213,250.
BAA For Paperwork Reduction Act Notice, see separate instructions.                                                                                                                                  Form 1125-E (Rev 10-2016)



                                                                                                       CPCA2101L         08/18/16
                24-10449-mew                            Doc 14-1                 Filed 03/27/24 Entered 03/27/24 11:34:24                                                                         Most recent
                                                                                    tax return Pg 55 of 107
                                                                                                                                                                                                            OMB No. 1545-0172
                                                                                Depreciation and Amortization
Form      4562                                                             (Including Information on Listed Property)
                                                                               Attach to your tax return.                                                                                                      2023
Department of the Treasury                                                                                                                                                                                  Attachment
Internal Revenue Service                                 Go to www.irs.gov/Form4562 for instructions and the latest information.                                                                            Sequence No.    179
Name(s) shown on return                                                                                                                                                                               Identifying number

MOXY RESTAURANT ASSOCIATES INC.                                                                                                                                                                       XX-XXXXXXX
Business or activity to which this form relates

FORM 1120S
Part I Election To Expense Certain Property Under Section 179
                    Note: If you have any listed property, complete Part V before you complete Part I.
   1     Maximum amount (see instructions). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                    1          1,160,000.
   2     Total cost of section 179 property placed in service (see instructions) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                             2             31,433.
   3     Threshold cost of section 179 property before reduction in limitation (see instructions). . . . . . . . . . . . . . . . . . . . . .                                                           3          2,890,000.
   4     Reduction in limitation. Subtract line 3 from line 2. If zero or less, enter -0-. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                               4                  0.
   5     Dollar limitation for tax year. Subtract line 4 from line 1. If zero or less, enter -0-. If married filing
         separately, see instructions. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .         5          1,160,000.
   6                               (a) Description of property                                                        (b) Cost (business use only)                        (c) Elected cost
   5-YEAR               MACHINERY AND EQUIPMENT                                                                                               31,433.                              31,433.

  7 Listed property. Enter the amount from line 29. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 7                                                                   0.
  8 Total elected cost of section 179 property. Add amounts in column (c), lines 6 and 7. . . . . . . . . . . . . . . . . . . . . . .                                                              8                   31,433.
  9 Tentative deduction. Enter the smaller of line 5 or line 8 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                   9                   31,433.
 10 Carryover of disallowed deduction from line 13 of your 2022 Form 4562. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                  10                        0.
 11 Business income limitation. Enter the smaller of business income (not less than zero) or line 5. See instrs . .                                                                               11                  290,427.
 12 Section 179 expense deduction. Add lines 9 and 10, but don't enter more than line 11. . . . . . . . . . . . . . . . . . . . . .                                                               12                   31,433.
 13 Carryover of disallowed deduction to 2024. Add lines 9 and 10, less line 12. . . . . . . . . . 13                                                                                             0.
Note: Don't use Part II or Part III below for listed property. Instead, use Part V.
Part II             Special Depreciation Allowance and Other Depreciation (Don't include listed property. See instructions.)
 14 Special depreciation allowance for qualified property (other than listed property) placed in service during the
    tax year. See instructions. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .       14
 15 Property subject to section 168(f)(1) election. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                       15
 16 Other depreciation (including ACRS) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                   16
Part III            MACRS Depreciation (Don't include listed property. See instructions.)
                                                                                                              Section A
 17      MACRS deductions for assets placed in service in tax years beginning before 2023. . . . . . . . . . . . . . . . . . . . . . . . .                                                        17                       32,278.
 18      If you are electing to group any assets placed in service during the tax year into one or more general
         asset accounts, check here. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                                   Section B ' Assets Placed in Service During 2023 Tax Year Using the General Depreciation System
                        (a)                     (b) Month and  (c) Basis for depreciation (d)           (e)            (f)                                                                                      (g) Depreciation
           Classification of property                       year placed              (business/investment use               Recovery period             Convention                  Method                         deduction
                                                             in service              only ' see instructions)

 19 a 3-year property . . . . . . . . . .
    b 5-year property . . . . . . . . . .
    c 7-year property . . . . . . . . . .
    d 10-year property . . . . . . . . .
    e 15-year property . . . . . . . . .
    f 20-year property . . . . . . . . .
    g 25-year property . . . . . . . . .                                                                                    25 yrs                                                     S/L
    h Residential rental                                                                                                   27.5 yrs                         MM                         S/L
         property. . . . . . . . . . . . . . . . .                                                                         27.5 yrs                         MM                         S/L
       i Nonresidential real                                                                                                39 yrs                          MM                         S/L
         property. . . . . . . . . . . . . . . . .                                                                                                          MM                         S/L
                             Section C ' Assets Placed in Service During 2023 Tax Year Using the Alternative Depreciation System
 20 a Class life. . . . . . . . . . . . . . . .                                                                                                                                        S/L
    b 12-year. . . . . . . . . . . . . . . . . .                                                                             12 yrs                                                    S/L
    c 30-year. . . . . . . . . . . . . . . . . .                                                                             30 yrs                         MM                         S/L
    d 40-year. . . . . . . . . . . . . . . . . .                                                                             40 yrs                         MM                         S/L
Part IV     Summary (See instructions.)
 21 Listed property. Enter amount from line 28 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                         21
 22 Total. Add amounts from line 12, lines 14 through 17, lines 19 and 20 in column (g), and line 21. Enter here and on
    the appropriate lines of your return. Partnerships and S corporations ' see instructions. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                            22                        32,278.
 23 For assets shown above and placed in service during the current year, enter
    the portion of the basis attributable to section 263A costs. . . . . . . . . . . . . . . . . . . . . . . . 23
BAA For Paperwork Reduction Act Notice, see separate instructions.                                                 FDIZ0812L 06/22/23                                                                           Form 4562 (2023)
               24-10449-mew                              Doc 14-1
                                                              Filed 03/27/24 Entered 03/27/24 11:34:24 Most recent
                                                                 tax return Pg 56 of 107
        8846                                                                                               OMB No. 1545-0123
Form                                            Credit for Employer Social Security and Medicare Taxes
                                                             Paid on Certain Employee Tips                   2023
                                                                                       Attach to your tax return.
Department of the Treasury                                                                                                                                                                                  Attachment
Internal Revenue Service                                                 Go to www.irs.gov/Form8846 for the latest information.                                                                             Sequence No.   846
Name(s) shown on return                                                                                                                                                                Identifying number

MOXY RESTAURANT ASSOCIATES INC.                                                                                                                                                        XX-XXXXXXX
Note: Claim this credit only for employer social security and Medicare taxes paid by a food or beverage employer where tipping is customary
for providing food or beverages. See the instructions for line 1.


  1 Tips received by employees for services on which you paid or incurred employer social security and Medicare
    taxes during the tax year (see instructions). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                      1              690,021.

  2 Tips not subject to the credit provisions (see instructions) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                 2                         0.

  3 Creditable tips. Subtract line 2 from line 1. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                    3              690,021.
  4 Multiply line 3 by 7.65% (0.0765). If you had any tipped employees whose wages
    (including tips) exceeded $160,200, see instructions and check here . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                        4                52,787.
  5 Credit for employer social security and Medicare taxes paid on certain employee tips from partnerships
    and S corporations . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .   5
 6 Add lines 4 and 5. Partnerships and S corporations, report this amount on Schedule K. All others,
   report this amount on Form 3800, Part III, line 4f . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                            6                52,787.
BAA For Paperwork Reduction Act Notice, see instructions.                                                                                                                                                    Form 8846 (2023)




                                                                                                           FDIZ3101L 07/17/23
          24-10449-mew                             Doc 14-1                    Filed 03/27/24 Entered 03/27/24 11:34:24                                                                       Most recent
                                                                                  tax return Pg 57 of 107
2023                                                                          FEDERAL STATEMENTS                                                                                                         PAGE 1
CLIENT M3234                                                               MOXY RESTAURANT ASSOCIATES INC.                                                                                              XX-XXXXXXX
3/15/24                                                                                                                                                                                                     10:21AM

  STATEMENT 1
  FORM 1120S, LINE 20
  OTHER DEDUCTIONS

  AUTO AND TRUCK EXPENSE. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $                                   101.
  BANK CHARGES. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .               3,023.
  CLEANING SERVICES. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                           35,426.
  CLEANING SUPPLIES. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                            3,859.
  FINANCE CHARGES . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                    49,758.
  INSURANCE . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .        68,757.
  INTERNET/CABLE TELEVISION . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                        12,882.
  LEASED EQUIPMENTS . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                         8,435.
  LEGAL AND PROFESSIONAL. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                 109,888.
  LINEN COSTS . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .             4,942.
  MEMBERSHIP FEES . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                     1,783.
  OFFICE EXPENSES . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                       851.
  PAYROLL PROCESSING FEES . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                    12,497.
  PEST CONTROL. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .               5,528.
  REIMBURSED EXPENSES . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                               352.
  SECURITY. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .      42,317.
  SOFTWARE & COMPUTER UPGRADES. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                              15,946.
  TELEPHONE EXPENSES. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                           7,239.
  UTILITIES . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .       117,273.
  WASTE MANAGEMENT. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                      13,712.
                                                                                                                                                                                      TOTAL $           514,569.



  STATEMENT 2
  FORM 1120S, SCHEDULE K, LINE 12A
  CHARITABLE CONTRIBUTIONS

  CASH CONTRIBUTIONS - 60% LIMITATION . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $                                                             122.
                                                                                                                                TOTAL $                                                                     122.



  STATEMENT 3
  FORM 1120S, SCHEDULE K, LINE 13G
  OTHER CREDITS

  CREDIT FOR EMPLOYER SS TAX ON CERTAIN EMPLOYEE TIPS. . . . . . . . . . . . . . . . . . . . . . . . . . . . $                                                                                           52,787.
                                                                                               TOTAL $                                                                                                   52,787.



  STATEMENT 4
  FORM 1120S, SCHEDULE K, LINE 17D
  OTHER ITEMS AND AMOUNTS

  GROSS RECEIPTS FOR SECTION 448(C) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                               $     4,282,509.
  AGGREGATE BUSINESS ACTIVITY GROSS INCOME FOR SEC. 461(L) . . . . . . . . . . . . . . . . . . . .                                                                                              $     3,147,873.
  AGGREGATE BUSINESS ACTIVITY TOTAL DEDUCTIONS FOR SEC. 461(L) . . . . . . . . . . . . . .                                                                                                      $     3,102,129.
          24-10449-mew                           Doc 14-1                   Filed 03/27/24 Entered 03/27/24 11:34:24                                                                  Most recent
                                                                               tax return Pg 58 of 107
2023                                                                      FEDERAL STATEMENTS                                                                                                     PAGE 2
CLIENT M3234                                                            MOXY RESTAURANT ASSOCIATES INC.                                                                                         XX-XXXXXXX
3/15/24                                                                                                                                                                                                10:21AM

  STATEMENT 5
  FORM 1120S, SCHEDULE L, LINE 6
  OTHER CURRENT ASSETS

                                                                                                                                                        BEGINNING                             ENDING
  DUE FROM AFFILIATES . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $                                15,212. $                     26,186.
  POS CLEARING ACCOUNT . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                       17,507.                       32,705.
                                                                                                                     TOTAL $                                       32,719. $                     58,891.



  STATEMENT 6
  FORM 1120S, SCHEDULE L, LINE 18
  OTHER CURRENT LIABILITIES

                                                                                                                                                        BEGINNING                             ENDING
  BANK OVERDRAFT. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $                       2,513. $                          0.
  CREDIT CARDS LIABILITY. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                         2,547.                        3,884.
  DEFERRED SOCIAL SECURITY TAX. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                    30,404.                       30,404.
  LINE OF CREDIT. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                        21,003.                       52,628.
  SALES TAX PAYABLE . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                              10,698.                       59,603.
                                                                                                                               TOTAL $                             67,165. $                    146,519.



  STATEMENT 7
  FORM 1120S, SCHEDULE M-1, LINE 3
  EXPENSES ON BOOKS NOT ON SCHEDULE K

  PAYROLL TAXES FOR EMPLOYER SS TAX ON TIPS CREDIT . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $                                                                             52,787.
                                                                                                     TOTAL $                                                                                     52,787.



  STATEMENT 8
  FORM 1120S, SCHEDULE M-2, COLUMN A, LINE 5
  OTHER REDUCTIONS

  CONTRIBUTIONS . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $         122.
  PAYROLL TAXES FOR EMPLOYER SS TAX ON TIPS CREDIT . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                               52,787.
  SECTION 179 EXPENSE . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                    31,433.
                                                                                                                                                                            TOTAL $              84,342.



  STATEMENT 9
  FORM 1125-A, LINE 5
  OTHER COSTS

  CONTRACT SERVICE/COMMISION & FEES . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $                                             158,659.
  FOOD/BEVERGE/ RESTAURANT & KITCHEN SUPPLIES. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                    838,269.
  MERCHANT ACCOUNT FEES . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                       117,640.
  RESTAURANT & KITCHEN SUPPLIES . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                        21,118.
                                                                                                                                                            TOTAL $                           1,135,686.
                 24-10449-mew                              Doc 14-1           Filed 03/27/24 Entered 03/27/24 11:34:24                                                                               Most recent
                                                                                 tax return Pg 59 of 107
Form      7203                                                           S Corporation Shareholder Stock and                                                                                               OMB No. 1545-2302

(Rev. December 2022)                                                             Debt Basis Limitations
                                                                                  Attach to your tax return.
Department of the Treasury                                                                                                                                                                                 Attachment
Internal Revenue Service                                    Go to www.irs.gov/Form7203 for instructions and the latest information.                                                                        Sequence No.   203
Name of shareholder                                                                                                                                                                   Identifying number

DAVID MASSEY
A      Name of S corporation                                                                                                                                                          B     Employer identification number

MOXY RESTAURANT ASSOCIATES INC.                                                                                                                                                       XX-XXXXXXX
C Stock block (see instructions):
D Check applicable box(es) to indicate how stock was acquired:
  (1)     Original shareholder     (2)    Purchased     (3)    Inherited                                                                (4)          Gift         (5)         Other:
E      Check if you have a Regulations section 1.1367-1(g) election in effect during the tax year for this S corporation. . . . . . . . . . . . . . . . . . . . . .
Part I               Shareholder Stock Basis
     1 Stock basis at the beginning of the corporation's tax year . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                    1                          0.
     2 Basis from any capital contributions made or additional stock acquired during the tax year . . . . . . . . . . . . . . . . .                                                                  2
     3a Ordinary business income (enter losses in Part III). . . . . . . . . . . . . . . . . . . . . . . . . . .                                     3a                        16,400.
      b Net rental real estate income (enter losses in Part III). . . . . . . . . . . . . . . . . . . . . . . .                                      3b
      c Other net rental income (enter losses in Part III). . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                  3c
      d Interest income. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .       3d
      e Ordinary dividends. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .          3e
      f Royalties. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 3f
      g Net capital gains (enter losses in Part III) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                           3g
      h Net section 1231 gain (enter losses in Part III). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                3h
      i Other income (enter losses in Part III) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                          3i
      j Excess depletion adjustment . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                    3j
      k Tax-exempt income. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .             3k
      l Recapture of business credits . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                    3l
      m Other items that increase stock basis . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                          3m
     4 Add lines 3a through 3m. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .          4                16,400.
     5 Stock basis before distributions. Add lines 1, 2, and 4. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                5                16,400.
     6 Distributions (excluding dividend distributions). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                         6                16,842.
        Note: If line 6 is larger than line 5, subtract line 5 from line 6 and report the result as a capital gain on
              Form 8949 and Schedule D. See instructions.
     7 Stock basis after distributions. Subtract line 6 from line 5. If the result is zero or less, enter -0-, skip
        lines 8 through 14, and enter -0- on line 15. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                      7                          0.
     8a Nondeductible expenses . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                 8a
      b Depletion for oil and gas. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .               8b
      c Business credits (sections 50(c)(1) and (5)) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                               8c
     9 Add lines 8a through 8c. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .        9
    10 Stock basis before loss and deduction items. Subtract line 9 from line 7. If the result is zero or less,
        enter -0-, skip lines 11 through 14, and enter -0- on line 15 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                    10
    11 Allowable loss and deduction items. Enter the amount from line 47, column (c). . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                          11
    12 Debt basis restoration (see net increase in instructions for line 23). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                          12
    13 Other items that decrease stock basis . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                     13
    14 Add lines 11, 12, and 13 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .        14
    15 Stock basis at the end of the corporation's tax year. Subtract line 14 from line 10. If the result is
        zero or less, enter -0-. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .   15                         0.
Part II              Shareholder Debt Basis
                               Section A ' Amount of Debt (If more than three debts, see instructions.)
                                                                                                   (a) Debt 1                            (b) Debt 2                             (c) Debt 3
                                                                                                 Formal note                            Formal note                           Formal note                        (d) Total
                                  Description
                                                                                                 Open account                           Open account                          Open account
    16     Loan balance at the beginning of the
           corporation's tax year. . . . . . . . . . . . . . . . . . . . .                                                                                                                                                      0.
    17     Additional loans (see instructions) . . . . . . . . .
    18     Loan balance before repayment. Add lines 16 and 17. . .                                                                                                                                                              0.
    19     Principal portion of debt repayment (this
           line doesn’t include interest). . . . . . . . . . . . . . .
    20     Loan balance at the end of the corporation's
           tax year. Subtract line 19 from line 18. . . . .                                                                                                                                                                     0.
BAA For Paperwork Reduction Act Notice, see separate instructions.                                                                                     FDIA9998         09/29/22                      Form 7203 (Rev. 12-2022)
            24-10449-mew                                Doc 14-1                     Filed 03/27/24 Entered 03/27/24 11:34:24                                Most recent
                                                                                        tax return Pg 60 of 107
Form 7203 (Rev. 12-2022)    MOXY RESTAURANT ASSOCIATES INC.                                                                                              XX-XXXXXXX               Page 2
Part II         Shareholder Debt Basis (continued)   DAVID MASSEY
                                          Section B ' Adjustments to Debt Basis
                       Description                                                          (a) Debt 1                   (b) Debt 2             (c) Debt 3            (d) Total
 21   Debt basis at the beginning of the
      corporation's tax year. . . . . . . . . . . . . . . . . . . . .                                                                                                                0.
 22   Enter the amount, if any, from line 17. . . . . .
 23   Debt basis restoration (see instructions). . . .
 24   Debt basis before repayment. Add lines 21
      22, and 23 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                                                       0.
 25   Divide line 24 by line 18. . . . . . . . . . . . . . . . . . .
 26   Nontaxable debt repayment. Multiply
      line 25 by line 19. . . . . . . . . . . . . . . . . . . . . . . . .
 27   Debt basis before nondeductible expenses
      and losses. Subtract line 26 from line 24. . .                                                                                                                                 0.
 28   Nondeductible expenses and oil and gas
      depletion deductions in excess of stock basis.
 29   Debt basis before losses and deductions.
      Subtract line 28 from line 27. If the result
      is zero or less, enter -0- . . . . . . . . . . . . . . . . . .                                                                                                                 0.
 30   Allowable losses in excess of stock basis.
      Enter the amount from line 47, column (d) . .
 31   Debt basis at the end of the corporation's
      tax year. Subtract line 30 from line 29. If
      the result is zero or less, enter -0-. . . . . . . . .                                                                                                                         0.
                                                                               Section C ' Gain on Loan Repayment
 32   Repayment. Enter the amount from line 19..
 33   Nontaxable repayments. Enter the amount
      from line 26. . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
 34   Reportable gain. Subtract line 33 from
      line 32. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
Part III        Shareholder Allowable Loss and Deduction Items
                                                                                     (a) Current         (b) Carryover         (c) Allowable        (d) Allowable    (e) Carryover
                                                                                     year losses            amounts              loss from            loss from         amounts
                              Description                                                and              (column (e))           stock basis          debt basis
                                                                                                            from the
                                                                                     deductions          previous year
 35   Ordinary business loss. . . . . . . . . . . . . . .
 36   Net rental real estate loss. . . . . . . . . . . .
 37   Other net rental loss. . . . . . . . . . . . . . . . .
 38   Net capital loss. . . . . . . . . . . . . . . . . . . . . .
 39   Net section 1231 loss. . . . . . . . . . . . . . . .
 40   Other loss. . . . . . . . . . . . . . . . . . . . . . . . . . .
 41   Section 179 deductions . . . . . . . . . . . . . .                                  6,680.                 2,174.                                                     8,854.
 42   Charitable contributions. . . . . . . . . . . . . .                                    26.                    54.                                                        80.
 43   Investment interest expense . . . . . . . . .
 44   Section 59(e)(2) expenditures . . . . . . . .
 45   Other deductions . . . . . . . . . . . . . . . . . . . .
 46   Foreign taxes paid or accrued. . . . . . . .
 47   Total loss. Add lines 35 through 46
      for each column. Enter the total loss
      in column (c) on line 11 and enter the
      total loss in column (d) on line 30 . . . .                                         6,706.                 2,228.                        0.               0.          8,934.
                                                                                                                                                             Form 7203 (Rev. 12-2022)




                                                                                                   FDIA9998   09/29/22
                 24-10449-mew                              Doc 14-1           Filed 03/27/24 Entered 03/27/24 11:34:24                                                                               Most recent
                                                                                 tax return Pg 61 of 107
Form      7203                                                           S Corporation Shareholder Stock and                                                                                               OMB No. 1545-2302

(Rev. December 2022)                                                             Debt Basis Limitations
                                                                                  Attach to your tax return.
Department of the Treasury                                                                                                                                                                                 Attachment
Internal Revenue Service                                    Go to www.irs.gov/Form7203 for instructions and the latest information.                                                                        Sequence No.   203
Name of shareholder                                                                                                                                                                   Identifying number

WILLIAM THOMPSON
A      Name of S corporation                                                                                                                                                          B     Employer identification number

MOXY RESTAURANT ASSOCIATES INC.                                                                                                                                                       XX-XXXXXXX
C Stock block (see instructions):
D Check applicable box(es) to indicate how stock was acquired:
  (1)     Original shareholder     (2)    Purchased     (3)    Inherited                                                                (4)          Gift         (5)         Other:
E      Check if you have a Regulations section 1.1367-1(g) election in effect during the tax year for this S corporation. . . . . . . . . . . . . . . . . . . . . .
Part I               Shareholder Stock Basis
     1 Stock basis at the beginning of the corporation's tax year . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                    1                    6,182.
     2 Basis from any capital contributions made or additional stock acquired during the tax year . . . . . . . . . . . . . . . . .                                                                  2
     3a Ordinary business income (enter losses in Part III). . . . . . . . . . . . . . . . . . . . . . . . . . .                                     3a                           3,859.
      b Net rental real estate income (enter losses in Part III). . . . . . . . . . . . . . . . . . . . . . . .                                      3b
      c Other net rental income (enter losses in Part III). . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                  3c
      d Interest income. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .       3d
      e Ordinary dividends. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .          3e
      f Royalties. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 3f
      g Net capital gains (enter losses in Part III) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                           3g
      h Net section 1231 gain (enter losses in Part III). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                3h
      i Other income (enter losses in Part III) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                          3i
      j Excess depletion adjustment . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                    3j
      k Tax-exempt income. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .             3k
      l Recapture of business credits . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                    3l
      m Other items that increase stock basis . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                          3m
     4 Add lines 3a through 3m. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .          4                 3,859.
     5 Stock basis before distributions. Add lines 1, 2, and 4. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                5                10,041.
     6 Distributions (excluding dividend distributions). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                         6                 7,464.
        Note: If line 6 is larger than line 5, subtract line 5 from line 6 and report the result as a capital gain on
              Form 8949 and Schedule D. See instructions.
     7 Stock basis after distributions. Subtract line 6 from line 5. If the result is zero or less, enter -0-, skip
        lines 8 through 14, and enter -0- on line 15. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                      7                    2,577.
     8a Nondeductible expenses . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                 8a                           2,639.
      b Depletion for oil and gas. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .               8b
      c Business credits (sections 50(c)(1) and (5)) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                               8c
     9 Add lines 8a through 8c. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .        9                    2,639.
    10 Stock basis before loss and deduction items. Subtract line 9 from line 7. If the result is zero or less,
        enter -0-, skip lines 11 through 14, and enter -0- on line 15 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                    10                         0.
    11 Allowable loss and deduction items. Enter the amount from line 47, column (c). . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                          11
    12 Debt basis restoration (see net increase in instructions for line 23). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                          12
    13 Other items that decrease stock basis . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                     13
    14 Add lines 11, 12, and 13 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .        14
    15 Stock basis at the end of the corporation's tax year. Subtract line 14 from line 10. If the result is
        zero or less, enter -0-. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .   15                         0.
Part II              Shareholder Debt Basis
                               Section A ' Amount of Debt (If more than three debts, see instructions.)
                                                                                                   (a) Debt 1                            (b) Debt 2                             (c) Debt 3
                                                                                                 Formal note                            Formal note                           Formal note                        (d) Total
                                  Description
                                                                                                 Open account                           Open account                          Open account
    16     Loan balance at the beginning of the
           corporation's tax year. . . . . . . . . . . . . . . . . . . . .                                                                                                                                                      0.
    17     Additional loans (see instructions) . . . . . . . . .
    18     Loan balance before repayment. Add lines 16 and 17. . .                                                                                                                                                              0.
    19     Principal portion of debt repayment (this
           line doesn’t include interest). . . . . . . . . . . . . . .
    20     Loan balance at the end of the corporation's
           tax year. Subtract line 19 from line 18. . . . .                                                                                                                                                                     0.
BAA For Paperwork Reduction Act Notice, see separate instructions.                                                                                     FDIA9998         09/29/22                      Form 7203 (Rev. 12-2022)
            24-10449-mew                                Doc 14-1                     Filed 03/27/24 Entered 03/27/24 11:34:24                                Most recent
                                                                                        tax return Pg 62 of 107
Form 7203 (Rev. 12-2022)    MOXY RESTAURANT ASSOCIATES INC.                                                                                              XX-XXXXXXX               Page 2
Part II         Shareholder Debt Basis (continued)   WILLIAM THOMPSON
                                          Section B ' Adjustments to Debt Basis
                       Description                                                          (a) Debt 1                   (b) Debt 2             (c) Debt 3            (d) Total
 21   Debt basis at the beginning of the
      corporation's tax year. . . . . . . . . . . . . . . . . . . . .                                                                                                                0.
 22   Enter the amount, if any, from line 17. . . . . .
 23   Debt basis restoration (see instructions). . . .
 24   Debt basis before repayment. Add lines 21
      22, and 23 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                                                       0.
 25   Divide line 24 by line 18. . . . . . . . . . . . . . . . . . .
 26   Nontaxable debt repayment. Multiply
      line 25 by line 19. . . . . . . . . . . . . . . . . . . . . . . . .
 27   Debt basis before nondeductible expenses
      and losses. Subtract line 26 from line 24. . .                                                                                                                                 0.
 28   Nondeductible expenses and oil and gas
      depletion deductions in excess of stock basis.
 29   Debt basis before losses and deductions.
      Subtract line 28 from line 27. If the result
      is zero or less, enter -0- . . . . . . . . . . . . . . . . . .                                                                                                                 0.
 30   Allowable losses in excess of stock basis.
      Enter the amount from line 47, column (d) . .
 31   Debt basis at the end of the corporation's
      tax year. Subtract line 30 from line 29. If
      the result is zero or less, enter -0-. . . . . . . . .                                                                                                                         0.
                                                                               Section C ' Gain on Loan Repayment
 32   Repayment. Enter the amount from line 19..
 33   Nontaxable repayments. Enter the amount
      from line 26. . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
 34   Reportable gain. Subtract line 33 from
      line 32. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
Part III        Shareholder Allowable Loss and Deduction Items
                                                                                     (a) Current         (b) Carryover         (c) Allowable        (d) Allowable    (e) Carryover
                                                                                     year losses            amounts              loss from            loss from         amounts
                              Description                                                and              (column (e))           stock basis          debt basis
                                                                                                            from the
                                                                                     deductions          previous year
 35   Ordinary business loss. . . . . . . . . . . . . . .
 36   Net rental real estate loss. . . . . . . . . . . .
 37   Other net rental loss. . . . . . . . . . . . . . . . .
 38   Net capital loss. . . . . . . . . . . . . . . . . . . . . .
 39   Net section 1231 loss. . . . . . . . . . . . . . . .
 40   Other loss. . . . . . . . . . . . . . . . . . . . . . . . . . .
 41   Section 179 deductions . . . . . . . . . . . . . .                                  1,572.                                                                            1,572.
 42   Charitable contributions. . . . . . . . . . . . . .                                     6.                                                                                6.
 43   Investment interest expense . . . . . . . . .
 44   Section 59(e)(2) expenditures . . . . . . . .
 45   Other deductions . . . . . . . . . . . . . . . . . . . .
 46   Foreign taxes paid or accrued. . . . . . . .
 47   Total loss. Add lines 35 through 46
      for each column. Enter the total loss
      in column (c) on line 11 and enter the
      total loss in column (d) on line 30 . . . .                                         1,578.                         0.                    0.               0.          1,578.
                                                                                                                                                             Form 7203 (Rev. 12-2022)




                                                                                                   FDIA9998   09/29/22
                 24-10449-mew                              Doc 14-1           Filed 03/27/24 Entered 03/27/24 11:34:24                                                                               Most recent
                                                                                 tax return Pg 63 of 107
Form      7203                                                           S Corporation Shareholder Stock and                                                                                               OMB No. 1545-2302

(Rev. December 2022)                                                             Debt Basis Limitations
                                                                                  Attach to your tax return.
Department of the Treasury                                                                                                                                                                                 Attachment
Internal Revenue Service                                    Go to www.irs.gov/Form7203 for instructions and the latest information.                                                                        Sequence No.   203
Name of shareholder                                                                                                                                                                   Identifying number

KEITH DUVAL
A      Name of S corporation                                                                                                                                                          B     Employer identification number

MOXY RESTAURANT ASSOCIATES INC.                                                                                                                                                       XX-XXXXXXX
C Stock block (see instructions):
D Check applicable box(es) to indicate how stock was acquired:
  (1)     Original shareholder     (2)    Purchased     (3)    Inherited                                                                (4)          Gift         (5)         Other:
E      Check if you have a Regulations section 1.1367-1(g) election in effect during the tax year for this S corporation. . . . . . . . . . . . . . . . . . . . . .
Part I               Shareholder Stock Basis
     1 Stock basis at the beginning of the corporation's tax year . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                    1                          0.
     2 Basis from any capital contributions made or additional stock acquired during the tax year . . . . . . . . . . . . . . . . .                                                                  2
     3a Ordinary business income (enter losses in Part III). . . . . . . . . . . . . . . . . . . . . . . . . . .                                     3a                           1,544.
      b Net rental real estate income (enter losses in Part III). . . . . . . . . . . . . . . . . . . . . . . .                                      3b
      c Other net rental income (enter losses in Part III). . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                  3c
      d Interest income. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .       3d
      e Ordinary dividends. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .          3e
      f Royalties. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 3f
      g Net capital gains (enter losses in Part III) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                           3g
      h Net section 1231 gain (enter losses in Part III). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                3h
      i Other income (enter losses in Part III) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                          3i
      j Excess depletion adjustment . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                    3j
      k Tax-exempt income. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .             3k
      l Recapture of business credits . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                    3l
      m Other items that increase stock basis . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                          3m
     4 Add lines 3a through 3m. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .          4                    1,544.
     5 Stock basis before distributions. Add lines 1, 2, and 4. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                5                    1,544.
     6 Distributions (excluding dividend distributions). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                         6                    2,108.
        Note: If line 6 is larger than line 5, subtract line 5 from line 6 and report the result as a capital gain on
              Form 8949 and Schedule D. See instructions.
     7 Stock basis after distributions. Subtract line 6 from line 5. If the result is zero or less, enter -0-, skip
        lines 8 through 14, and enter -0- on line 15. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                      7                          0.
     8a Nondeductible expenses . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                 8a
      b Depletion for oil and gas. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .               8b
      c Business credits (sections 50(c)(1) and (5)) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                               8c
     9 Add lines 8a through 8c. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .        9
    10 Stock basis before loss and deduction items. Subtract line 9 from line 7. If the result is zero or less,
        enter -0-, skip lines 11 through 14, and enter -0- on line 15 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                    10
    11 Allowable loss and deduction items. Enter the amount from line 47, column (c). . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                          11
    12 Debt basis restoration (see net increase in instructions for line 23). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                          12
    13 Other items that decrease stock basis . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                     13
    14 Add lines 11, 12, and 13 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .        14
    15 Stock basis at the end of the corporation's tax year. Subtract line 14 from line 10. If the result is
        zero or less, enter -0-. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .   15                         0.
Part II              Shareholder Debt Basis
                               Section A ' Amount of Debt (If more than three debts, see instructions.)
                                                                                                   (a) Debt 1                            (b) Debt 2                             (c) Debt 3

                                  Description
                                                                                           X Formal note                                Formal note                           Formal note                        (d) Total
                                                                                                 Open account                           Open account                          Open account
    16     Loan balance at the beginning of the
           corporation's tax year. . . . . . . . . . . . . . . . . . . . .                                 37,171.                                                                                                    37,171.
    17     Additional loans (see instructions) . . . . . . . . .
    18     Loan balance before repayment. Add lines 16 and 17. . .                                         37,171.                                                                                                    37,171.
    19     Principal portion of debt repayment (this
           line doesn’t include interest). . . . . . . . . . . . . . .
    20     Loan balance at the end of the corporation's
           tax year. Subtract line 19 from line 18. . . . .                                                37,171.                                                                                                    37,171.
BAA For Paperwork Reduction Act Notice, see separate instructions.                                                                                     FDIA9998         09/29/22                      Form 7203 (Rev. 12-2022)
            24-10449-mew                                Doc 14-1                     Filed 03/27/24 Entered 03/27/24 11:34:24                                Most recent
                                                                                        tax return Pg 64 of 107
Form 7203 (Rev. 12-2022)    MOXY RESTAURANT ASSOCIATES INC.                                                                                              XX-XXXXXXX               Page 2
Part II         Shareholder Debt Basis (continued)   KEITH DUVAL
                                          Section B ' Adjustments to Debt Basis
                       Description                                                          (a) Debt 1                   (b) Debt 2             (c) Debt 3            (d) Total
 21   Debt basis at the beginning of the
      corporation's tax year. . . . . . . . . . . . . . . . . . . . .                              36,961.                                                                36,961.
 22   Enter the amount, if any, from line 17. . . . . .
 23   Debt basis restoration (see instructions). . . .
 24   Debt basis before repayment. Add lines 21
      22, and 23 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                 36,961.                                                                    36,961.
 25   Divide line 24 by line 18. . . . . . . . . . . . . . . . . . .                       0.99435043
 26   Nontaxable debt repayment. Multiply
      line 25 by line 19. . . . . . . . . . . . . . . . . . . . . . . . .
 27   Debt basis before nondeductible expenses
      and losses. Subtract line 26 from line 24. . .                                               36,961.                                                                36,961.
 28   Nondeductible expenses and oil and gas
      depletion deductions in excess of stock basis.                                                1,056.                                                                  1,056.
 29   Debt basis before losses and deductions.
      Subtract line 28 from line 27. If the result
      is zero or less, enter -0- . . . . . . . . . . . . . . . . . .                               35,905.                                                                35,905.
 30   Allowable losses in excess of stock basis.
      Enter the amount from line 47, column (d) . .                                                    631.                                                                       631.
 31   Debt basis at the end of the corporation's
      tax year. Subtract line 30 from line 29. If
      the result is zero or less, enter -0-. . . . . . . . .                              35,274.                                                                         35,274.
                                                                               Section C ' Gain on Loan Repayment
 32   Repayment. Enter the amount from line 19..
 33   Nontaxable repayments. Enter the amount
      from line 26. . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
 34   Reportable gain. Subtract line 33 from
      line 32. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
Part III        Shareholder Allowable Loss and Deduction Items
                                                                                     (a) Current         (b) Carryover         (c) Allowable        (d) Allowable    (e) Carryover
                                                                                     year losses            amounts              loss from            loss from         amounts
                              Description                                                and              (column (e))           stock basis          debt basis
                                                                                                            from the
                                                                                     deductions          previous year
 35   Ordinary business loss. . . . . . . . . . . . . . .
 36   Net rental real estate loss. . . . . . . . . . . .
 37   Other net rental loss. . . . . . . . . . . . . . . . .
 38   Net capital loss. . . . . . . . . . . . . . . . . . . . . .
 39   Net section 1231 loss. . . . . . . . . . . . . . . .
 40   Other loss. . . . . . . . . . . . . . . . . . . . . . . . . . .
 41   Section 179 deductions . . . . . . . . . . . . . .                                     629.                                                            629.
 42   Charitable contributions. . . . . . . . . . . . . .                                      2.                                                              2.
 43   Investment interest expense . . . . . . . . .
 44   Section 59(e)(2) expenditures . . . . . . . .
 45   Other deductions . . . . . . . . . . . . . . . . . . . .
 46   Foreign taxes paid or accrued. . . . . . . .
 47   Total loss. Add lines 35 through 46
      for each column. Enter the total loss
      in column (c) on line 11 and enter the
      total loss in column (d) on line 30 . . . .                                            631.                        0.                    0.            631.                    0.
                                                                                                                                                             Form 7203 (Rev. 12-2022)




                                                                                                   FDIA9998   09/29/22
                 24-10449-mew                              Doc 14-1           Filed 03/27/24 Entered 03/27/24 11:34:24                                                                               Most recent
                                                                                 tax return Pg 65 of 107
Form      7203                                                           S Corporation Shareholder Stock and                                                                                               OMB No. 1545-2302

(Rev. December 2022)                                                             Debt Basis Limitations
                                                                                  Attach to your tax return.
Department of the Treasury                                                                                                                                                                                 Attachment
Internal Revenue Service                                    Go to www.irs.gov/Form7203 for instructions and the latest information.                                                                        Sequence No.   203
Name of shareholder                                                                                                                                                                   Identifying number

DAVID N MASSEY
A      Name of S corporation                                                                                                                                                          B     Employer identification number

MOXY RESTAURANT ASSOCIATES INC.                                                                                                                                                       XX-XXXXXXX
C Stock block (see instructions):
D Check applicable box(es) to indicate how stock was acquired:
  (1)     Original shareholder     (2)    Purchased     (3)    Inherited                                                                (4)          Gift         (5)         Other:
E      Check if you have a Regulations section 1.1367-1(g) election in effect during the tax year for this S corporation. . . . . . . . . . . . . . . . . . . . . .
Part I               Shareholder Stock Basis
     1 Stock basis at the beginning of the corporation's tax year . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                    1                       295.
     2 Basis from any capital contributions made or additional stock acquired during the tax year . . . . . . . . . . . . . . . . .                                                                  2
     3a Ordinary business income (enter losses in Part III). . . . . . . . . . . . . . . . . . . . . . . . . . .                                     3a                           1,544.
      b Net rental real estate income (enter losses in Part III). . . . . . . . . . . . . . . . . . . . . . . .                                      3b
      c Other net rental income (enter losses in Part III). . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                  3c
      d Interest income. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .       3d
      e Ordinary dividends. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .          3e
      f Royalties. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 3f
      g Net capital gains (enter losses in Part III) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                           3g
      h Net section 1231 gain (enter losses in Part III). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                3h
      i Other income (enter losses in Part III) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                          3i
      j Excess depletion adjustment . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                    3j
      k Tax-exempt income. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .             3k
      l Recapture of business credits . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                    3l
      m Other items that increase stock basis . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                          3m
     4 Add lines 3a through 3m. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .          4                    1,544.
     5 Stock basis before distributions. Add lines 1, 2, and 4. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                5                    1,839.
     6 Distributions (excluding dividend distributions). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                         6                    2,108.
        Note: If line 6 is larger than line 5, subtract line 5 from line 6 and report the result as a capital gain on
              Form 8949 and Schedule D. See instructions.
     7 Stock basis after distributions. Subtract line 6 from line 5. If the result is zero or less, enter -0-, skip
        lines 8 through 14, and enter -0- on line 15. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                      7                          0.
     8a Nondeductible expenses . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                 8a
      b Depletion for oil and gas. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .               8b
      c Business credits (sections 50(c)(1) and (5)) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                               8c
     9 Add lines 8a through 8c. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .        9
    10 Stock basis before loss and deduction items. Subtract line 9 from line 7. If the result is zero or less,
        enter -0-, skip lines 11 through 14, and enter -0- on line 15 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                    10
    11 Allowable loss and deduction items. Enter the amount from line 47, column (c). . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                          11
    12 Debt basis restoration (see net increase in instructions for line 23). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                          12
    13 Other items that decrease stock basis . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                     13
    14 Add lines 11, 12, and 13 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .        14
    15 Stock basis at the end of the corporation's tax year. Subtract line 14 from line 10. If the result is
        zero or less, enter -0-. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .   15                         0.
Part II              Shareholder Debt Basis
                               Section A ' Amount of Debt (If more than three debts, see instructions.)
                                                                                                   (a) Debt 1                            (b) Debt 2                             (c) Debt 3

                                  Description
                                                                                           X Formal note                                Formal note                           Formal note                        (d) Total
                                                                                                 Open account                           Open account                          Open account
    16     Loan balance at the beginning of the
           corporation's tax year. . . . . . . . . . . . . . . . . . . . .                                 47,557.                                                                                                    47,557.
    17     Additional loans (see instructions) . . . . . . . . .
    18     Loan balance before repayment. Add lines 16 and 17. . .                                         47,557.                                                                                                    47,557.
    19     Principal portion of debt repayment (this
           line doesn’t include interest). . . . . . . . . . . . . . .
    20     Loan balance at the end of the corporation's
           tax year. Subtract line 19 from line 18. . . . .                                                47,557.                                                                                                    47,557.
BAA For Paperwork Reduction Act Notice, see separate instructions.                                                                                     FDIA9998         09/29/22                      Form 7203 (Rev. 12-2022)
            24-10449-mew                                Doc 14-1                     Filed 03/27/24 Entered 03/27/24 11:34:24                                Most recent
                                                                                        tax return Pg 66 of 107
Form 7203 (Rev. 12-2022)    MOXY RESTAURANT ASSOCIATES INC.                                                                                              XX-XXXXXXX               Page 2
Part II         Shareholder Debt Basis (continued)   DAVID N MASSEY
                                          Section B ' Adjustments to Debt Basis
                       Description                                                          (a) Debt 1                   (b) Debt 2             (c) Debt 3            (d) Total
 21   Debt basis at the beginning of the
      corporation's tax year. . . . . . . . . . . . . . . . . . . . .                              47,557.                                                                47,557.
 22   Enter the amount, if any, from line 17. . . . . .
 23   Debt basis restoration (see instructions). . . .
 24   Debt basis before repayment. Add lines 21
      22, and 23 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                 47,557.                                                                    47,557.
 25   Divide line 24 by line 18. . . . . . . . . . . . . . . . . . .                       1.00000000
 26   Nontaxable debt repayment. Multiply
      line 25 by line 19. . . . . . . . . . . . . . . . . . . . . . . . .
 27   Debt basis before nondeductible expenses
      and losses. Subtract line 26 from line 24. . .                                               47,557.                                                                47,557.
 28   Nondeductible expenses and oil and gas
      depletion deductions in excess of stock basis.                                                1,056.                                                                  1,056.
 29   Debt basis before losses and deductions.
      Subtract line 28 from line 27. If the result
      is zero or less, enter -0- . . . . . . . . . . . . . . . . . .                               46,501.                                                                46,501.
 30   Allowable losses in excess of stock basis.
      Enter the amount from line 47, column (d) . .                                                    631.                                                                       631.
 31   Debt basis at the end of the corporation's
      tax year. Subtract line 30 from line 29. If
      the result is zero or less, enter -0-. . . . . . . . .                              45,870.                                                                         45,870.
                                                                               Section C ' Gain on Loan Repayment
 32   Repayment. Enter the amount from line 19..
 33   Nontaxable repayments. Enter the amount
      from line 26. . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
 34   Reportable gain. Subtract line 33 from
      line 32. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
Part III        Shareholder Allowable Loss and Deduction Items
                                                                                     (a) Current         (b) Carryover         (c) Allowable        (d) Allowable    (e) Carryover
                                                                                     year losses            amounts              loss from            loss from         amounts
                              Description                                                and              (column (e))           stock basis          debt basis
                                                                                                            from the
                                                                                     deductions          previous year
 35   Ordinary business loss. . . . . . . . . . . . . . .
 36   Net rental real estate loss. . . . . . . . . . . .
 37   Other net rental loss. . . . . . . . . . . . . . . . .
 38   Net capital loss. . . . . . . . . . . . . . . . . . . . . .
 39   Net section 1231 loss. . . . . . . . . . . . . . . .
 40   Other loss. . . . . . . . . . . . . . . . . . . . . . . . . . .
 41   Section 179 deductions . . . . . . . . . . . . . .                                     629.                                                            629.
 42   Charitable contributions. . . . . . . . . . . . . .                                      2.                                                              2.
 43   Investment interest expense . . . . . . . . .
 44   Section 59(e)(2) expenditures . . . . . . . .
 45   Other deductions . . . . . . . . . . . . . . . . . . . .
 46   Foreign taxes paid or accrued. . . . . . . .
 47   Total loss. Add lines 35 through 46
      for each column. Enter the total loss
      in column (c) on line 11 and enter the
      total loss in column (d) on line 30 . . . .                                            631.                        0.                    0.            631.                    0.
                                                                                                                                                             Form 7203 (Rev. 12-2022)




                                                                                                   FDIA9998   09/29/22
                 24-10449-mew                              Doc 14-1           Filed 03/27/24 Entered 03/27/24 11:34:24                                                                               Most recent
                                                                                 tax return Pg 67 of 107
Form      7203                                                           S Corporation Shareholder Stock and                                                                                               OMB No. 1545-2302

(Rev. December 2022)                                                             Debt Basis Limitations
                                                                                  Attach to your tax return.
Department of the Treasury                                                                                                                                                                                 Attachment
Internal Revenue Service                                    Go to www.irs.gov/Form7203 for instructions and the latest information.                                                                        Sequence No.   203
Name of shareholder                                                                                                                                                                   Identifying number

ERIK M. MANNING
A      Name of S corporation                                                                                                                                                          B     Employer identification number

MOXY RESTAURANT ASSOCIATES INC.                                                                                                                                                       XX-XXXXXXX
C Stock block (see instructions):
D Check applicable box(es) to indicate how stock was acquired:
  (1)     Original shareholder     (2)    Purchased     (3)    Inherited                                                                (4)          Gift         (5)         Other:
E      Check if you have a Regulations section 1.1367-1(g) election in effect during the tax year for this S corporation. . . . . . . . . . . . . . . . . . . . . .
Part I               Shareholder Stock Basis
     1 Stock basis at the beginning of the corporation's tax year . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                    1                          0.
     2 Basis from any capital contributions made or additional stock acquired during the tax year . . . . . . . . . . . . . . . . .                                                                  2
     3a Ordinary business income (enter losses in Part III). . . . . . . . . . . . . . . . . . . . . . . . . . .                                     3a                           3,859.
      b Net rental real estate income (enter losses in Part III). . . . . . . . . . . . . . . . . . . . . . . .                                      3b
      c Other net rental income (enter losses in Part III). . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                  3c
      d Interest income. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .       3d
      e Ordinary dividends. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .          3e
      f Royalties. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 3f
      g Net capital gains (enter losses in Part III) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                           3g
      h Net section 1231 gain (enter losses in Part III). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                3h
      i Other income (enter losses in Part III) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                          3i
      j Excess depletion adjustment . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                    3j
      k Tax-exempt income. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .             3k
      l Recapture of business credits . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                    3l
      m Other items that increase stock basis . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                          3m
     4 Add lines 3a through 3m. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .          4                    3,859.
     5 Stock basis before distributions. Add lines 1, 2, and 4. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                5                    3,859.
     6 Distributions (excluding dividend distributions). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                         6                    7,464.
        Note: If line 6 is larger than line 5, subtract line 5 from line 6 and report the result as a capital gain on
              Form 8949 and Schedule D. See instructions.
     7 Stock basis after distributions. Subtract line 6 from line 5. If the result is zero or less, enter -0-, skip
        lines 8 through 14, and enter -0- on line 15. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                      7                          0.
     8a Nondeductible expenses . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                 8a
      b Depletion for oil and gas. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .               8b
      c Business credits (sections 50(c)(1) and (5)) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                               8c
     9 Add lines 8a through 8c. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .        9
    10 Stock basis before loss and deduction items. Subtract line 9 from line 7. If the result is zero or less,
        enter -0-, skip lines 11 through 14, and enter -0- on line 15 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                    10
    11 Allowable loss and deduction items. Enter the amount from line 47, column (c). . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                          11
    12 Debt basis restoration (see net increase in instructions for line 23). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                          12
    13 Other items that decrease stock basis . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                     13
    14 Add lines 11, 12, and 13 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .        14
    15 Stock basis at the end of the corporation's tax year. Subtract line 14 from line 10. If the result is
        zero or less, enter -0-. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .   15                         0.
Part II              Shareholder Debt Basis
                               Section A ' Amount of Debt (If more than three debts, see instructions.)
                                                                                                   (a) Debt 1                            (b) Debt 2                             (c) Debt 3

                                  Description
                                                                                           X Formal note                                Formal note                           Formal note                        (d) Total
                                                                                                 Open account                           Open account                          Open account
    16     Loan balance at the beginning of the
           corporation's tax year. . . . . . . . . . . . . . . . . . . . .                                 30,354.                                                                                                    30,354.
    17     Additional loans (see instructions) . . . . . . . . .
    18     Loan balance before repayment. Add lines 16 and 17. . .                                         30,354.                                                                                                    30,354.
    19     Principal portion of debt repayment (this
           line doesn’t include interest). . . . . . . . . . . . . . .
    20     Loan balance at the end of the corporation's
           tax year. Subtract line 19 from line 18. . . . .                                                30,354.                                                                                                    30,354.
BAA For Paperwork Reduction Act Notice, see separate instructions.                                                                                     FDIA9998         09/29/22                      Form 7203 (Rev. 12-2022)
            24-10449-mew                                Doc 14-1                     Filed 03/27/24 Entered 03/27/24 11:34:24                                 Most recent
                                                                                        tax return Pg 68 of 107
Form 7203 (Rev. 12-2022)    MOXY RESTAURANT ASSOCIATES INC.                                                                                              XX-XXXXXXX                 Page 2
Part II         Shareholder Debt Basis (continued)   ERIK M. MANNING
                                          Section B ' Adjustments to Debt Basis
                       Description                                                          (a) Debt 1                   (b) Debt 2             (c) Debt 3              (d) Total
 21   Debt basis at the beginning of the
      corporation's tax year. . . . . . . . . . . . . . . . . . . . .                              29,829.                                                                  29,829.
 22   Enter the amount, if any, from line 17. . . . . .
 23   Debt basis restoration (see instructions). . . .
 24   Debt basis before repayment. Add lines 21
      22, and 23 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                 29,829.                                                                      29,829.
 25   Divide line 24 by line 18. . . . . . . . . . . . . . . . . . .                       0.98270409
 26   Nontaxable debt repayment. Multiply
      line 25 by line 19. . . . . . . . . . . . . . . . . . . . . . . . .
 27   Debt basis before nondeductible expenses
      and losses. Subtract line 26 from line 24. . .                                               29,829.                                                                  29,829.
 28   Nondeductible expenses and oil and gas
      depletion deductions in excess of stock basis.                                                2,639.                                                                    2,639.
 29   Debt basis before losses and deductions.
      Subtract line 28 from line 27. If the result
      is zero or less, enter -0- . . . . . . . . . . . . . . . . . .                               27,190.                                                                  27,190.
 30   Allowable losses in excess of stock basis.
      Enter the amount from line 47, column (d) . .                                                 1,578.                                                                    1,578.
 31   Debt basis at the end of the corporation's
      tax year. Subtract line 30 from line 29. If
      the result is zero or less, enter -0-. . . . . . . . .                              25,612.                                                                           25,612.
                                                                               Section C ' Gain on Loan Repayment
 32   Repayment. Enter the amount from line 19..
 33   Nontaxable repayments. Enter the amount
      from line 26. . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
 34   Reportable gain. Subtract line 33 from
      line 32. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
Part III        Shareholder Allowable Loss and Deduction Items
                                                                                     (a) Current         (b) Carryover         (c) Allowable        (d) Allowable      (e) Carryover
                                                                                     year losses            amounts              loss from            loss from           amounts
                              Description                                                and              (column (e))           stock basis          debt basis
                                                                                                            from the
                                                                                     deductions          previous year
 35   Ordinary business loss. . . . . . . . . . . . . . .
 36   Net rental real estate loss. . . . . . . . . . . .
 37   Other net rental loss. . . . . . . . . . . . . . . . .
 38   Net capital loss. . . . . . . . . . . . . . . . . . . . . .
 39   Net section 1231 loss. . . . . . . . . . . . . . . .
 40   Other loss. . . . . . . . . . . . . . . . . . . . . . . . . . .
 41   Section 179 deductions . . . . . . . . . . . . . .                                  1,572.                                                             1,572.
 42   Charitable contributions. . . . . . . . . . . . . .                                     6.                                                                 6.
 43   Investment interest expense . . . . . . . . .
 44   Section 59(e)(2) expenditures . . . . . . . .
 45   Other deductions . . . . . . . . . . . . . . . . . . . .
 46   Foreign taxes paid or accrued. . . . . . . .
 47   Total loss. Add lines 35 through 46
      for each column. Enter the total loss
      in column (c) on line 11 and enter the
      total loss in column (d) on line 30 . . . .                                         1,578.                         0.                    0.            1,578.                    0.
                                                                                                                                                               Form 7203 (Rev. 12-2022)




                                                                                                   FDIA9998   09/29/22
                 24-10449-mew                              Doc 14-1           Filed 03/27/24 Entered 03/27/24 11:34:24                                                                               Most recent
                                                                                 tax return Pg 69 of 107
Form      7203                                                           S Corporation Shareholder Stock and                                                                                               OMB No. 1545-2302

(Rev. December 2022)                                                             Debt Basis Limitations
                                                                                  Attach to your tax return.
Department of the Treasury                                                                                                                                                                                 Attachment
Internal Revenue Service                                    Go to www.irs.gov/Form7203 for instructions and the latest information.                                                                        Sequence No.   203
Name of shareholder                                                                                                                                                                   Identifying number

JOHN SCHNEIDER
A      Name of S corporation                                                                                                                                                          B     Employer identification number

MOXY RESTAURANT ASSOCIATES INC.                                                                                                                                                       XX-XXXXXXX
C Stock block (see instructions):
D Check applicable box(es) to indicate how stock was acquired:
  (1)     Original shareholder     (2)    Purchased     (3)    Inherited                                                                (4)          Gift         (5)         Other:
E      Check if you have a Regulations section 1.1367-1(g) election in effect during the tax year for this S corporation. . . . . . . . . . . . . . . . . . . . . .
Part I               Shareholder Stock Basis
     1 Stock basis at the beginning of the corporation's tax year . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                    1                          0.
     2 Basis from any capital contributions made or additional stock acquired during the tax year . . . . . . . . . . . . . . . . .                                                                  2
     3a Ordinary business income (enter losses in Part III). . . . . . . . . . . . . . . . . . . . . . . . . . .                                     3a                                 772.
      b Net rental real estate income (enter losses in Part III). . . . . . . . . . . . . . . . . . . . . . . .                                      3b
      c Other net rental income (enter losses in Part III). . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                  3c
      d Interest income. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .       3d
      e Ordinary dividends. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .          3e
      f Royalties. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 3f
      g Net capital gains (enter losses in Part III) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                           3g
      h Net section 1231 gain (enter losses in Part III). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                3h
      i Other income (enter losses in Part III) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                          3i
      j Excess depletion adjustment . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                    3j
      k Tax-exempt income. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .             3k
      l Recapture of business credits . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                    3l
      m Other items that increase stock basis . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                          3m
     4 Add lines 3a through 3m. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .          4                      772.
     5 Stock basis before distributions. Add lines 1, 2, and 4. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                5                      772.
     6 Distributions (excluding dividend distributions). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                         6                    1,276.
        Note: If line 6 is larger than line 5, subtract line 5 from line 6 and report the result as a capital gain on
              Form 8949 and Schedule D. See instructions.
     7 Stock basis after distributions. Subtract line 6 from line 5. If the result is zero or less, enter -0-, skip
        lines 8 through 14, and enter -0- on line 15. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                      7                          0.
     8a Nondeductible expenses . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                 8a
      b Depletion for oil and gas. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .               8b
      c Business credits (sections 50(c)(1) and (5)) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                               8c
     9 Add lines 8a through 8c. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .        9
    10 Stock basis before loss and deduction items. Subtract line 9 from line 7. If the result is zero or less,
        enter -0-, skip lines 11 through 14, and enter -0- on line 15 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                    10
    11 Allowable loss and deduction items. Enter the amount from line 47, column (c). . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                          11
    12 Debt basis restoration (see net increase in instructions for line 23). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                          12
    13 Other items that decrease stock basis . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                     13
    14 Add lines 11, 12, and 13 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .        14
    15 Stock basis at the end of the corporation's tax year. Subtract line 14 from line 10. If the result is
        zero or less, enter -0-. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .   15                         0.
Part II              Shareholder Debt Basis
                               Section A ' Amount of Debt (If more than three debts, see instructions.)
                                                                                                   (a) Debt 1                            (b) Debt 2                             (c) Debt 3

                                  Description
                                                                                           X Formal note                                Formal note                           Formal note                        (d) Total
                                                                                                 Open account                           Open account                          Open account
    16     Loan balance at the beginning of the
           corporation's tax year. . . . . . . . . . . . . . . . . . . . .                                    9,249.                                                                                                      9,249.
    17     Additional loans (see instructions) . . . . . . . . .
    18     Loan balance before repayment. Add lines 16 and 17. . .                                            9,249.                                                                                                      9,249.
    19     Principal portion of debt repayment (this
           line doesn’t include interest). . . . . . . . . . . . . . .
    20     Loan balance at the end of the corporation's
           tax year. Subtract line 19 from line 18. . . . .                                                   9,249.                                                                                                      9,249.
BAA For Paperwork Reduction Act Notice, see separate instructions.                                                                                     FDIA9998         09/29/22                      Form 7203 (Rev. 12-2022)
            24-10449-mew                                Doc 14-1                     Filed 03/27/24 Entered 03/27/24 11:34:24                                Most recent
                                                                                        tax return Pg 70 of 107
Form 7203 (Rev. 12-2022)    MOXY RESTAURANT ASSOCIATES INC.                                                                                              XX-XXXXXXX               Page 2
Part II         Shareholder Debt Basis (continued)   JOHN SCHNEIDER
                                          Section B ' Adjustments to Debt Basis
                       Description                                                          (a) Debt 1                   (b) Debt 2             (c) Debt 3            (d) Total
 21   Debt basis at the beginning of the
      corporation's tax year. . . . . . . . . . . . . . . . . . . . .                              9,144.                                                                   9,144.
 22   Enter the amount, if any, from line 17. . . . . .
 23   Debt basis restoration (see instructions). . . .
 24   Debt basis before repayment. Add lines 21
      22, and 23 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                  9,144.                                                                      9,144.
 25   Divide line 24 by line 18. . . . . . . . . . . . . . . . . . .                       0.98864742
 26   Nontaxable debt repayment. Multiply
      line 25 by line 19. . . . . . . . . . . . . . . . . . . . . . . . .
 27   Debt basis before nondeductible expenses
      and losses. Subtract line 26 from line 24. . .                                               9,144.                                                                   9,144.
 28   Nondeductible expenses and oil and gas
      depletion deductions in excess of stock basis.                                                   528.                                                                       528.
 29   Debt basis before losses and deductions.
      Subtract line 28 from line 27. If the result
      is zero or less, enter -0- . . . . . . . . . . . . . . . . . .                               8,616.                                                                   8,616.
 30   Allowable losses in excess of stock basis.
      Enter the amount from line 47, column (d) . .                                                    315.                                                                       315.
 31   Debt basis at the end of the corporation's
      tax year. Subtract line 30 from line 29. If
      the result is zero or less, enter -0-. . . . . . . . .                               8,301.                                                                           8,301.
                                                                               Section C ' Gain on Loan Repayment
 32   Repayment. Enter the amount from line 19..
 33   Nontaxable repayments. Enter the amount
      from line 26. . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
 34   Reportable gain. Subtract line 33 from
      line 32. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
Part III        Shareholder Allowable Loss and Deduction Items
                                                                                     (a) Current         (b) Carryover         (c) Allowable        (d) Allowable    (e) Carryover
                                                                                     year losses            amounts              loss from            loss from         amounts
                              Description                                                and              (column (e))           stock basis          debt basis
                                                                                                            from the
                                                                                     deductions          previous year
 35   Ordinary business loss. . . . . . . . . . . . . . .
 36   Net rental real estate loss. . . . . . . . . . . .
 37   Other net rental loss. . . . . . . . . . . . . . . . .
 38   Net capital loss. . . . . . . . . . . . . . . . . . . . . .
 39   Net section 1231 loss. . . . . . . . . . . . . . . .
 40   Other loss. . . . . . . . . . . . . . . . . . . . . . . . . . .
 41   Section 179 deductions . . . . . . . . . . . . . .                                     314.                                                            314.
 42   Charitable contributions. . . . . . . . . . . . . .                                      1.                                                              1.
 43   Investment interest expense . . . . . . . . .
 44   Section 59(e)(2) expenditures . . . . . . . .
 45   Other deductions . . . . . . . . . . . . . . . . . . . .
 46   Foreign taxes paid or accrued. . . . . . . .
 47   Total loss. Add lines 35 through 46
      for each column. Enter the total loss
      in column (c) on line 11 and enter the
      total loss in column (d) on line 30 . . . .                                            315.                        0.                    0.            315.                    0.
                                                                                                                                                             Form 7203 (Rev. 12-2022)




                                                                                                   FDIA9998   09/29/22
                 24-10449-mew                              Doc 14-1           Filed 03/27/24 Entered 03/27/24 11:34:24                                                                               Most recent
                                                                                 tax return Pg 71 of 107
Form      7203                                                           S Corporation Shareholder Stock and                                                                                               OMB No. 1545-2302

(Rev. December 2022)                                                             Debt Basis Limitations
                                                                                  Attach to your tax return.
Department of the Treasury                                                                                                                                                                                 Attachment
Internal Revenue Service                                    Go to www.irs.gov/Form7203 for instructions and the latest information.                                                                        Sequence No.   203
Name of shareholder                                                                                                                                                                   Identifying number

GAVIN WHISTON
A      Name of S corporation                                                                                                                                                          B     Employer identification number

MOXY RESTAURANT ASSOCIATES INC.                                                                                                                                                       XX-XXXXXXX
C Stock block (see instructions):
D Check applicable box(es) to indicate how stock was acquired:
  (1)     Original shareholder     (2)    Purchased     (3)    Inherited                                                                (4)          Gift         (5)         Other:
E      Check if you have a Regulations section 1.1367-1(g) election in effect during the tax year for this S corporation. . . . . . . . . . . . . . . . . . . . . .
Part I               Shareholder Stock Basis
     1 Stock basis at the beginning of the corporation's tax year . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                    1                20,115.
     2 Basis from any capital contributions made or additional stock acquired during the tax year . . . . . . . . . . . . . . . . .                                                                  2
     3a Ordinary business income (enter losses in Part III). . . . . . . . . . . . . . . . . . . . . . . . . . .                                     3a                        16,400.
      b Net rental real estate income (enter losses in Part III). . . . . . . . . . . . . . . . . . . . . . . .                                      3b
      c Other net rental income (enter losses in Part III). . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                  3c
      d Interest income. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .       3d
      e Ordinary dividends. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .          3e
      f Royalties. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 3f
      g Net capital gains (enter losses in Part III) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                           3g
      h Net section 1231 gain (enter losses in Part III). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                3h
      i Other income (enter losses in Part III) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                          3i
      j Excess depletion adjustment . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                    3j
      k Tax-exempt income. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .             3k
      l Recapture of business credits . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                    3l
      m Other items that increase stock basis . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                          3m
     4 Add lines 3a through 3m. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .          4                16,400.
     5 Stock basis before distributions. Add lines 1, 2, and 4. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                5                36,515.
     6 Distributions (excluding dividend distributions). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                         6                16,842.
        Note: If line 6 is larger than line 5, subtract line 5 from line 6 and report the result as a capital gain on
              Form 8949 and Schedule D. See instructions.
     7 Stock basis after distributions. Subtract line 6 from line 5. If the result is zero or less, enter -0-, skip
        lines 8 through 14, and enter -0- on line 15. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                      7                19,673.
     8a Nondeductible expenses . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                 8a                        11,217.
      b Depletion for oil and gas. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .               8b
      c Business credits (sections 50(c)(1) and (5)) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                               8c
     9 Add lines 8a through 8c. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .        9                11,217.
    10 Stock basis before loss and deduction items. Subtract line 9 from line 7. If the result is zero or less,
        enter -0-, skip lines 11 through 14, and enter -0- on line 15 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                    10                   8,456.
    11 Allowable loss and deduction items. Enter the amount from line 47, column (c). . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                          11                   6,705.
    12 Debt basis restoration (see net increase in instructions for line 23). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                          12
    13 Other items that decrease stock basis . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                     13
    14 Add lines 11, 12, and 13 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .        14                   6,705.
    15 Stock basis at the end of the corporation's tax year. Subtract line 14 from line 10. If the result is
        zero or less, enter -0-. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .   15                   1,751.
Part II              Shareholder Debt Basis
                               Section A ' Amount of Debt (If more than three debts, see instructions.)
                                                                                                   (a) Debt 1                            (b) Debt 2                             (c) Debt 3

                                  Description
                                                                                           X Formal note                                Formal note                           Formal note                        (d) Total
                                                                                                 Open account                           Open account                          Open account
    16     Loan balance at the beginning of the
           corporation's tax year. . . . . . . . . . . . . . . . . . . . .                                    8,919.                                                                                                      8,919.
    17     Additional loans (see instructions) . . . . . . . . .
    18     Loan balance before repayment. Add lines 16 and 17. . .                                            8,919.                                                                                                      8,919.
    19     Principal portion of debt repayment (this
           line doesn’t include interest). . . . . . . . . . . . . . .
    20     Loan balance at the end of the corporation's
           tax year. Subtract line 19 from line 18. . . . .                                                   8,919.                                                                                                      8,919.
BAA For Paperwork Reduction Act Notice, see separate instructions.                                                                                     FDIA9998         09/29/22                      Form 7203 (Rev. 12-2022)
            24-10449-mew                                Doc 14-1                     Filed 03/27/24 Entered 03/27/24 11:34:24                               Most recent
                                                                                        tax return Pg 72 of 107
Form 7203 (Rev. 12-2022)    MOXY RESTAURANT ASSOCIATES INC.                                                                                            XX-XXXXXXX                Page 2
Part II         Shareholder Debt Basis (continued)   GAVIN WHISTON
                                          Section B ' Adjustments to Debt Basis
                       Description                                                          (a) Debt 1                   (b) Debt 2            (c) Debt 3            (d) Total
 21   Debt basis at the beginning of the
      corporation's tax year. . . . . . . . . . . . . . . . . . . . .                              8,919.                                                                  8,919.
 22   Enter the amount, if any, from line 17. . . . . .
 23   Debt basis restoration (see instructions). . . .
 24   Debt basis before repayment. Add lines 21
      22, and 23 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                  8,919.                                                                     8,919.
 25   Divide line 24 by line 18. . . . . . . . . . . . . . . . . . .                       1.00000000
 26   Nontaxable debt repayment. Multiply
      line 25 by line 19. . . . . . . . . . . . . . . . . . . . . . . . .
 27   Debt basis before nondeductible expenses
      and losses. Subtract line 26 from line 24. . .                                               8,919.                                                                  8,919.
 28   Nondeductible expenses and oil and gas
      depletion deductions in excess of stock basis.
 29   Debt basis before losses and deductions.
      Subtract line 28 from line 27. If the result
      is zero or less, enter -0- . . . . . . . . . . . . . . . . . .                               8,919.                                                                  8,919.
 30   Allowable losses in excess of stock basis.
      Enter the amount from line 47, column (d) . .
 31   Debt basis at the end of the corporation's
      tax year. Subtract line 30 from line 29. If
      the result is zero or less, enter -0-. . . . . . . . .                               8,919.                                                                          8,919.
                                                                               Section C ' Gain on Loan Repayment
 32   Repayment. Enter the amount from line 19..
 33   Nontaxable repayments. Enter the amount
      from line 26. . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
 34   Reportable gain. Subtract line 33 from
      line 32. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
Part III        Shareholder Allowable Loss and Deduction Items
                                                                                     (a) Current         (b) Carryover         (c) Allowable      (d) Allowable     (e) Carryover
                                                                                     year losses            amounts              loss from          loss from          amounts
                              Description                                                and              (column (e))           stock basis        debt basis
                                                                                                            from the
                                                                                     deductions          previous year
 35   Ordinary business loss. . . . . . . . . . . . . . .
 36   Net rental real estate loss. . . . . . . . . . . .
 37   Other net rental loss. . . . . . . . . . . . . . . . .
 38   Net capital loss. . . . . . . . . . . . . . . . . . . . . .
 39   Net section 1231 loss. . . . . . . . . . . . . . . .
 40   Other loss. . . . . . . . . . . . . . . . . . . . . . . . . . .
 41   Section 179 deductions . . . . . . . . . . . . . .                                  6,679.                                      6,679.
 42   Charitable contributions. . . . . . . . . . . . . .                                    26.                                         26.
 43   Investment interest expense . . . . . . . . .
 44   Section 59(e)(2) expenditures . . . . . . . .
 45   Other deductions . . . . . . . . . . . . . . . . . . . .
 46   Foreign taxes paid or accrued. . . . . . . .
 47   Total loss. Add lines 35 through 46
      for each column. Enter the total loss
      in column (c) on line 11 and enter the
      total loss in column (d) on line 30 . . . .                                         6,705.                         0.           6,705.                  0.                    0.
                                                                                                                                                            Form 7203 (Rev. 12-2022)




                                                                                                   FDIA9998   09/29/22
                 24-10449-mew                              Doc 14-1           Filed 03/27/24 Entered 03/27/24 11:34:24                                                                               Most recent
                                                                                 tax return Pg 73 of 107
Form      7203                                                           S Corporation Shareholder Stock and                                                                                               OMB No. 1545-2302

(Rev. December 2022)                                                             Debt Basis Limitations
                                                                                  Attach to your tax return.
Department of the Treasury                                                                                                                                                                                 Attachment
Internal Revenue Service                                    Go to www.irs.gov/Form7203 for instructions and the latest information.                                                                        Sequence No.   203
Name of shareholder                                                                                                                                                                   Identifying number

THOMAS MCCARTHY
A      Name of S corporation                                                                                                                                                          B     Employer identification number

MOXY RESTAURANT ASSOCIATES INC.                                                                                                                                                       XX-XXXXXXX
C Stock block (see instructions):
D Check applicable box(es) to indicate how stock was acquired:
  (1)     Original shareholder     (2)    Purchased     (3)    Inherited                                                                (4)          Gift         (5)         Other:
E      Check if you have a Regulations section 1.1367-1(g) election in effect during the tax year for this S corporation. . . . . . . . . . . . . . . . . . . . . .
Part I               Shareholder Stock Basis
     1 Stock basis at the beginning of the corporation's tax year . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                    1                          0.
     2 Basis from any capital contributions made or additional stock acquired during the tax year . . . . . . . . . . . . . . . . .                                                                  2
     3a Ordinary business income (enter losses in Part III). . . . . . . . . . . . . . . . . . . . . . . . . . .                                     3a                        16,400.
      b Net rental real estate income (enter losses in Part III). . . . . . . . . . . . . . . . . . . . . . . .                                      3b
      c Other net rental income (enter losses in Part III). . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                  3c
      d Interest income. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .       3d
      e Ordinary dividends. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .          3e
      f Royalties. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 3f
      g Net capital gains (enter losses in Part III) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                           3g
      h Net section 1231 gain (enter losses in Part III). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                3h
      i Other income (enter losses in Part III) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                          3i
      j Excess depletion adjustment . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                    3j
      k Tax-exempt income. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .             3k
      l Recapture of business credits . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                    3l
      m Other items that increase stock basis . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                          3m
     4 Add lines 3a through 3m. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .          4                16,400.
     5 Stock basis before distributions. Add lines 1, 2, and 4. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                5                16,400.
     6 Distributions (excluding dividend distributions). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                         6                16,842.
        Note: If line 6 is larger than line 5, subtract line 5 from line 6 and report the result as a capital gain on
              Form 8949 and Schedule D. See instructions.
     7 Stock basis after distributions. Subtract line 6 from line 5. If the result is zero or less, enter -0-, skip
        lines 8 through 14, and enter -0- on line 15. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                      7                          0.
     8a Nondeductible expenses . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                 8a
      b Depletion for oil and gas. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .               8b
      c Business credits (sections 50(c)(1) and (5)) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                               8c
     9 Add lines 8a through 8c. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .        9
    10 Stock basis before loss and deduction items. Subtract line 9 from line 7. If the result is zero or less,
        enter -0-, skip lines 11 through 14, and enter -0- on line 15 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                    10
    11 Allowable loss and deduction items. Enter the amount from line 47, column (c). . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                          11
    12 Debt basis restoration (see net increase in instructions for line 23). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                          12
    13 Other items that decrease stock basis . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                     13
    14 Add lines 11, 12, and 13 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .        14
    15 Stock basis at the end of the corporation's tax year. Subtract line 14 from line 10. If the result is
        zero or less, enter -0-. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .   15                         0.
Part II              Shareholder Debt Basis
                               Section A ' Amount of Debt (If more than three debts, see instructions.)
                                                                                                   (a) Debt 1                            (b) Debt 2                             (c) Debt 3
                                                                                                 Formal note                            Formal note                           Formal note                        (d) Total
                                  Description
                                                                                                 Open account                           Open account                          Open account
    16     Loan balance at the beginning of the
           corporation's tax year. . . . . . . . . . . . . . . . . . . . .                                                                                                                                                      0.
    17     Additional loans (see instructions) . . . . . . . . .
    18     Loan balance before repayment. Add lines 16 and 17. . .                                                                                                                                                              0.
    19     Principal portion of debt repayment (this
           line doesn’t include interest). . . . . . . . . . . . . . .
    20     Loan balance at the end of the corporation's
           tax year. Subtract line 19 from line 18. . . . .                                                                                                                                                                     0.
BAA For Paperwork Reduction Act Notice, see separate instructions.                                                                                     FDIA9998         09/29/22                      Form 7203 (Rev. 12-2022)
            24-10449-mew                                Doc 14-1                     Filed 03/27/24 Entered 03/27/24 11:34:24                                Most recent
                                                                                        tax return Pg 74 of 107
Form 7203 (Rev. 12-2022)    MOXY RESTAURANT ASSOCIATES INC.                                                                                              XX-XXXXXXX               Page 2
Part II         Shareholder Debt Basis (continued)   THOMAS MCCARTHY
                                          Section B ' Adjustments to Debt Basis
                       Description                                                          (a) Debt 1                   (b) Debt 2             (c) Debt 3            (d) Total
 21   Debt basis at the beginning of the
      corporation's tax year. . . . . . . . . . . . . . . . . . . . .                                                                                                                0.
 22   Enter the amount, if any, from line 17. . . . . .
 23   Debt basis restoration (see instructions). . . .
 24   Debt basis before repayment. Add lines 21
      22, and 23 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                                                       0.
 25   Divide line 24 by line 18. . . . . . . . . . . . . . . . . . .
 26   Nontaxable debt repayment. Multiply
      line 25 by line 19. . . . . . . . . . . . . . . . . . . . . . . . .
 27   Debt basis before nondeductible expenses
      and losses. Subtract line 26 from line 24. . .                                                                                                                                 0.
 28   Nondeductible expenses and oil and gas
      depletion deductions in excess of stock basis.
 29   Debt basis before losses and deductions.
      Subtract line 28 from line 27. If the result
      is zero or less, enter -0- . . . . . . . . . . . . . . . . . .                                                                                                                 0.
 30   Allowable losses in excess of stock basis.
      Enter the amount from line 47, column (d) . .
 31   Debt basis at the end of the corporation's
      tax year. Subtract line 30 from line 29. If
      the result is zero or less, enter -0-. . . . . . . . .                                                                                                                         0.
                                                                               Section C ' Gain on Loan Repayment
 32   Repayment. Enter the amount from line 19..
 33   Nontaxable repayments. Enter the amount
      from line 26. . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
 34   Reportable gain. Subtract line 33 from
      line 32. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
Part III        Shareholder Allowable Loss and Deduction Items
                                                                                     (a) Current         (b) Carryover         (c) Allowable        (d) Allowable    (e) Carryover
                                                                                     year losses            amounts              loss from            loss from         amounts
                              Description                                                and              (column (e))           stock basis          debt basis
                                                                                                            from the
                                                                                     deductions          previous year
 35   Ordinary business loss. . . . . . . . . . . . . . .
 36   Net rental real estate loss. . . . . . . . . . . .
 37   Other net rental loss. . . . . . . . . . . . . . . . .
 38   Net capital loss. . . . . . . . . . . . . . . . . . . . . .
 39   Net section 1231 loss. . . . . . . . . . . . . . . .
 40   Other loss. . . . . . . . . . . . . . . . . . . . . . . . . . .
 41   Section 179 deductions . . . . . . . . . . . . . .                                  6,679.                 2,174.                                                     8,853.
 42   Charitable contributions. . . . . . . . . . . . . .                                    27.                    55.                                                        82.
 43   Investment interest expense . . . . . . . . .
 44   Section 59(e)(2) expenditures . . . . . . . .
 45   Other deductions . . . . . . . . . . . . . . . . . . . .
 46   Foreign taxes paid or accrued. . . . . . . .
 47   Total loss. Add lines 35 through 46
      for each column. Enter the total loss
      in column (c) on line 11 and enter the
      total loss in column (d) on line 30 . . . .                                         6,706.                 2,229.                        0.               0.          8,935.
                                                                                                                                                             Form 7203 (Rev. 12-2022)




                                                                                                   FDIA9998   09/29/22
                 24-10449-mew                              Doc 14-1           Filed 03/27/24 Entered 03/27/24 11:34:24                                                                               Most recent
                                                                                 tax return Pg 75 of 107
Form      7203                                                           S Corporation Shareholder Stock and                                                                                               OMB No. 1545-2302

(Rev. December 2022)                                                             Debt Basis Limitations
                                                                                  Attach to your tax return.
Department of the Treasury                                                                                                                                                                                 Attachment
Internal Revenue Service                                    Go to www.irs.gov/Form7203 for instructions and the latest information.                                                                        Sequence No.   203
Name of shareholder                                                                                                                                                                   Identifying number

KIERON SLATTERY
A      Name of S corporation                                                                                                                                                          B     Employer identification number

MOXY RESTAURANT ASSOCIATES INC.                                                                                                                                                       XX-XXXXXXX
C Stock block (see instructions):
D Check applicable box(es) to indicate how stock was acquired:
  (1)     Original shareholder     (2)    Purchased     (3)    Inherited                                                                (4)          Gift         (5)         Other:
E      Check if you have a Regulations section 1.1367-1(g) election in effect during the tax year for this S corporation. . . . . . . . . . . . . . . . . . . . . .
Part I               Shareholder Stock Basis
     1 Stock basis at the beginning of the corporation's tax year . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                    1                          0.
     2 Basis from any capital contributions made or additional stock acquired during the tax year . . . . . . . . . . . . . . . . .                                                                  2
     3a Ordinary business income (enter losses in Part III). . . . . . . . . . . . . . . . . . . . . . . . . . .                                     3a                        16,399.
      b Net rental real estate income (enter losses in Part III). . . . . . . . . . . . . . . . . . . . . . . .                                      3b
      c Other net rental income (enter losses in Part III). . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                  3c
      d Interest income. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .       3d
      e Ordinary dividends. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .          3e
      f Royalties. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 3f
      g Net capital gains (enter losses in Part III) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                           3g
      h Net section 1231 gain (enter losses in Part III). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                3h
      i Other income (enter losses in Part III) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                          3i
      j Excess depletion adjustment . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                    3j
      k Tax-exempt income. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .             3k
      l Recapture of business credits . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                    3l
      m Other items that increase stock basis . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                          3m
     4 Add lines 3a through 3m. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .          4                16,399.
     5 Stock basis before distributions. Add lines 1, 2, and 4. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                5                16,399.
     6 Distributions (excluding dividend distributions). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                         6                16,842.
        Note: If line 6 is larger than line 5, subtract line 5 from line 6 and report the result as a capital gain on
              Form 8949 and Schedule D. See instructions.
     7 Stock basis after distributions. Subtract line 6 from line 5. If the result is zero or less, enter -0-, skip
        lines 8 through 14, and enter -0- on line 15. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                      7                          0.
     8a Nondeductible expenses . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                 8a
      b Depletion for oil and gas. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .               8b
      c Business credits (sections 50(c)(1) and (5)) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                               8c
     9 Add lines 8a through 8c. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .        9
    10 Stock basis before loss and deduction items. Subtract line 9 from line 7. If the result is zero or less,
        enter -0-, skip lines 11 through 14, and enter -0- on line 15 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                    10
    11 Allowable loss and deduction items. Enter the amount from line 47, column (c). . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                          11
    12 Debt basis restoration (see net increase in instructions for line 23). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                          12
    13 Other items that decrease stock basis . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                     13
    14 Add lines 11, 12, and 13 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .        14
    15 Stock basis at the end of the corporation's tax year. Subtract line 14 from line 10. If the result is
        zero or less, enter -0-. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .   15                         0.
Part II              Shareholder Debt Basis
                               Section A ' Amount of Debt (If more than three debts, see instructions.)
                                                                                                   (a) Debt 1                            (b) Debt 2                             (c) Debt 3
                                                                                                 Formal note                            Formal note                           Formal note                        (d) Total
                                  Description
                                                                                                 Open account                           Open account                          Open account
    16     Loan balance at the beginning of the
           corporation's tax year. . . . . . . . . . . . . . . . . . . . .                                                                                                                                                      0.
    17     Additional loans (see instructions) . . . . . . . . .
    18     Loan balance before repayment. Add lines 16 and 17. . .                                                                                                                                                              0.
    19     Principal portion of debt repayment (this
           line doesn’t include interest). . . . . . . . . . . . . . .
    20     Loan balance at the end of the corporation's
           tax year. Subtract line 19 from line 18. . . . .                                                                                                                                                                     0.
BAA For Paperwork Reduction Act Notice, see separate instructions.                                                                                     FDIA9998         09/29/22                      Form 7203 (Rev. 12-2022)
            24-10449-mew                                Doc 14-1                     Filed 03/27/24 Entered 03/27/24 11:34:24                                Most recent
                                                                                        tax return Pg 76 of 107
Form 7203 (Rev. 12-2022)    MOXY RESTAURANT ASSOCIATES INC.                                                                                              XX-XXXXXXX               Page 2
Part II         Shareholder Debt Basis (continued)   KIERON SLATTERY
                                          Section B ' Adjustments to Debt Basis
                       Description                                                          (a) Debt 1                   (b) Debt 2             (c) Debt 3            (d) Total
 21   Debt basis at the beginning of the
      corporation's tax year. . . . . . . . . . . . . . . . . . . . .                                                                                                                0.
 22   Enter the amount, if any, from line 17. . . . . .
 23   Debt basis restoration (see instructions). . . .
 24   Debt basis before repayment. Add lines 21
      22, and 23 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                                                       0.
 25   Divide line 24 by line 18. . . . . . . . . . . . . . . . . . .
 26   Nontaxable debt repayment. Multiply
      line 25 by line 19. . . . . . . . . . . . . . . . . . . . . . . . .
 27   Debt basis before nondeductible expenses
      and losses. Subtract line 26 from line 24. . .                                                                                                                                 0.
 28   Nondeductible expenses and oil and gas
      depletion deductions in excess of stock basis.
 29   Debt basis before losses and deductions.
      Subtract line 28 from line 27. If the result
      is zero or less, enter -0- . . . . . . . . . . . . . . . . . .                                                                                                                 0.
 30   Allowable losses in excess of stock basis.
      Enter the amount from line 47, column (d) . .
 31   Debt basis at the end of the corporation's
      tax year. Subtract line 30 from line 29. If
      the result is zero or less, enter -0-. . . . . . . . .                                                                                                                         0.
                                                                               Section C ' Gain on Loan Repayment
 32   Repayment. Enter the amount from line 19..
 33   Nontaxable repayments. Enter the amount
      from line 26. . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
 34   Reportable gain. Subtract line 33 from
      line 32. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
Part III        Shareholder Allowable Loss and Deduction Items
                                                                                     (a) Current         (b) Carryover         (c) Allowable        (d) Allowable    (e) Carryover
                                                                                     year losses            amounts              loss from            loss from         amounts
                              Description                                                and              (column (e))           stock basis          debt basis
                                                                                                            from the
                                                                                     deductions          previous year
 35   Ordinary business loss. . . . . . . . . . . . . . .
 36   Net rental real estate loss. . . . . . . . . . . .
 37   Other net rental loss. . . . . . . . . . . . . . . . .
 38   Net capital loss. . . . . . . . . . . . . . . . . . . . . .
 39   Net section 1231 loss. . . . . . . . . . . . . . . .
 40   Other loss. . . . . . . . . . . . . . . . . . . . . . . . . . .
 41   Section 179 deductions . . . . . . . . . . . . . .                                  6,679.                     464.                                                   7,143.
 42   Charitable contributions. . . . . . . . . . . . . .                                    26.                      12.                                                      38.
 43   Investment interest expense . . . . . . . . .
 44   Section 59(e)(2) expenditures . . . . . . . .
 45   Other deductions . . . . . . . . . . . . . . . . . . . .
 46   Foreign taxes paid or accrued. . . . . . . .
 47   Total loss. Add lines 35 through 46
      for each column. Enter the total loss
      in column (c) on line 11 and enter the
      total loss in column (d) on line 30 . . . .                                         6,705.                     476.                      0.               0.          7,181.
                                                                                                                                                             Form 7203 (Rev. 12-2022)




                                                                                                   FDIA9998   09/29/22
              24-10449-mew                           Doc 14-1             Filed 03/27/24 Entered 03/27/24 11:34:24                                                                      Most recent
                                                                             tax return Pg 77 of 107
Form     8879-CORP                                                  E-file Authorization for Corporations
(December 2022)
                                                  For calendar year 20     23 , or tax year beginning                         , 20       , ending                   , 20
                                                                                                                                                                                              OMB No. 1545-0123
                                                                       Use for efile authorizations for Form 1120, 1120-F or 1120S.
Department of the Treasury                                                   Do not send to the IRS. Keep for your records.
Internal Revenue Service                                              Go to www.irs.gov/Form8879CORP for the latest information.
Name of corporation MOXY RESTAURANT ASSOCIATES INC.                                                                                                                          Employer identification number

                    SMITHFIELD HALL                                                                                                                                          XX-XXXXXXX
Part I         Information (Whole dollars only)

   1 Total income (Form 1120, line 11). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .      1

   2 Total income (Form 1120-F, Section II, line 11) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                 2


                                                                                                       3,147,873.
   3 Total income (loss) (Form 1120-S, line 6). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .            3
Part II Declaration and Signature Authorization of Officer. Be sure to get a copy of the corporation's return.
Under penalties of perjury, I declare that I am an officer of the above corporation and that I have examined a copy of the corporation's electronic
income tax return and accompanying schedules and statements, and to the best of my knowledge and belief, they are true, correct, and
complete. I further declare that the amounts in Part I above are the amounts shown on the copy of the corporation's electronic income tax
return. I consent to allow my electronic return originator (ERO), transmitter, or intermediate service provider to send the corporation's return to
the IRS and to receive from the IRS (a) an acknowledgment of receipt or reason for rejection of the transmission, (b) the reason for any delay in
processing the return or refund, and (c) the date of any refund. If applicable, I authorize the U.S. Treasury and its designated Financial
Agent to initiate an electronic funds withdrawal (direct debit) entry to the financial institution account indicated in the tax preparation software
for payment of the corporation's federal taxes owed on this return, and the financial institution to debit the entry to this account. To revoke a
payment, I must contact the U.S. Treasury Financial Agent at 1-888-353-4537 no later than 2 business days prior to the payment (settlement)
date. I also authorize the financial institutions involved in the processing of the electronic payment of taxes to receive confidential information
necessary to answer inquiries and resolve issues related to the payment. I have selected a personal identification number (PIN) as my
signature for the corporation's electronic income tax return and, if applicable, the corporation's consent to electronic funds withdrawal.

Officer's PIN: check one box only

      X I authorize             LALAJ CPA PC                                                                                                    to enter my PIN                     33234            as my signature
                                                                             ERO firm name                                                                                  do not enter all zeros
           on the corporation's electronically filed income tax return.


           As an officer of the corporation, I will enter my PIN as my signature on the corporation's electronically filed income tax
           return.

Officer's signature                                                                                                                   Date                                    Title   DIRECTOR

Part III Certification and Authentication

ERO's EFIN/PIN. Enter your six-digit EFIN followed by your five-digit self-selected PIN. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                     11854711102
                                                                                                                                                                                                do not enter all zeros

I certify that the above numeric entry is my PIN, which is my signature on the electronically filed income tax return for the corporation indicated
above. I confirm that I am submitting this return in accordance with the requirements of Pub. 3112, IRS e-file Application and Participation, and
Pub. 4163, Modernized e-File (MeF) Information for Authorized IRS e-file Providers for Business Returns.


ERO's signature               ELTON LALAJ CPA                                                                                                                                   Date



                                                                    ERO Must Retain This Form ' See Instructions
                                                            Do Not Submit This Form to the IRS Unless Requested To Do So

BAA For Paperwork Reduction Act Notice, see instructions.                                                       CPCA9401L       01/04/23                                               Form 8879-CORP (12-2022)
             24-10449-mew                       Doc 14-1              Filed 03/27/24 Entered 03/27/24 11:34:24                                                    Most recent
                                                                         tax return Pg 78 of 107
                              Department of Taxation and Finance


                             New York S Corporation Franchise Tax Return CT-3-S
                             Tax Law ' Articles 9-A and 22
                                                                                                                        All filers must enter tax period:

     Final return (see instructions)        Z          Amended return            Z                                     beginning      Z01-01-23                   ending       Z12-31-23
     Employer identification number (EIN)                                File number         Business telephone number                   If you claim an overpayment,
 Z46-4423234                                                          ZAA4                   ( 212 ) 929-9677                            mark an X in the box . . . . . . . . . . . . . . . . . .
     Legal name of corporation                                                                                           Trade name/DBA

     MOXY RESTAURANT ASSOCIATES INC.                                                                                     SMITHFIELD HALL
     Mailing address                                                                                                     State or country of incorporation

     Care of (c/o)                                                                                                       NY
     Number and street or PO Box                                                                                         Date of incorporation           Foreign corporations: date began business in NYS

     138 WEST 25TH ST                                                                                                    12-20-13
     City                              U.S. state/Canadian province        ZIP/Postal code         Country (if not United States)                        For office use only

      NEW YORK                                  NY                    10001
     NAICS business code number (from NYS Pub 910)         If you need to update your address or            ? New York S election effective date
 Z   722410                                                phone information for corporation tax,
     NYS principal business activity                                                  or other tax types, you can do so online.
     BAR & TAVERN                                                                     See Business information in Form CT-1.
     Has the corporation revoked its election to be treated as a New York S corporation?                 ? Number of shareholders
       Yes ?                     No ? X          If Yes, enter effective date:                                                9
 A     Pay amount shown on Part 2, line 46. Make payable to: New York State Corporation Tax                                                                             Payment enclosed

 <     Attach your payment here. Detach all check stubs. (See instructions for details.)                                                              ZA                             1,000
You must attach a copy of the following: (1) federal Form 1120S as filed; (2) Form CT-34-SH; (3) Form CT-60, if applicable;
(4) any applicable credit claim forms, (5) Form CT-225, if applicable; and (6) Form CT-227, if applicable.

 B     If you filed a return(s) other than federal Form 1120S, enter the form number(s) here. . . . . . . . . ?

 C     Enter your business apportionment factor (from Part 3, line 56) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . ?       1.000000

 D     Did the S corporation make an IRC section 338 or 453 election?. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . Yes ?            No ? X

 E     Did this entity have an interest in real property located in New York State during the last three years?. . . . . . . . . . . . . . . Yes ? X                                        No ?

 F     Has there been a transfer or acquisition of a controlling interest in this entity during the last three years?. . . . . . . . . . . . Yes ?                                          No ? X


 G     If the IRS has completed an audit of any of your returns within the last five years, list years. . . . .

 H     If this return is for a New York S termination year, mark an X in the appropriate box to indicate which method of accounting was
           used for the New York S short year (see New York S corporation termination year in instructions)
                                                                                                          Normal accounting rules                             Daily pro rata allocation


 I     Mark an X in the box if you are filing Form CT-3-S as a result of the mandatory New York S election of Tax Law, Article 22, section 660(i) ?


 J     If you are one of the following, mark an X in one box:                                     QETC ?                                         Qualified New York manufacturer                ?


 K     If you filed as a New York C corporation in previous years, enter the last year filed as such . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . ?


 L     Are you a residual interest holder in a real estate mortgage investment conduit (REMIC)?. . . . . . . . . . . . . . . . . . . . . . . . . . Yes ?                                    No ? X

 M      Enter the amount, if any, of tax paid from federal Form 1120S, line 23c . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                ?


 N      If you include the activities of a qualified subchapter S subsidiary (QSSS), partnership, single member limited liability
            company (SMLLC), or DISC in this return, or have other affiliated entities, mark an X in the box and attach Form CT-60. . . . . . . . . . ? X


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                                                                                       NYSA0312      08/15/23
                24-10449-mew                              Doc 14-1                     Filed 03/27/24 Entered 03/27/24 11:34:24                                                                     Most recent
                                                                                          tax return Pg 79 of 107
Page 2 of 6 CT-3-S (2023)
                                                      MOXY RESTAURANT ASSOCIATES INC.                                                                                                               XX-XXXXXXX

 O       If you are a foreign corporation computing your tax taking into account only your distributive shares from multiple limited
            partnerships, mark an X in the box. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . ?


 P       If you made a voluntary contribution to any available funds, mark an X in the box and attach Form CT-227. . . . . . . . . . . . . . . . . . . . . . . . . ?


Part 1 ' Federal Form 1120S information
Provide the information for lines 1 through 10 from the corresponding lines on your federal Form 1120S,
Schedule K, total amount column. (Show any negative amounts with a minus (-) sign; do not use parentheses or brackets.)
  1 Ordinary business income or loss. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . ? 1 77,177
     2    Net rental real estate income or loss. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . ?                    2
     3    Other net rental income or loss. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . ?                3
     4    Interest income . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . ?   4
     5    Ordinary dividends. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . ?     5
     6
     Royalties. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . ? 6
     7
     Net short-term capital gain or loss. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . ? 7
   8 Net long-term capital gain or loss. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . ? 8
   9 Net section 1231 gain or loss. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . ? 9
  10 Other income or loss . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . ? 10
  11 Loans to shareholders (from federal Form 1120S, Schedule L, line 7, columns b and d)
       Beginning of tax year ?                  224,974. End of tax year ?                                                                                         87,794.
  12 Total assets (from federal Form 1120S, Schedule L, line 15, columns b and d)
       Beginning of tax year ?                  775,091. End of tax year ?                                                                                      633,337.
  13 Loans  from shareholders (from federal Form 1120S, Schedule L, line 19, columns b and d)
       Beginning of tax year ?                  133,250. End of tax year ?

Provide the information for lines 14 through 21 from the corresponding lines on your federal Form 1120S,
Schedule M-2. (Show any negative amounts with a minus (-) sign; do not use parentheses or brackets.)
                                                                                    A                                             B                                           C                                 D
                                                                          Accumulated adjustments                           Shareholders'                            Accumulated earnings               Other adjustments
                                                                                 account                                 undistributed taxable                           and profits                         account
                                                                                                                       income previously taxed
  14 Balance at beginning of                              ?                                                      ?                                           ?                                      ?
       tax year . . . . . . . . . . . . . . . . . . . . .                                 384,228.
  15 Ordinary income from federal                         ?
              Form 1120S, page 1, line 22. . .                                               77,177.
                                                                     ?                                                                                                                              ?
  16 Other additions. . . . . . . . . . . . . . . . .
  17 Loss from federal Form 1120S,                       ?
       page 1, line 22. . . . . . . . . . . . . . .
                                                                                                                                                                                                    ?
  18 Other reductions . . . . . . . . . . . . . . . ?                                     -84,342.
                                                                                                                                                             ?                                      ?
  19 Combine lines 14 through 18. . . . ?                                                 377,063. ?
  20 Distributions . . . . . . . . . . . . . . . . . . . ?                                 87,788. ?                                                         ?                                      ?

  21 Balance at end of tax year.          ?                                                                      ?                                           ?                                      ?
       Subtract line 20 from line 19. . .                                                 289,275.




             440002231032

                                                                                                           NYSA0312          08/15/23
               24-10449-mew                                 Doc 14-1                      Filed 03/27/24 Entered 03/27/24 11:34:24                                                                       Most recent
                                                                                             tax return Pg 80 of 107
                                                                                                                                                                                                        CT-3-S (2023) Page 3 of 6
 MOXY RESTAURANT ASSOCIATES INC.                                                                                                                          XX-XXXXXXX

Part 2 ' Computation of tax (see instructions)
Have you been convicted of an offense, or are you an owner of an entity convicted of an offense, defined in
  New York State Penal Law Article 200 or 496, or section 195.20? (see Form CT-1, mark an X in one box) . . . . . . . . . . . . .                                                                             Yes   Z     No    X
You must enter an amount on line 22; if none, enter 0.
  22 New York receipts (from Part 3, line 55, column A (New York State)) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . ? 22                                                                     4,282,509
  23 Fixed dollar minimum tax (see instructions) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . ? 23                                                 1,000
  24 Recapture of tax credits (see instructions). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . ? 24
  25 Total tax after recapture of tax credits (add lines 23 and 24). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . ? 25                                                                 1,000
  26 Special additional mortgage recording tax credit (current year or deferred; see instructions). . . . . . . . . . ? 26
  27 Tax due after tax credits (subtract line 26 from line 25) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                            Z27                   1,000
First installment of estimated tax for the next tax period:
   28 Enter amount from line 27 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .        28                                 1,000
   29 If you filed a request for extension, enter amount from Form CT-5.4, line 2. . . . . . . . . . . . . . . . . . . . . . . . . . ? 29
   30 If you did not file Form CT-5.4 and line 28 is over $1,000, enter 25% (0.25) of line 28.
          Otherwise enter 0. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 30           Z                         0
  31 Add line 28 and line 29 or 30. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                        31                   1,000
Composition of prepayments (see instructions):                                           Date paid                                           Amount
   32 Mandatory first installment. . . . . . . . . . . . . . . . . . . . . . 32
   33 Second installment from Form CT-400. . . . . . . . . . . 33
   34 Third installment from Form CT-400 . . . . . . . . . . . . . 34
   35 Fourth installment from Form CT-400. . . . . . . . . . . . 35
   36 Payment with extension request from
         Form CT-5.4. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 36
   37 Overpayment credited from prior years (see instructions) . . . . . . . . . . .                     37
   38 Total prepayments (add lines 32 through 37) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . ? 38
   39 Balance (subtract line 38 from line 31; if line 38 is larger than line 31, enter 0) . . . . . . . . . . . . . . . . . . . . . . . . 39                                                                            1,000
   40 Estimated tax penalty (see instructions; mark an X in the box if Form CT-222 is attached)                                      ?         . . . . . . . . . ? 40                                                       0
   41 Interest on late payment (see instructions). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . ? 41
   42 Late filing and late payment penalties (see instructions) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . ? 42
 43 Balance (add lines 39 through 42) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                            43                   1,000
Voluntary gifts/contributions
 44 Total voluntary gifts/contributions (from Form CT-227, Part 2, line 1). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                        44
 45 Add lines 31, 40, 41, 42, and 44. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                          45                   1,000
   46 Balance due (If line 38 is less than line 45, subtract line 38 from line 45 and enter here. This is
        the amount due; enter your payment amount on line A on page 1.) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                               Z46                   1,000
   47 Overpayment (If line 38 is more than line 45, subtract line 45 from line 38 and enter here. This is the
        amount of your overpayment; see instructions.) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                           47
   48 Amount of overpayment to be credited to next period (see instructions). . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                             Z48
   49 Refund of overpayment (subtract line 48 from line 47; see instructions) . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                           Z49
   50 Refund of unused special additional mortgage recording tax credit (see instructions) . . . . . . . . . . . . . . . . .                                                                      Z50
   51 Amount of special additional mortgage recording tax credit to be applied as an overpayment to
              next period . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .   Z51




             440003231032

                                                                                                                  NYSA0334           07/19/23
                24-10449-mew                            Doc 14-1                   Filed 03/27/24 Entered 03/27/24 11:34:24                                          Most recent
                                                                                      tax return Pg 81 of 107
Page 4 of 6 CT-3-S (2023)
                                                 MOXY RESTAURANT ASSOCIATES INC.                                                                                     XX-XXXXXXX

Part 3 ' Computation of business apportionment factor (see instructions)
Mark an X in this box only if you have no receipts required to be included in the denominator of the apportionment factor (see instr.) . . . . ?

                                                                                                                                            A ' New York State         B ' Everywhere
Section 210-A.2                                                                                                                                                  ?
   1 Sales of tangible personal property. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . ?                         1        4,282,509                4,282,509
   2 Sales of electricity. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . ?        2                        ?
   3 Net gains from sales of real property . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . ?                          3                        ?
Section 210-A.3                                                                                                                                                  ?
     4 Rentals of real and tangible personal property. . . . . . . . . . . . . . . . . . . . . . . . . ?                                4
     5 Royalties from patents, copyrights, trademarks, and similar intangible                                                                                    ?
         personal property . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . ?          5
     6 Sales of rights for certain closed-circuit and cable TV transmissions                                                                                     ?
         of an event . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . ?    6
Section 210-A.4                                                                                                                                                  ?
   7 Sale, licensing, or granting access to digital products. . . . . . . . . . . . . . . . . . ?                                       7
Section 210-A.5(a)(1) ' Fixed percentage method for qualified financial instruments (QFIs)
     8 To make this irrevocable election, mark an X in the box (see instructions) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . ?   8

Section 210-A.5(a)(2) ' Mark an X in each box that is applicable (see line 8 instructions)
  Section 210-A.5(a)(2)(A)                                                                                                                                       ?
   9 Interest from loans secured by real property . . . . . . . . . . . . . . . . . . . . . . . . . . ?                                 9
  10 Net gains from sales of loans secured by real property. . . . . . . . . . . . . . . . . ?                                         10                        ?
  11 Interest from loans not secured by real property           (QFI ?             ). . . . . . . . . . ?                              11                        ?
  12 Net gains from sales of loans not secured by real property (QFI ?                                )?                               12                        ?
  Section 210-A.5(a)(2)(B)   (QFI ?           )                                                                                                                  ?
  13 Interest from federal debt. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . ?               13
  14
  15 Interest from NYS and its political subdivisions debt . . . . . . . . . . . . . . . . . . . ?                                     15                        ?
  16 Net gains from federal, NYS, and NYS political subdivisions debt. . . . . . . ?                                                   16                        ?
  17 Interest from other states and their political subdivisions debt . . . . . . . . . . ?                                            17                        ?
  18 Net gains from other states and their political subdivisions debt . . . . . . . . ?                                               18                        ?
  Section 210-A.5(a)(2)(C)   (QFI ?    )                                                                                                                         ?
   19 Interest from asset-backed securities and other government agency debt. ?                                                        19
   20 Net gains from government agency debt or asset-backed securities                                                                                           ?
        sold through an exchange . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . ?                 20
  21 Net gains from all other asset-backed securities. . . . . . . . . . . . . . . . . . . . . . . ?                                   21                        ?
  Section 210-A.5(a)(2)(D)  (QFI ?         )                                                                                                                     ?
   22 Interest from corporate bonds. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . ?                   22
   23 Net gains from corporate bonds sold through broker/dealer or                                                                                               ?
         licensed exchange . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . ?         23
   24 Net gains from other corporate bonds. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . ?                          24                        ?
  Section 210-A.5(a)(2)(E)                                                                                                                                       ?
  25 Net interest from reverse repurchase and securities borrowing agreements. . . . ?                                                 25
  Section 210-A.5(a)(2)(F)                                                                                                                                       ?
  26 Net interest from federal funds. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . ?                    26
  Section 210-A.5(a)(2)(I) (QFI ?      )                                                                                                                         ?
  27 Net income from sales of physical commodities . . . . . . . . . . . . . . . . . . . . . . . ?                                     27
  Section 210-A.5(a)(2)(J)  (QFI ?       )                                                                                                                       ?
  28 Marked to market net gains. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . ?                   28
  Section 210-A.5(a)(2)(H)  (QFI ?         )                                                                                                                     ?
           210-A.5(a)(2)(G) (QFI ?         )
   29 Interest from other financial instruments . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . ?                          29
   30 Net gains and other income from other financial instruments . . . . . . . . . . . ?                                              30                        ?

             440004231032

                                                                                                          NYSA0334 07/19/23
             24-10449-mew                       Doc 14-1                Filed 03/27/24 Entered 03/27/24 11:34:24                                          Most recent
                                                                           tax return Pg 82 of 107
                                                                                                                                                   CT-3-S (2023) Page 5 of 6
MOXY RESTAURANT ASSOCIATES INC.                                                                                             XX-XXXXXXX

Part 3 ' Computation of business apportionment factor (continued)
                                                                                                                              A ' New York State            B ' Everywhere
Section 210-A.5(b)                                                                                                                                    ?
  31 Brokerage commissions . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . ? 31
  32 Margin interest earned on behalf of brokerage accounts. . . . . . . . . . . . . . . . ? 32                                                       ?
  33 Fees for advisory services for underwriting or management of underwriting. . . . ? 33                                                            ?
  34 Receipts from primary spread of selling concessions. . . . . . . . . . . . . . . . . . .                                                         ?
                                                                                                                ? 34
  35 Receipts from account maintenance fees . . . . . . . . . . . . . . . . . . . . . . . . . . . . .           ? 35                                  ?
  36 Fees for management or advisory services. . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                  ?
                                                                                                                ? 36
  37 Interest from an affiliated corporation. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                         ?
                                                                                                                ? 37
Section 210-A.5(c)                                                                                                                                    ?
  38 Interest, fees, and penalties from credit cards. . . . . . . . . . . . . . . . . . . . . . . . .           ? 38
  39 Service charges and fees from credit cards . . . . . . . . . . . . . . . . . . . . . . . . . . .           ? 39                                  ?
  40 Receipts from merchant discounts. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                          ?
                                                                                                                ? 40
  41 Receipts from credit card authorizations and settlement processing. . . . .                                ? 41                                  ?
  42 Other credit card processing receipts . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                          ?
                                                                                                                ? 42
Section 210-A.5(d)                                                                                                                                    ?
  43 Receipts from certain services to investment companies . . . . . . . . . . . . . . . ? 43
Section 210-A.5-a                                                                                                                                     ?
 44 Global intangible low-taxed income. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . ? 44                               0 00
Section 210-A.6                                                                                                                                       ?
 45 Receipts from railroad and trucking business. . . . . . . . . . . . . . . . . . . . . . . . . . ? 45
Section 210-A.6-a                                                                                                                                     ?
 46 Receipts from the operation of vessels. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . ? 46
Section 210-A.7                                                                                                                                       ?
 47 Receipts from air freight forwarding. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . ? 47
 48 Receipts from other aviation services. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . ? 48                                       ?
Section 210-A.8                                                                                                                                       ?
  49 Advertising in newspapers or periodicals. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . ? 49
  50 Advertising on television or radio. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . ? 50                                 ?

  51 Advertising via other means. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . ? 51                              ?
Section 210-A.9                                                                                                                                       ?
 52 Transportation or transmission of gas through pipes . . . . . . . . . . . . . . . . . . . ? 52
Section 210-A.10                                                                                                                                      ?
 53 Receipts from other services/activities not specified . . . . . . . . . . . . . . . . . . . ? 53
Section 210-A.11                                                                                                                                      ?
 54 Discretionary adjustments. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . ? 54
Total receipts                                                                                                                                        ?
 55 Add lines 1 through 54 in columns A and B . . . . . . . . . . . . . . . . . . . . . . . . . . . ? 55                            4,282,509                   4,282,509
Calculation of business apportionment factor
  56 New York State business apportionment factor (divide line 55, column A by line 55, column B and enter
      the resulting decimal here; round to the sixth decimal place after the decimal point; see instructions) . . . . . . . . . ? 56                          1.000000




           440005231032

                                                                                          NYSA0356      07/19/23
            24-10449-mew                       Doc 14-1               Filed 03/27/24 Entered 03/27/24 11:34:24                                              Most recent
                                                                         tax return Pg 83 of 107
Page 6 of 6 CT-3-S (2023) MOXY RESTAURANT ASSOCIATES INC.                                                                                                   XX-XXXXXXX

Amended return information
If filing an amended return, mark an X in the box for any items that apply and attach documentation.

Final federal determination         ?           If marked, enter date of determination:          ?

                                                   Designee's name (print)                                                                               Designee's phone number
 Third ' party        Yes     X       No           ELTON LALAJ CPA                                                                                       ( 212 ) 404-6150
   designee           Designee's email address
 (see instructions)                                                                                                                                                PIN
Certification: I certify that this return and any attachments are to the best of my knowledge and belief true, correct, and complete.
                  Printed name of authorized person                            Signature of authorized person                           Official title
Authorized        THOMAS MCCARTHY                                                                                                       DIRECTOR
 person           Email address of authorized person                                                                    Telephone number                          Date
                 TOM@SMITHFIELDNYC.COM                                                                                  ( 212 ) 929-9677
                                                                                                                Z82-3739090
                  Firm's name (or yours if self-employed)                                                       Firm's EIN                                Preparer's PTIN or SSN
    Paid
  preparer
                  LALAJ CPA PC                                                                                                                            P00437378
                  Signature of individual preparing this return              Address                                                 City                     State         ZIP code
     use         ELTON LALAJ CPA                                             2817 31ST ST                                    ASTORIA                           NY 11102
    only          Email address of individual preparing this return                                             Preparer's NYTPRIN          or       Excl. code   Date
  (see instr.)   ELALAJ@LALAJCPAGROUP.COM                                                                       Z                                Z 03
See instructions for where to file.




          440006231032

                                                                                    NYSA0356     07/19/23
                24-10449-mew                              Doc 14-1                   Filed 03/27/24 Entered 03/27/24 11:34:24                                                                     Most recent
                                                                                        tax return Pg 84 of 107
                                              Department of Taxation and Finance


                                             New York S Corporation
                                                                                                                                                                                                  CT-34-SH
                                             Shareholders' Information Schedule
 Legal name of corporation                                                                                                                                       Employer identification number (EIN)

 MOXY RESTAURANT ASSOCIATES INC.                                                                                                                                  XX-XXXXXXX
Attach to Form CT-3-S
Schedule A ' Shareholders' New York State modifications and credits (Enter the total amount reported by the
             New York S corporation on each line. Each shareholder must include their pro rata share of these
             amounts on their personal income tax return.)
Part 1 ' Total shareholder modifications related to S corporation items (see instructions)
                                         1 New York State franchise tax imposed under Article 9-A. . . . . . . . . . . . . . . . . . . . . . . .                                            1              1,209
          Additions                    1 a New York taxes imposed under Articles 24-A and 24-B and income taxes
                                             imposed by other taxing jurisdictions. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                         1a
                                         2 Federal depreciation deduction from Form CT-399, if applicable. . . . . . . . . . . . . . . . .                                                  2
                                         3 Other additions (attach Form CT-225) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                           3
                                         4 Allowable New York depreciation from Form CT-399, if applicable. . . . . . . . . . . . . . .                                                     4
       Subtractions
                                         5 Other subtractions (attach Form CT-225) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                              5
       Other items                       6 Additions to itemized deductions. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                      6
     (attach explanation)                7 Subtractions from itemized deductions . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                            7
Part 2 ' Total S corporation New York State credits and taxes on early dispositions (see instructions;
                  attach applicable forms)
START-UP NY tax credits (see instructions)
    8 START-UP NY business certificate number. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . ? 8
    9 Year of the START-UP NY business tax benefit period (enter the year number from 1 to 10) . . . . . . . . . . ?                                 9
  10 START-UP NY telecommunication services excise tax credit (Form CT-640). . . . . . . . . . . . . . . . . . . . . . . . . . ? 10
  11 Recapture of START-UP NY tax benefits (Form CT-645). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . ? 11
  12 START-UP NY tax elimination credit tax-free NY area allocation factor (Form CT-638) . . . . . . . . . . . . . . . . ? 12
  13 START-UP NY tax elimination credit business allocation factor (Form CT-638). . . . . . . . . . . . . . . . . . . . . . . . ? 13
     START-UP NY tax elimination credit factors from partnership (for multiple partnerships attach separate statement; see instructions)
  14 START-UP NY partnership EIN. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . ? 14
  15 START-UP NY business certificate number (obtain number from your partnership). . . . ? 15
  16 Year of the START-UP NY business tax benefit period (enter the year number from 1 to 10;
      obtain number from your partnership). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . ? 16
  17 START-UP NY tax elimination credit tax-free NY area allocation factor (obtain factor from your
       partnership). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . ? 17
  18 START-UP NY tax elimination credit business allocation factor (obtain factor from your partnership) . . . ? 18
Investment tax credits (see instructions)
  19 Investment tax credit and employment incentive credit (Form CT-46) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . ? 19
  20 Investment tax credit on research and development property (Form CT-46) . . . . . . . . . . . . . . . . . . . . . . . . . . ? 20
  21 Investment tax credit for eligible farmers on qualified property (Form CT-46) . . . . . . . . . . . . . . . . . . . . . . . . . ? 21
  22 Tax on early dispositions ' investment tax credit, retail enterprise tax credit,
            historic barn credit, investment tax credit on research and development property, or investment
            tax credit for financial services industry (Form CT-44 or CT-46). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . ? 22
Empire zone (EZ) tax credits (see instructions)
 23 EZ investment tax credit (Form CT-603) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . ? 23
  24
  25 Recaptured tax credit ' EZ investment tax credit or EZ investment tax credit for financial services
       industry (Form CT-603 or CT-605). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . ? 25




              433001231032

                                                                                                         NYSA0112L         10/25/23
               24-10449-mew                             Doc 14-1                   Filed 03/27/24 Entered 03/27/24 11:34:24                                                              Most recent
                                                                                      tax return Pg 85 of 107
Page 2 of 5 CT-34-SH (2023)
                                                                            MOXY RESTAURANT ASSOCIATES INC.                                                                               XX-XXXXXXX

Part 2 ' Total S corporation New York State credits and taxes on early dispositions (continued)
Qualified empire zone enterprise (QEZE) tax credits (see instructions)
 26 QEZE real property tax credit allowed (Form CT-606). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . ? 26
 27 Net recapture of QEZE real property tax credit (Form CT-606). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . ? 27
 28 QEZE tax reduction credit employment increase factor (Form CT-604). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . ? 28
 29 QEZE tax reduction credit zone allocation factor (Form CT-604). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . ? 29
 30 QEZE tax reduction credit benefit period factor (Form CT-604) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . ? 30
     QEZE tax reduction credit factors from partnership (for multiple partnerships attach separate statement; see instructions)
 31 QEZE partnership EIN. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .   ? 31
 32 QEZE employment increase factor (obtain factor from your partnership) . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                               ? 32
 33 QEZE zone allocation factor (obtain factor from your partnership) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                       ? 33
 34 QEZE benefit period factor (obtain factor from your partnership) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                      ? 34
Farmers' school tax credit (see instructions)
 35 Total acres of qualified agricultural property. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                 ? 35
 36 Total amount of eligible school district property taxes paid. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                               ? 36
 37 Total acres of qualified agricultural property converted to nonqualified use . . . . . . . . . . . . . . . . . . . . . . . . . .                                            ? 37
 38 Total acres of qualified conservation property . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                    ? 38
Other credits (attach applicable forms)
  39 Recapture of alternative fuels credit (Form CT-40). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . ? 39
  40 Credit for employment of persons with disabilities (Form CT-41). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . ? 40
  41 Rehabilitation of historic properties credit (Form CT-238; also see Form CT-34-SH-I regarding
     project number reporting). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . ? 41
  42 Recapture of rehabilitation of historic properties credit (Form CT-238) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . ? 42
  43 Clean heating fuel credit (Form CT-241) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . ? 43
  44
  45 Empire State commercial production credit (Form CT-246). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                   ?   45
  46 Empire State film production credit for the current year (Form CT-248) . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                           ?   46
  47 Empire State film production credit for the second year (Form CT-248) . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                            ?   47
  48 Empire State film production credit for the third year (Form CT-248). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                        ?   48
  49 Long-term care insurance credit (Form CT-249). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                         ? 49
  50 Credit for purchase of an automated external defibrillator (Form CT-250) . . . . . . . . . . . . . . . . . . . . . . . . . . .                                             ? 50
  51 Empire State film post-production credit for the current year (Form CT-261) . . . . . . . . . . . . . . . . . . . . . . . .                                                ? 51
  52 Empire State film post-production credit for the second year (Form CT-261) . . . . . . . . . . . . . . . . . . . . . . . .                                                 ? 52
  53 Empire State film post-production credit for the third year (Form CT-261). . . . . . . . . . . . . . . . . . . . . . . . . . .                                             ? 53
 54 Excelsior jobs tax credit component (Form CT-607) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                             ?   54
 55 Excelsior investment tax credit component (Form CT-607). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                    ?   55
 56 Excelsior research and development tax credit component (Form CT-607) . . . . . . . . . . . . . . . . . . . . . . . . . .                                                   ?   56
 57 Excelsior real property tax credit component (Form CT-607) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                    ?  57
57a Excelsior child care services tax credit component (Form CT-607). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                         ? 57a
  58     Recapture of excelsior jobs program tax credit (Form CT-607) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . ? 58
  59     Brownfield redevelopment tax credit site preparation credit component (Form CT-611). . . . . . . . . . . . . . . ? 59
  60     Brownfield redevelopment tax credit tangible property credit component (Form CT-611) . . . . . . . . . . . . . ? 60
  61     Brownfield redevelopment tax credit on-site groundwater remediation credit component (Form CT-611) . . . . . . ? 61
  62     Recapture of brownfield redevelopment tax credit (Form CT-611). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . ? 62
  63     Brownfield redevelopment tax credit site preparation credit component (Form CT-611.1). . . . . . . . . . . . . ? 63
  64     Brownfield redevelopment tax credit tangible property credit component (Form CT-611.1) . . . . . . . . . . . . . . . ? 64
  65     Brownfield redevelopment tax credit on-site ground water remediation credit component (Form CT-611.1). ? 65
  66 Recapture of brownfield redevelopment tax credit (Form CT-611.1). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . ?                                            66
  67 Brownfield redevelopment tax credit site preparation credit component (Form CT-611.2). . . . . . . . . . . . . ?                                                               67
  68 Brownfield redevelopment tax credit tangible property credit component (Form CT-611.2). . . . . . . . . . . . ?                                                                68
  69 Brownfield redevelopment tax credit on-site ground water remediation credit component (Form CT-611.2) ?                                                                        69
  70 Recapture of brownfield redevelopment tax credit (Form CT-611.2). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . ?                                            70
  71 Remediated brownfield credit for real property taxes (Form CT-612). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . ?                                            71
  72 Recapture of remediated brownfield credit for real property taxes (Form CT-612). . . . . . . . . . . . . . . . . . . .                                                     ? 72

             433002231032

                                                                                                      NYSA0112L        10/24/23
               24-10449-mew                              Doc 14-1                    Filed 03/27/24 Entered 03/27/24 11:34:24                                                                 Most recent
                                                                                        tax return Pg 86 of 107
                                                                                                                                                                                          CT-34-SH (2023) Page 3 of 5
MOXY RESTAURANT ASSOCIATES INC.                                                                                       XX-XXXXXXX


Part 2 ' Total S corporation New York State credits and taxes on early dispositions (continued)
 73 Environmental remediation insurance credit (Form CT-613) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                          ? 73
 74 Recapture of environmental remediation insurance credit (Form CT-613). . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                      ? 74
 75 Security officer training tax credit (attach Form CT-631). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                  ? 75
 76 Economic transformation and facility redevelopment program jobs tax credit component
     (Form CT-633) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .    ? 76
 77 Economic transformation and facility redevelopment program investment tax credit component
     (Form CT-633) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .    ? 77
 78 Economic transformation and facility redevelopment program job training tax credit component
      (Form CT-633) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .   ? 78
 79 Economic transformation and facility redevelopment program real property tax credit component
      (Form CT-633) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .   ? 79
 80 Recapture of economic transformation and facilities redevelopment program tax credit (Form CT-633)                                                                                ? 80
 81 Taxicabs and livery service vehicles accessible to persons with disabilities credit (Form CT-236). . . . . .                                                                      ? 81
 82 QETC employment credit (Form DTF-621) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                             ? 82
 83 QETC capital tax credit (Form DTF-622) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                        ? 83
 84 Recapture of QETC capital tax credit (Form DTF-622). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                    ? 84
 85 Low-income housing credit (Form DTF-624). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                             ? 85
 86 Recapture of low-income housing credit (Form DTF-626). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                        ? 86
 87 Empire state jobs retention credit (Form CT-634). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                               ? 87
 88 Recapture of empire state jobs retention credit (Form CT-634) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                           ? 88
 89 New York youth jobs program credit (Form CT-635) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                    ? 89
 90 Alcoholic beverage production credit for beer (Form CT-636). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                          ? 90
 91 Alcoholic beverage production credit for cider (Form CT-636). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                         ? 91
 92 Alcoholic beverage production credit for wine (Form CT-636). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                          ? 92
 93 Alcoholic beverage production credit for liquor containing more than 2%, but not more than
    24% alcohol by volume (ABV) (Form CT-636) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                               ? 93
93a Alcoholic beverage production credit for liquor containing more than 24% ABV (Form CT-636). . . . . . . .                                                                         ? 93a
 94 Alternative fuels and electric vehicle recharging property credit (Form CT-637) . . . . . . . . . . . . . . . . . . . . . .                                                       ? 94
 95 Recapture of alternative fuels and electric vehicle recharging property credit (Form CT-637). . . . . . . . . .                                                                   ? 95
 96
 97 Real property tax credit for manufacturers (Form CT-641). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                       ? 97
 98 Recapture of real property tax credit for manufacturers (Form CT-641). . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                  ? 98
 99 Empire state musical and theatrical production credit (Form CT-642) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                 ? 99
100 Hire a veteran credit (Form CT-643) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                   ? 100
101 Workers with disabilities tax credit (Form CT-644) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                              ? 101
102 Employee training incentive program tax credit (Form CT-646) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                            ? 102
103 Farm workforce retention credit (Form CT-647). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                              ? 103
104 Life sciences research and development tax credit (Form CT-648). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                ? 104
105 Farm donations to food pantries credit (Form CT-649; also see Form CT-34-SH-I regarding additional
      informational reporting). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .         ? 105
106 Empire State apprenticeship tax credit (Form CT-650) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                    ? 106
107 Recovery tax credit (Form CT-651) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                   ? 107
108 Employer-provided childcare credit (Form CT-652). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                 ? 108
109 New York City musical and theatrical production tax credit (Form CT-654). . . . . . . . . . . . . . . . . . . . . . . . . . .                                                     ? 109
110 Recapture of restaurant return-to-work credit (Form CT-655) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                         ? 110
111 Grade number 6 heating oil conversion credit (Form CT-656). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                           ? 111
112 COVID-19 capital costs credit(Form CT-657) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                            ? 112
113 Recapture of COVID-19 capital costs credit(Form CT-657). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                        ? 113
114 Recapture of additional restaurant return-to-work tax credit(Form CT-658). . . . . . . . . . . . . . . . . . . . . . . . . . .                                                    ? 114
115 Empire State digital gaming media production credit(Form CT-660). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                 ? 115




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                                                                                                        NYSA0112L         10/24/23
             24-10449-mew                        Doc 14-1                Filed 03/27/24 Entered 03/27/24 11:34:24                                                  Most recent
                                                                            tax return Pg 87 of 107
Page 4 of 5 CT-34-SH (2023)
                                                                   MOXY RESTAURANT ASSOCIATES INC.                                                                  XX-XXXXXXX

Part 2 ' Total S corporation New York State credits and taxes on early dispositions (continued)
116 Farm employer overtime credit (Form CT-661). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .   ? 116
117 Child care creation and expansion credit (Form CT-662) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .           ? 117
118 Recapture of child care creation and expansion credit (Form CT-662) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                      ? 118
119 Other tax credits and recaptures (see instructions)                                                                                                    ? 119




                                                                                                                        (complete Schedule B on the last page)




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                                                                                          NYSA0103L      10/25/23
          24-10449-mew               Doc 14-1         Filed 03/27/24 Entered 03/27/24 11:34:24                         Most recent
                                                         tax return Pg 88 of 107
                                                                                                           CT-34-SH (2023)                    Page 5 of 5
                                                  MOXY RESTAURANT ASSOCIATES INC.                                         XX-XXXXXXX
Schedule B ' Shareholders' identifying information (see instructions)
Photocopy Schedule B as needed. Attach all additional schedules to this form. Also mark an X in the box.

                           A                                                           B                C                   D                       E
                 For each shareholder,                                       Identifying number     Percentage          Shareholder           Shareholder
 enter last name, first name, middle initial on first line;                     (SSN or EIN)       of ownership       residency status        entity status
                                                                                                                        (make only            (make only
    enter home address on second and third lines.                                                                        one entry)            one entry)
  (attach federal Schedule K-1 for each shareholder)
                                                                                                                  1 for New York State    I for individual
                                                                                                                  2 for New York City     F for estate or trust
                                                                                                                  3 for Yonkers           E for exempt
                                                                                                                  4 for NYS nonresident     organization

 1      DAVID MASSEY                                          ?                                   ?               ?                       ?
        129 BUCKINGHAM ROAD
        YONKERS, NY 10701                                         1                                   21.2500                3                          I
 2      WILLIAM THOMPSON                                      ?                                   ?               ?                       ?
        4106 50TH ST AP 6F
        WOODSIDE, NY 11377                                        2                                    5.0000                2                          I
 3      KEITH DUVAL                                           ?                                   ?               ?                       ?
        11 IDAHO AVE
        STATEN ISLAND, NY 10309                                   3                                    2.0000                2                          I
 4      DAVID N MASSEY                                        ?                                   ?               ?                       ?
        517 WEST FREDERICK ST
        LANCASTER, PA 17603                                       4                                    2.0000                4                          I
 5      ERIK M. MANNING                                       ?                                   ?               ?                       ?
        293 FAHLGREN PLACE APT 3C
        BROOKLYN, NY 11228                                        5                                    5.0000                2                          I
 6      JOHN SCHNEIDER                                        ?                                   ?               ?                       ?
        54 HAYMAKER LANE
        LEVITTOWN, NY 11756                                       6                                    1.0000                1                          I
 7      GAVIN WHISTON                                         ?                                   ?               ?                       ?
        240 WOODLAND DRIVE
        WADING RIVER, NY 11792                                    7                                   21.2500                1                          I
 8      THOMAS MCCARTHY                                       ?                                   ?               ?                       ?
        24 HAYMAKER LANE
        LEVITTOWN, NY 11756                                       8                                   21.2500                1                          I
 9      KIERON SLATTERY                                       ?                                   ?               ?                       ?
        1363 82ND STREET
        BROOKLYN, NY 11228                                        9                                   21.2500                2                          I
10                                                            ?                                   ?               ?                       ?

                                                                  10
11                                                            ?                                   ?               ?                       ?

                                                                  11




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                                                                       NYSA0103L   11/07/23
            24-10449-mew                      Doc 14-1         Filed 03/27/24 Entered 03/27/24 11:34:24                                           Most recent
                                                                  tax return Pg 89 of 107
                                   CT-200-V
                                                                           Department of Taxation and Finance

                                                                           Payment Voucher for E-Filed
                                                                           Corporation Tax Returns and
                                                                           Extensions
Employer identification number                    Primary return type     Tax period beginning (mm-dd-yyyy)   Tax period ending (mm-dd-yyyy)
                                                                                                                                                     Amount(s) due
XX-XXXXXXX                                        CT3S                    01-01-2023                          12-31-2023                       NYS amount
Legal name of corporation                                                                                                                                      1,000.00
MOXY RESTAURANT ASSOCIATES INC.                                                                                                                MTA amount
Mailing name (if different from legal name)
                                                                                                                                                                        .00
c/o
Number and street or PO Box

138 WEST 25TH ST
City                                                              State       ZIP code              Business telephone number

NEW YORK                                                          NY           10001                212-929-9677




Make your check or money order payable in U.S. funds to: New York State Corporation Tax. Do not staple
or clip your check or money order. Detach all check stubs.                                                                                                  1,000 .00
                                                                            Enter payment enclosed . . . . .

                                                   File this entire page with your payment




                                                                                            Where to mail
                                                                                            Mail your payment along with this entire page to:
                                                                                                 NYS DEPT OF TAXATION & FINANCE
                                                                                                 CORP - V
                                                                                                 PO BOX 15163
                                                                                                 ALBANY NY 12212-5163




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                                                                                                         NYCZ0301L      10/26/23
           24-10449-mew                 Doc 14-1            Filed 03/27/24 Entered 03/27/24 11:34:24                             Most recent
                                                               tax return Pg 90 of 107
                                                                                                                                            CT-60
                                   Department of Taxation and Finance


                                   Affiliated Entity Information Schedule
                                                                                                                    For period ended
                                                                                                                    12-31-23
Legal name of corporation                                                                       Employer identification number (EIN)
MOXY RESTAURANT ASSOCIATES INC.                                                                 XX-XXXXXXX
Attach to Form CT-3, CT-3-A, or CT-3-S.

Schedule A ' Federal S corporation information (see instructions)
Part 1 ' Qualified subchapter S subsidiary (QSSS) inclusion ' Do not enter the QSSS parent (see instructions)
                                    Name and address of QSSS                                    Effective date of      Federal EIN or       Federal EIN or TF
                                                                                                 federal QSSS       temporary filing (TF)   number of QSSS
                                                                                                    election          number of QSSS             parent
                                                                                                  (mm-dd-yy)




Part 2 ' QSSS elective inclusion ' Do not enter the QSSS parent (see instructions)
                                     Name and address of QSSS                                   Effective date of    Federal EIN or TF      Federal EIN or TF
                                                                                                 federal QSSS         number of QSSS        number of QSSS
                                                                                                    election                                     parent
                                                                                                  (mm-dd-yy)




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             24-10449-mew                               Doc 14-1                     Filed 03/27/24 Entered 03/27/24 11:34:24                                                                          Most recent
                                                                                        tax return Pg 91 of 107
Page 2 of 3           CT-60 (2023)
                                                       MOXY RESTAURANT ASSOCIATES INC.                                                                                                                     XX-XXXXXXX
Part 3 ' 1120S shareholder information (see instructions)


 1 Amount of distributions as shown on federal Form 1120S, Schedule K, line 16d and/or 17c . . . . . . . . . . .                                                                        ? 1                                  87,788

                                                                               Name and address of shareholder                                                                                              Shareholder EIN or SSN(s)
DAVID MASSEY 129 BUCKINGHAM ROAD YONKERS, NY 10701
WILLIAM THOMPSON 4106 50TH ST AP 6F WOODSIDE, NY 11377
KEITH DUVAL 11 IDAHO AVE STATEN ISLAND, NY 10309
DAVID N MASSEY 517 WEST FREDERICK ST LANCASTER, PA 17603
ERIK M. MANNING 293 FAHLGREN PLACE APT 3C BROOKLYN, NY 11228
JOHN SCHNEIDER 54 HAYMAKER LANE LEVITTOWN, NY 11756
GAVIN WHISTON 240 WOODLAND DRIVE WADING RIVER, NY 11792
THOMAS MCCARTHY 24 HAYMAKER LANE LEVITTOWN, NY 11756
KIERON SLATTERY 1363 82ND STREET BROOKLYN, NY 11228




Schedule B ' Other related entities (see instructions)
Part 1
 2 If the activities of any of the following impact your federal return, mark an X for all that apply; attach federal Form 851 if applicable:
     QSSS ?                                Captive REIT or RIC                     ?                        Combinable captive insurance company                                        ?                         Partnership             ?

     Disregarded entity                 ?                           Tax-exempt DISC                 ?                          SMLLC ?

 3

 4 If you filed a consolidated federal return, mark an X in the box and complete lines 4a through 4d . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . ?                                                                            4

4a Number of corporations included in federal consolidated group(s) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                              ? 4a
4b Consolidated federal taxable income (FTI) before net operating loss deduction (NOLD) . . . . . . . . . . . . . . .                                                                  ? 4b
4c Consolidated FTI before NOLD of corporations in federal group(s), but not in New York combined group. . . . . . .                                                                   ? 4c
4d FTI before NOLD of corporations not in federal group(s), but in New York combined group. . . . . . . . . . . .                                                                      ? 4d

Part 2
Mark an X in any box(es) that apply to you, and enter the appropriate name(s) and EIN(s).
 5 More than 50% of the voting power of your capital stock is owned or controlled, directly or indirectly, by another
     corporation or by the same interests . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . ?                         5
         Name of controlling entity                                                                                                                                         EIN or SSN

   ?                                                                                              ?
 6 You or the same interests own or control, directly or indirectly, more than 50% of the voting power of the capital stock of
         another corporation. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . ?       6
         Name of corporation controlled                                                                                                                                     EIN

   ?                                                                                                  ?
 7 There has been a transfer or acquisition of controlling interest in the entity during the last 3 years . . . . . . . . . . . . . . . . . . . . . . . . . . . . . ?                                                                         7
         Name of transferred or acquired corporation                                                                                                                        EIN

   ?                                                                                                                                      ?
 8 You are a member of an affiliated federal group . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . ?                                  8
         Name of primary corporation                                                                                                                                        EIN

     ?                                                                                                                                                                 ?

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                                                                                                          NYSA9901L         06/14/23
                24-10449-mew                 Doc 14-1              Filed 03/27/24 Entered 03/27/24 11:34:24                                              Most recent
                                                                      tax return Pg 92 of 107
                                                                                                                                                       CT-60 (2023)         Page 3 of 3
                            MOXY RESTAURANT ASSOCIATES INC.                                                                                                 XX-XXXXXXX
Part 3 ' Entities taxable as partnerships (see instructions)

 9 If you are a partner in a partnership, mark an X in the box and enter the required information below . . . . . . . . . . . . . . . . . . . . . . . . . . . ?                       9

                         Name and address of partnership                               Entity     Separate accounting election                     EIN                 EIN or SSN of all
                                                                                      method                                                  of partnership            tiered partners
                                                                                     Mark an X Mark an X           Date                                                  of partnership
                                                                                     in the box in the box




Part 4 ' SMLLCs and tax-exempt DISCs (see instructions)
10 If items of income, gain, loss, deduction, credits, etc. from an SMLLC or a tax-exempt DISC are included in your
       New York return, mark an X in the box and enter the required information below . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . ? 10

                             Name and address of SMLLC or tax-exempt DISC                                        If the SMLLC or             EIN of SMLLC or              EIN or SSN of
                                                                                                                tax-exempt DISC              tax-exempt DISC           all tiered members
                                                                                                                generated credits,                                         of SMLLC or
                                                                                                               mark an X in the box                                     tax-exempt DISC




Certification: I certify that this document and any attachments are to the best of my knowledge and belief true, correct, and complete.
                  Printed name of authorized person                        Signature of authorized person                             Official title
Authorized THOMAS MCCARTHY                                                                                                          DIRECTOR
 person    Email address of authorized person                                                                         Telephone number                          Date
                 TOM@SMITHFIELDNYC.COM                                                                                (212) 929-9677
                 Firm's name (or yours if self-employed)                                                      Firm's EIN                               Preparer's PTIN or SSN
   Paid
                 LALAJ CPA PC                                                                                 XX-XXXXXXX                               P00437378
 preparer        Signature of individual preparing this document         Address                                                 City                       State          ZIP code
   use           ELTON LALAJ CPA                                        2817 31ST ST                                       ASTORIA, NY 11102
   only          Email address of individual preparing this document                                        Preparer's NYTPRIN          or        Excl. code    Date
 (see instr.)
                 ELALAJ@LALAJCPAGROUP.COM                                                                                                              03
          478003231032

                                                                               NYSA9901L    06/14/23
24-10449-mew               Doc 14-1          Filed 03/27/24 Entered 03/27/24 11:34:24                              Most recent
                                                tax return Pg 93 of 107
                           ERO/Preparer Certification and Signature
I certify that I have a valid New York State E-File Signature Authorization for Tax Year 2023 (Form TR-579-CT), authorizing
me to sign and file this return on behalf of the corporation. I further certify that all information provided on the return is true,
correct and complete to the best of my knowledge and belief, and that I have provided a copy of this return to the
corporation. If financial institution account information has been provided on the return, I certify that the corporation has
agreed to payment of the amount indicated as due by electronic funds withdrawal, that the corporation has authorized the
New York State Tax Department and its designated financial agents to initiate an electronic funds withdrawal from the
indicated account, and that the designated financial institution is authorized to debit the entry to the corporation's account.
As New York does not support International ACH Transactions (IAT), I attest the source for these funds is from within the
United States. I understand and agree that I may revoke this authorization for payment only by contacting the Tax
Department no later than two (2) business days prior to the payment date.

By checking the box shown below, I understand and agree that I am electronically signing and filing this return.


X    I have read the certification above and agree




                                                          NYCL0201L   05/22/23
                   24-10449-mew                             Doc 14-1                   Filed 03/27/24 Entered 03/27/24 11:34:24                                                           Most recent
                                                                                                                                                                                                 TR-579-CT
                            Department of Taxation and Finance
                                                                                          tax return Pg 94 of 107
                            New York State E-File Authorization for Tax Year 2023
                                                                                                                                                                                                                 (9/23)
                            For Certain Corporation Tax Returns and Estimated Tax
                            Payments for Corporations
Electronic return originator (ERO)/paid preparer: Do not mail this form to the Tax Department. Keep it for your records.

 Legal name of corporation

MOXY RESTAURANT ASSOCIATES INC.
Return type (mark an X for all that apply):                                      CT-3                     CT-3-A                       CT-3-M                       CT-3-S        X      CT-13          CT-33
CT-33-A                    CT-33-C                        CT-33-M                        CT-33-NL                         CT-183                       CT-183-M                       CT-184          CT-184-M
CT-186-E                      CT-300                      CT-400
Purpose                                                                                                                       EROs/paid preparers must complete Part B prior to transmitting
Form TR-579-CT must be completed to authorize an ERO to e-file a                                                              electronically filed corporation tax returns. Both the paid preparer and the
                                                                                                                              ERO are required to sign Part B. However, if an individual performs as
corporation tax return and to transmit bank account information for the                                                       both the paid preparer and the ERO, he or she is only required to sign
electronic funds withdrawal.                                                                                                  as the paid preparer. It is not necessary to include the ERO signature in
                                                                                                                              this case. Note that an electronic signature can be used as described in
General instructions                                                                                                          TSB-M-20(1)C, (2)I, E-File Authorizations (TR-579 forms) for Taxpayers
                                                                                                                              Using a Paid Preparer for Electronically Filed Tax Returns. Go to our
Part A must be completed by an officer of the corporation who is                                                              website at www.tax.ny.gov to find this document.
authorized to sign the corporation's return before the ERO transmits the
electronically filed Form CT-3, General Business Corporation Franchise                                                        Do not mail this form to the Tax Department. EROs/paid preparers must
Tax Return; CT-3-A, General Business Corporation Combined Franchise                                                           keep this form for three years and present it to the Tax Department upon
Tax Return; CT-3-M, General Business Corporation MTA Surcharge                                                                request.
Return; CT-3-S, New York S Corporation Franchise Tax Return; CT-13,
Unrelated Business Income Tax Return; CT-33, Life Insurance Corporation                                                       Do not use this form for electronically filed Form CT-5, Request for
Franchise Tax Return; CT-33-A, Life Insurance Corporation Combined                                                            Six-Month Extension to File (for franchise/business taxes, MTA surcharge,
Franchise Tax Return; CT-33-C, Captive Insurance Company Franchise                                                            or both); CT-5.3, Request for Six-Month Extension to File (for combined
Tax Return; CT-33-M, Insurance Corporation MTA Surcharge Return;                                                              franchise tax return, or combined MTA surcharge return, or both);
CT-33-NL, Non-Life Insurance Corporation Franchise Tax Return; CT-183,                                                        CT-5.4, Request for Six-Month Extension to File New York S Corporation
Transportation and Transmission Corporation Franchise Tax Return on                                                           Franchise Tax Return; CT-5.6, Request for Three-Month Extension to File
Capital Stock; CT-183-M, Transportation and Transmission Corporation MTA                                                      Form CT-186 (for utility corporation franchise tax return, MTA surcharge
Surcharge Return; CT-184, Transportation and Transmission Corporation                                                         return, or both); CT-5.9, Request for Three-Month Extension to File (for
Franchise Tax Return on Gross Earnings; CT-184-M, Transportation                                                              certain Article 9 tax returns, MTA surcharge, or both); or CT-5.9-E, Request
and Transmission Corporation MTA Surcharge Return; CT-186-E,                                                                  for Three-Month Extension to File Form CT-186-E (for telecommunications
Telecommunications Tax Return and Utility Services Tax Return; CT-300,                                                        tax return and utility services tax return). Instead use Form TR-579.1-CT,
Mandatory First Installment (MFI) of Estimated Tax for Corporations; or                                                       New York State Authorization for Electronic Funds Withdrawal For Tax Year
CT-400, Estimated Tax for Corporations.                                                                                       2023 Corporation Tax Extensions.

 Financial institution information (required if electronic payment is authorized)
 1 Amount of authorized debit . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .   1
 2 Financial institution routing number . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .         2
 3 Financial institution account number. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .          3


 Part A – Declaration of authorized corporate officer for Form CT-3, CT-3-A, CT-3-M, CT-3-S, CT-13, CT-33, CT-33-A,
 CT-33-C, CT-33-M, CT-33-NL, CT-183, CT-183-M, CT-184, CT-184-M, CT-186-E, CT-300, or CT-400
 Under penalty of perjury, I declare that I have examined the information on this 2023 New York State electronic corporate tax return, including any accompanying
 schedules, attachments, and statements, and certify that this electronic return is true, correct, and complete. If this filing includes Form DTF-686, Tax Shelter
 Reportable Transactions, as an authorized officer of the corporation, I hereby consent to the waiver of the secrecy provisions of Tax Law sections 202, 211.8,
 and 1518 as such provisions relate to the disclosure requirements of Tax Law section 25. The ERO has my consent to send this 2023 New York State
 electronic corporate return to New York State through the Internal Revenue Service (IRS). I understand that by executing this Form TR-579-CT, I am authorizing
 the ERO to sign and file this return on behalf of the corporation and agree that the ERO’s submission of the corporation’s return to the IRS, together with this
 authorization, will serve as the electronic signature for the return and any authorized payment transaction. If I am paying New York State corporation taxes due
 by electronic funds withdrawal, I authorize the New York State Tax Department and its designated financial agents to initiate an electronic funds withdrawal
 from the financial institution account indicated on this 2023 electronic return, and I authorize the financial institution to withdraw the amount from the account.
 As New York does not support International ACH Transactions (IAT), I attest the source for these funds is within the United States. I understand and agree that
 I may revoke this authorization for payment only by contacting the Tax Department no later than two business days prior to the payment date.

  Signature of authorized officer of the corporation                                                 Print your name and title                                                                 Date

                                                                                                     DIRECTOR

 Part B – Declaration of ERO and paid preparer
 Under penalty of perjury, I declare that the information contained in this 2023 New York State electronic corporate tax return is the information furnished to
 me by the corporation. If the corporation furnished me a completed paper 2023 New York State corporate tax return signed by a paid preparer, I declare that
 the information contained in the corporation’s 2023 New York State electronic corporate tax return is identical to that contained in the paper return. If I am
 the paid preparer, under penalty of perjury I declare that I have examined this 2023 New York State electronic corporate tax return, and, to the best of my
 knowledge and belief, the return is true, correct, and complete. I have based this declaration on all information available to me.
  ERO's signature                                                                                              Print name                                                                      Date


  Paid preparer's signature                                                                                    Print name                                                                      Date
                                                                                                               ELTON LALAJ CPA
                                                                                                          NYCA1001L 09/01/23                                                                                 1032
           24-10449-mew                          Doc 14-1                 Filed 03/27/24 Entered 03/27/24 11:34:24                                                              Most recent
                                                                             tax return Pg 95 of 107

                                          - 400                                  ESTIMATED TAX BY BUSINESS CORPORATIONS 2024
                                                                                 AND SUBCHAPTER S GENERAL CORPORATIONS

                                                For CALENDAR YEAR 2024 or FISCAL YEAR beginning                                                ,                and ending                   ,



                         Print or Type:
                          Name (If combined filer, give name of reporting corporation) See Instructions                                   Name             Taxpayer's Email Address
                                                                                                                                          Change

                          MOXY RESTAURANT ASSOCIATES INC.
                          In Care of
                                                                                                                                                                   EMPLOYER IDENTIFICATION NUMBER

                          Address (number and street)                                                                                     Address
                                                                                                                                          Change
                                                                                                                                                                            XX-XXXXXXX
                          138 WEST 25TH ST
                          City and State                                                        Zip Code                      Country (if not US)
                                                                                                                                                                    BUSINESS CODE NUMBER AS PER
                          NEW YORK                                                     NY 10001                                                                           FEDERAL RETURN

                          Business telephone number                   Person to contact
                                                                                                                                                                                 722410
                          212-929-9677

                                Business C Corporations only                          X General-Subchapter S Corporations and Qualified Subchapter S Subsidiaries only
                                NYC-2           NYC-2S             NYC-2A                 NYC-3L                            NYC-3A                             NYC-4S                      NYC-4SEZ


 COMPUTATION OF ESTIMATED TAX
                                                                                                                                                                                   Payment Amount

 A   Payment           Amount included with form - Make payable to: NYC Department of Finance . . . . . . . . . . . . . . . . . .                                          A.                    620

 1   Declaration of estimated tax for current year. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .    1.               2,476

 2   Estimated Payment Amount . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .DUE
                                                                                                                               . . . . . . BY:
                                                                                                                                           . . . . . . 06-17-24
                                                                                                                                                       .............       2.                    620




                                 MAIL FORM TO:                                             Make remittance payable to the order of:                              To receive proper credit, you must
MAILING                          NYC DEPARTMENT OF FINANCE                                 NYC DEPARTMENT OF FINANCE                                             enter your correct Employer Identi-
INSTRUCTIONS:                    P.O. BOX 3922                                             Payment must be made in U.S. dollars,                                 fication Number on your declaration
                                 NEW YORK, NY 10008-3922                                   drawn on a U.S. bank.                                                 and remittance.




                                               KEEP A COPY OF THIS FORM FOR YOUR RECORDS. SEE INSTRUCTIONS.
                                                                 ELECTRONIC FILING
        Register for electronic filing. It is an easy, secure and convenient way to file a declaration and an extension and pay taxes on-line.
                                                   For more information log on to NYC.gov/eservices




30312418                                                                                     YCCA1901       07/31/23                                                      NYC - 400 2023               18
           24-10449-mew                          Doc 14-1                 Filed 03/27/24 Entered 03/27/24 11:34:24                                                              Most recent
                                                                             tax return Pg 96 of 107

                                          - 400                                  ESTIMATED TAX BY BUSINESS CORPORATIONS 2024
                                                                                 AND SUBCHAPTER S GENERAL CORPORATIONS

                                                For CALENDAR YEAR 2024 or FISCAL YEAR beginning                                                ,                and ending                   ,



                         Print or Type:
                          Name (If combined filer, give name of reporting corporation) See Instructions                                   Name             Taxpayer's Email Address
                                                                                                                                          Change

                          MOXY RESTAURANT ASSOCIATES INC.
                          In Care of
                                                                                                                                                                   EMPLOYER IDENTIFICATION NUMBER

                          Address (number and street)                                                                                     Address
                                                                                                                                          Change
                                                                                                                                                                            XX-XXXXXXX
                          138 WEST 25TH ST
                          City and State                                                        Zip Code                      Country (if not US)
                                                                                                                                                                    BUSINESS CODE NUMBER AS PER
                          NEW YORK                                                     NY 10001                                                                           FEDERAL RETURN

                          Business telephone number                   Person to contact
                                                                                                                                                                                 722410
                          212-929-9677

                                Business C Corporations only                          X General-Subchapter S Corporations and Qualified Subchapter S Subsidiaries only
                                NYC-2           NYC-2S             NYC-2A                 NYC-3L                            NYC-3A                             NYC-4S                      NYC-4SEZ


 COMPUTATION OF ESTIMATED TAX
                                                                                                                                                                                   Payment Amount

 A   Payment           Amount included with form - Make payable to: NYC Department of Finance . . . . . . . . . . . . . . . . . .                                          A.                    619

 1   Declaration of estimated tax for current year. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .    1.               2,476

 2   Estimated Payment Amount . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .DUE
                                                                                                                               . . . . . . BY:
                                                                                                                                           . . . . . . 09-16-24
                                                                                                                                                       .............       2.                    619




                                 MAIL FORM TO:                                             Make remittance payable to the order of:                              To receive proper credit, you must
MAILING                          NYC DEPARTMENT OF FINANCE                                 NYC DEPARTMENT OF FINANCE                                             enter your correct Employer Identi-
INSTRUCTIONS:                    P.O. BOX 3922                                             Payment must be made in U.S. dollars,                                 fication Number on your declaration
                                 NEW YORK, NY 10008-3922                                   drawn on a U.S. bank.                                                 and remittance.




                                               KEEP A COPY OF THIS FORM FOR YOUR RECORDS. SEE INSTRUCTIONS.
                                                                 ELECTRONIC FILING
        Register for electronic filing. It is an easy, secure and convenient way to file a declaration and an extension and pay taxes on-line.
                                                   For more information log on to NYC.gov/eservices




30312418                                                                                     YCCA1901       07/31/23                                                      NYC - 400 2023               18
           24-10449-mew                          Doc 14-1                 Filed 03/27/24 Entered 03/27/24 11:34:24                                                              Most recent
                                                                             tax return Pg 97 of 107

                                          - 400                                  ESTIMATED TAX BY BUSINESS CORPORATIONS 2024
                                                                                 AND SUBCHAPTER S GENERAL CORPORATIONS

                                                For CALENDAR YEAR 2024 or FISCAL YEAR beginning                                                ,                and ending                   ,



                         Print or Type:
                          Name (If combined filer, give name of reporting corporation) See Instructions                                   Name             Taxpayer's Email Address
                                                                                                                                          Change

                          MOXY RESTAURANT ASSOCIATES INC.
                          In Care of
                                                                                                                                                                   EMPLOYER IDENTIFICATION NUMBER

                          Address (number and street)                                                                                     Address
                                                                                                                                          Change
                                                                                                                                                                            XX-XXXXXXX
                          138 WEST 25TH ST
                          City and State                                                        Zip Code                      Country (if not US)
                                                                                                                                                                    BUSINESS CODE NUMBER AS PER
                          NEW YORK                                                     NY 10001                                                                           FEDERAL RETURN

                          Business telephone number                   Person to contact
                                                                                                                                                                                 722410
                          212-929-9677

                                Business C Corporations only                          X General-Subchapter S Corporations and Qualified Subchapter S Subsidiaries only
                                NYC-2           NYC-2S             NYC-2A                 NYC-3L                            NYC-3A                             NYC-4S                      NYC-4SEZ


 COMPUTATION OF ESTIMATED TAX
                                                                                                                                                                                   Payment Amount

 A   Payment           Amount included with form - Make payable to: NYC Department of Finance . . . . . . . . . . . . . . . . . .                                          A.                    619

 1   Declaration of estimated tax for current year. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .    1.               2,476

 2   Estimated Payment Amount . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .DUE
                                                                                                                               . . . . . . BY:
                                                                                                                                           . . . . . . 12-16-24
                                                                                                                                                       .............       2.                    619




                                 MAIL FORM TO:                                             Make remittance payable to the order of:                              To receive proper credit, you must
MAILING                          NYC DEPARTMENT OF FINANCE                                 NYC DEPARTMENT OF FINANCE                                             enter your correct Employer Identi-
INSTRUCTIONS:                    P.O. BOX 3922                                             Payment must be made in U.S. dollars,                                 fication Number on your declaration
                                 NEW YORK, NY 10008-3922                                   drawn on a U.S. bank.                                                 and remittance.




                                               KEEP A COPY OF THIS FORM FOR YOUR RECORDS. SEE INSTRUCTIONS.
                                                                 ELECTRONIC FILING
        Register for electronic filing. It is an easy, secure and convenient way to file a declaration and an extension and pay taxes on-line.
                                                   For more information log on to NYC.gov/eservices




30312418                                                                                     YCCA1901       07/31/23                                                      NYC - 400 2023               18
           24-10449-mew              Doc 14-1          Filed 03/27/24 Entered 03/27/24 11:34:24                                   Most recent
                                                          tax return Pg 98 of 107
                                                                       NEW YORK CITY DEPARTMENT OF FINANCE
                        NYC                                    Signature Authorization for                                                           2023
                      579-GCT                            E-Filed General Corporation Tax Return
                   ELECTRONIC RETURN ORIGINATORS (ERO): DO NOT MAIL THIS FORM TO THE DEPARTMENT OF FINANCE.
                                               KEEP THIS FOR YOUR RECORDS.
LEGAL NAME OF CORPORATION:                                                                                        EMPLOYER IDENTIFICATION NUMBER

MOXY RESTAURANT ASSOCIATES INC.                                                                          XX-XXXXXXX
EMAIL ADDRESS:                                                                       TYPE OF RETURN:
                                                                                                              NYC-EXT           NYC-EXT.1       X NYC-4S
                                                                                            NYC-400 (2024)    NYC-3A            NYC-3L            NYC-4SEZ

Financial Institution Information - must be included if electronic payment is authorized
AMOUNT OF AUTHORIZED DEBIT:                   FINANCIAL INSTITUTION ROUTING NUMBER:                      FINANCIAL INSTITUTION ACCOUNT NUMBER:


Part A - Declaration and authorization of corporate officer for Forms NYC-3A, NYC-3L, NYC-4S, NYC-4SEZ, NYC-EXT, NYC-EXT.1 or NYC-400
Under penalty of perjury, I declare that I am an officer of the corporation authorized to act on behalf of the above-named corporation, and that I
have examined the information on its 2023 New York City electronically filed corporation tax return, including any accompanying schedules,
attachments, and statements or other report checked above, and to the best of my knowledge and belief, the electronically filed corporation tax
return or other report is true, correct, and complete. The ERO has my consent to send the 2023 New York City electronically filed corporation
tax return or other report checked above to New York City Department of Finance through the Internal Revenue Service. I authorize the ERO to
enter my PIN as my signature on the 2023 New York City electronically filed corporation tax return or other report, or I will enter my PIN as my
signature on the 2023 New York City electronically filed corporation tax return or other report. If I am paying the New York City corporation tax
owed by electronic funds withdrawal, I authorize the New York City Department of Finance and its designated financial agents to initiate an
electronic funds withdrawal from the financial institution account indicated on the corporation's 2023 New York City electronically filed
corporation tax return or other report, and I authorize the financial institution to debit the amount from that account.
Officer's PIN (mark an X in one box only)

  X I authorize         LALAJ CPA PC                                                                         to enter my PIN:          33234
                                                       ERO FIRM NAME

      as my signature on the corporation's 2023 electronically filed corporation tax return or other report checked above.


      As an authorized person of the corporation, I will enter my PIN as my signature on the corporation's 2023 electronically filed corporation
      tax return or other report checked above.

                                                                           DIRECTOR
 Signature of authorized person                                            Official title                                       Date

Part B - Declaration of electronic return originator (ERO) and paid preparer
Under penalty of perjury, I declare that the information contained in the above-named corporation's 2023 New York City electronically filed
corporation tax return or other report checked above is the information furnished to me by the corporation's authorized officer. If the corporate
officer furnished me with a completed 2023 New York City paper corporation tax return or other report signed by a paid preparer, I declare that
the information contained in the corporation's 2023 New York City electronically filed corporation tax return or report is identical to that
contained in the paper return or report. If I am the paid preparer, under penalty of perjury I declare that I have examined this 2023 New York
City electronically filed corporation tax return or other report, and, to the best of my knowledge and belief, the return or other report is true,
correct, and complete. I have based this declaration on all information available to me.
ERO EFIN/PIN: Enter your six-digit EFIN followed by your five digit PIN:                11854711102
                                                                           ELTON LALAJ CPA
 ERO's Signature                                                           Print Name                                                    Date

                                                                           ELTON LALAJ CPA
 Paid Preparer's Signature                                                 Print Name                                                    Date

PURPOSE - A completed Form NYC-579-GCT provides documentation that an ERO has been authorized to electronically file the General
Corporation Tax return or other report. The officer of the corporation who is authorized to sign the corporation's returns may designate the ERO
to electronically sign the return or other report by entering the officer's personal identification number (PIN). The form also authorizes payment
of tax due on an electronically submitted return or report by an automatic clearing house (ACH) debit from a designated checking or savings
account of the corporation. You cannot revoke this authorization.
GENERAL INSTRUCTIONS - Part A must be completed by an officer of the corporation who is authorized to sign the corporation's return or
report before the ERO transmits the electronically filed Form NYC-3A (Combined General Corporation Tax Return); NYC-3L (General
Corporation Tax Return); NYC-4S (General Corporation Tax Return - short form); NYC-4SEZ (General Corporation Tax Return - EZ form); NYC-
EXT (Application for 6-month Extension to File Business Income Tax Return); NYC-EXT.1 (Application for Additional Extension) or NYC-400
(Declaration of Estimated Tax by General Corporations).
EROs/paid preparers must complete Part B prior to transmitting electronically filed corporation tax returns or reports (Forms NYC-3A, NYC-3L,
NYC-4S, NYC-4SEZ, NYC-EXT, NYC-EXT.1 or NYC-400). Both the paid preparer and the ERO are required to sign Part B. However, if an
individual performs as both the paid preparer and the ERO, he or she is only required to sign as the paid preparer. It is not necessary to
include the ERO signature in this case.
Do not mail Form NYC-579-GCT to the Department of Finance. The EROs/paid preparers must keep the completed Form NYC-579-GCT for
three years from the due date of the return or report or the date the return or report was filed, whichever is later, and must present it to the
Department of Finance upon request.
                                                               YCCA0701L 07/26/23                                  NYC-579-GCT 2023              18
                24-10449-mew                            Doc 14-1                  Filed 03/27/24 Entered 03/27/24 11:34:24                                                                     Most recent
                                                                                     tax return Pg 99 of 107
                                                        - 4S                   GENERAL CORPORATION TAX RETURN                                                                                                           2023
                                                                               To be filed by S Corporations only. All C Corporations must file Form NYC-2, NYC-2S or NYC-2A
                                                                               For CALENDAR YEAR 2023 or FISCAL YEAR beginning                               2023 and ending
                                      Name                                                                                                                       Name                          Taxpayer's Email Address:
                                                                                                                                                                 Change
                                      MOXY RESTAURANT ASSOCIATES INC.
                                      In Care Of
                                                                                                                                                                                     EMPLOYER IDENTIFICATION NUMBER

                                      Address (number and street)
                                                                                                                                                                 Address                  XX-XXXXXXX
                                                                                                                                                                 Change
                                      138 WEST 25TH ST
                                      City and State                                                      Zip Code                             Country (if not US)                        BUSINESS CODE NUMBER AS
                                                                                                                                                                                            PER FEDERAL RETURN
                                      NEW YORK                                                  NY 10001
                                      Business Telephone Number                                           Date business began in NYC           Date business ended in NYC
                                                                                                                                                                                                         722410
                                      212-929-9677                                                        12-20-13
                                                   Final return - Check this box if you have ceased operations in NYC                                           Filing a 52-53-week taxable year
                                                   Special short period return (See Instr.)                                                                     A pro-forma federal return is attached
                                                                                                                                                                Enter 2-character special condition code, if applicable (see inst.)
                                                   Claim any 9/11/01-related federal tax benefits (see inst.)
                                                                                       If the purpose of the amended return is to report a                 IRS change                    Date of Final
                                                   Amended return                      federal or state change, check the appropriate box:                                               Determination
                                                                                                                                                           NYS change
SCHEDULE A                      Computation of Tax                          BEGIN WITH SCHEDULES B THROUGH E ON PAGE 2. TRANSFER APPLICABLE AMOUNTS TO SCH A.                                            Payment Amount
A       Payment         Amount being paid electronically with this return. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . A.
    1 Net income (from Schedule B, line 8) . . . . . . . . . . . . . . . . . . . . . . . . 1.                                       13,045                     x . 0885                  1.                         1,154
    2 a Total capital (from Schedule C, line 7) (see instructions). . . . . . . 2a.                                              336,751                       x . 0015                 2a.                           505
    2 b Total capital - Cooperative Housing Corps. (see instructions). . . 2b.                                                                                 x . 0004                 2b.
    2 c Cooperatives - enter: BORO                                                BLOCK                                                     LOT
    3 a Compensation of stockholders (from Schedule D, line 1). . . . . . . . . . . . . . . . . . . . . . . 3a.                                                  213,250
    3 b Alternative tax (see instructions). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . SEE
                                                                                                                                    . . . . . . .ATTACHED
                                                                                                                                                  . . . . . . . . . . . . . . . . . . . 3b.                         2,473
    4 Minimum tax (see instructions) - NYC Gross Receipts:                                             4,282,509                            . . . . . . . . . . . . . . . . . . . . . . 4.                          1,500
    5    Tax (line 1, 2a, 2b, 3b or 4, whichever is largest) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 5.                                       2,473
    6    First installment of estimated tax for period following that covered by this return:
         (a) If application for extension has been filed, enter amount from line 2 of Form NYC-EXT. . . . . . . . . . . . . . . . 6a.
    (b) If application for extension has not been filed and line 5 exceeds $1,000, enter 25% of line 5 (see instructions). . . . . . . . . . . . . . . . . 6b.                                                        618
    Total before prepayments (add lines 5 and 6a or 6b) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 7.
    7                                                                                                                                                                                                               3,091
    Prepayments (from Prepayments Schedule, line G) (see instructions) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 8.
    8                                                                                                                                                                                                                 845
 9 Balance due (line 7 less line 8) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 9.                              2,246
10 Overpayment (line 8 less line 7) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 10.
11a Interest (see instructions). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 11a.
11b Additional charges (see instructions) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 11b.
11c Penalty for underpayment of estimated tax (attach Form NYC-222). . . . . . . . . . 11c.                                                                                  81
12 Total of lines 11a, 11b and 11c . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 12.                                      81
13 Net overpayment (line 10 less line 12). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 13.
14 Amount of line 13 to be: (a) Refunded -                            Direct deposit - fill out line 14c OR                                Paper check. . . . . . . . 14a.
                                     (b) Credited to 2024 estimated tax . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 14b.
14c Routing                      Account                                                                                                ACCOUNT TYPE
    Number                       Number                                                                                     Checking                        Savings
15 TOTAL REMITTANCE DUE (see instructions) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 15.                                                2,327
16 NYC rent deducted on federal tax return (see instructions). . . . . . . . . . . . . . . . . . 16.                                                        414,106
17 Gross receipts or sales from federal return . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 17.                             4,282,509
18 Total assets from federal return. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 18.                     633,337
                                                   CERTIFICATION OF AN ELECTED OFFICER OF THE CORPORATION
          I hereby certify that this return, including any accompanying rider, is, to the best of my knowledge and belief, true, correct and complete.                                          Firm's Email Address:
          I authorize the Dept. of Finance to discuss this return with the preparer listed below. (see instructions). . . . . . . . . . . . . . . YES X                                          ELALAJ@LALAJCPAGRO
          Officer's
          signature:                                                                  Title:    DIRECTOR                                                   Date:                                   Preparer's SSN or PTIN


          Preparer's                                          Preparer's
                                                                                                                                        Check
                                                                                                                                        if self-
                                                                                                                                                                                                   P00437378
                ELTON LALAJ C
          signature:                                          printed name:      ELTON LALAJ CPA                                        employed:          Date:                                   Firm's Employer ID No.

          LALAJ CPA PC                                                                                                                                                                             XX-XXXXXXX
          2817 31ST ST
          ASTORIA, NY 11102
          J Firm's name (or yours, if self-employed)                                               J Address                                                  J Zip Code
                                      ATTACH COPY OF ALL PAGES OF YOUR FEDERAL TAX RETURN 1120S. SEE PAGE 2 FOR MAILING INSTRUCTIONS.

30412318                                                                                                                                                                                                                   18
                                                                                                     YCCA2012         07/31/23                                                                NYC-4S - 2023
             24-10449-mew                            Doc 14-1                  Filed 03/27/24 Entered 03/27/24 11:34:24                                                                   Most recent
                                                                                tax return Pg 100 of 107
Form NYC-4S - 2023                    NAME         MOXY RESTAURANT ASSOCIATES INC.                                                                                  EIN      XX-XXXXXXX                        Page 2
SCHEDULE B                    Computation of NYC Taxable Net Income
  1 Federal taxable income before net operating loss deduction and special deductions (see instructions). . . . . . . . . . . . . . . . . . . . . . . . . . . . 1.                                        45,622
  2 Interest on federal, state, municipal and other obligations not included in line 1. . . . . . . . . . . . . . . . . . . . . . . . . . . 2.
  3 a NYS Franchise Tax and other income taxes, including MTA taxes, deducted on federal return (attach rider) (see instr.). .SEE                         . . . . . .ST
                                                                                                                                                                      . . . .1. . . 3a.                    1,209
  3 b NYC General Corporation Tax deducted on federal return (see instructions). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 3b.                                                           2,712
  4 ACRS depreciation and/or adjustment (attach Form NYC-399 and/or NYC-399Z) (see instructions). . . . . . . . . . 4.
  5 Total (sum of lines 1 through 4). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 5.                    49,543
  6 a New York City net operating loss deduction (see instructions). . . . . . . . . . . . . . . . . . 6a.                                                       36,498
  6 b Depreciation and/or adjustment calculated under pre-ACRS or pre - 9/11/01
      rules (attach Form NYC-399 and/or NYC-399Z) (see instructions). . . . . . . . . . . . . . . 6b.
  6 c NYC and NYS tax refunds included in Schedule B, line 1 (see instr.) . . . . . . . . . . . 6c.
  7 Total (sum of lines 6a through 6c). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 7.                      36,498
  8 Taxable net income (line 5 less line 7) (enter on page 1, Schedule A, line 1) (see instructions) . . . . . . . . . . . . 8.                                                                           13,045
SCHEDULE C                   Total Capital
Basis used to determine average value in column C. Check one. (Attach detailed schedule)
 X - Annually            - Semi-annually         - Quarterly                COLUMN A                                                                     COLUMN B                                COLUMN C
                                                                       Beginning of Year                                                                 End of Year                            Average Value
      - Monthly                    - Weekly                             - Daily

  1    Total assets from federal return. . . . . . . . . . . . . . . . . . . . . . 1.            775,091                               633,337                                                        704,214
  2    Real property and marketable securities included in line 1 . . . . . . . . . 2.
  3    Subtract line 2 from line 1. . . . . . . . . . . . . . . . . . . . . . . . . . . 3.                                                                                                            704,214
  4    Real property and marketable securities at fair market value. . . . . . . 4.
  5    Adjusted total assets (add lines 3 and 4) . . . . . . . . . . . . . 5.                                                                                                                         704,214
  6    Total liabilities (see instructions) . . . . . . . . . . . . . . . . . . . . . 6.         390,863                               344,062                                                        367,463
  7    Total capital (column C, line 5 less column C, line 6) (enter on page 1, Schedule A, line 2a or 2b) (see Instructions) . . . . . . . . . . . . @ 7.                                            336,751
SCHEDULE D                      Certain Stockholders
Include all stockholders owning in excess of 5% of taxpayer's issued capital stock who received any compensation, including commissions.
                     Name, Country and US Zip Code                              Social Security        Official            Salary & All Other
                        (Attach rider if necessary)                                Number               Title         Compensation Received from
                                                                                                                     Corporation (If none, enter "0")
SEE STATEMENT 2



  1    Total, including any amount on rider (enter on page 1, Schedule A, line 3a) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 1.                                                     213,250
SCHEDULE E            The following information must be entered for this return to be complete
  1    New York City principal business activity: BAR & TAVERN
  2    Does the corporation have an interest in real property located in New York City? (see instructions). . . . . . . . . . . . . . . . . . . YES                                                       X   NO
  3    If "YES": (a) Attach a schedule of such property, including street address, borough, block and lot number.
                          SEE STATEMENT 3
                     (b) Was a controlling economic interest in this corporation (i.e., 50% or more of stock ownership) transferred during the tax year?. . . . . . . . YES                                   NO      X
  4    Does the corporation have one or more qualified subchapter s subsidiaries (QSSS)? . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . YES                                                  NO      X
               If "YES" Attach a schedule showing the name, address and EIN, if any, of each QSSS and indicate whether the QSSS filed or
               was required to file a City business income tax return. See instructions.

  5    Enter the number of Fed K1 returns attached: 9
  6    Does this taxpayer pay rent greater than $200,000 for any premises in NYC in the borough of Manhattan south of 96th Street
       for the purpose of carrying on any trade, business, profession, vocation or commercial activity?. . . . . . . . . . . . . . . . . . . . . . YES                                                    X   NO
  7    If "YES", were all required Commercial Rent Tax Returns filed?. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . YES                              NO      X
       Please enter Employer Identification Number which was used on the Commercial Rent Tax Return:
                          COMPOSITION OF PREPAYMENTS SCHEDULE
                            PREPAYMENTS CLAIMED ON SCHEDULE A, LINE 8                                                                                                 DATE                         AMOUNT
                           A Mandatory first installment paid with preceding year's tax . . . . . . . . . . . . . . . . .                                                                                     845
                           B Payment with Declaration, Form NYC-400 (1). . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                           C Payment with Notice of Estimated Tax Due (2) . . . . . . . . . . . . . . . . . . . . . . . . . . .
                           D Payment with Notice of Estimated Tax Due (3) . . . . . . . . . . . . . . . . . . . . . . . . . . .
                           E Payment with extension, Form NYC-EXT. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                           F Overpayment from preceding year credited to this year . . . . . . . . . . . . . . . . . . .
                           G TOTAL of A through F (enter on Schedule A, line 8) . . . . . . . . . . . . . . . . . . . . . .                                                                                   845
                          MAILING                   ALL RETURNS EXCEPT REFUND RETURNS                                             REMITTANCES                                             RETURNS CLAIMING REFUNDS
                                                                                                                        PAY ONLINE WITH FORM NYC-200V
                          INSTRUCTIONS:             NYC DEPARTMENT OF FINANCE                                                AT NYC.GOV/ESERVICES                                         NYC DEPARTMENT OF FINANCE
                                                    GENERAL CORPORATION TAX                                                             OR                                                GENERAL CORPORATION TAX
                                                                                                                     Mail Payment and Form NYC-200V ONLY to:
                                                    P.O. BOX 5564                                                             NYC DEPARTMENT OF FINANCE                                   P.O. BOX 5563
                                                    BINGHAMTON, NY 13902-5564                                                        P.O. BOX 3933                                        BINGHAMTON, NY 13902-5563
                                                                                                                                NEW YORK, NY 10008-3933

                           30422318                                          The due date for the calendar year 2023 return is on or before March 15, 2024.                                                   18
                                                                For fiscal years beginning in 2023, file on the 15th day of the third month after the close of fiscal year.
                                                                                                   YCCA2012        07/31/23
                24-10449-mew                                  Doc 14-1                      Filed 03/27/24 Entered 03/27/24 11:34:24                                                                            Most recent
                                                                                             tax return Pg 101 of 107
MOXY RESTAURANT ASSOCIATES INC.                                                                                                                                                                                       XX-XXXXXXX
Alternative Tax Worksheet                                                                             Refer to the instructions before computing the alternative tax.
Net income/loss (See instructions) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                         1. $            13,045.
Enter 100% of salaries and compensation for the taxable year paid to stockholders owning more than 5% of
the taxpayer's stock. (See instructions.). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                             2. $          213,250.
Total (line 1 plus line 2) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .             3. $          226,295.
Statutory exclusion ' Enter $40,000. (if return does not cover an entire year, exclusion must be prorated based
on the period covered by the return). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                          4. $           40,000.
Net amount (line 3 minus line 4) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                       5. $          186,295.
15% of net amount (line 5 x 15%). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                          6. $           27,944.
Investment income to be allocated (Schedule B, line 22b x 15%. Do not enter more than amount on line 6 above.
Enter "0" if not applicable.) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 7. $                                0.
Business income to be allocated (line 6 minus line 7). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                           8. $            27,944.
Allocated investment income (line 7 x investment allocation % from Schedule D,
line 2F). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .          100. %                                  9. $                     0.

Allocated business income (line 8 x business allocation % from Schedule H,
line 7) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .        100. %                               10. $              27,944.
Taxable net income (line 9 plus line 10) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 11. $                                       27,944.
Tax rate . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 12.      8.85% (.0885)
Alternative tax (line 11 x line 12) Transfer amount to page 1, Schedule A, line 3 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 13. $                                                                           2,473.




                                                                                                                    NYSL0101L          06/24/21
              24-10449-mew                               Doc 14-1                    Filed 03/27/24 Entered 03/27/24 11:34:24                   Most recent
                                                                                      tax return Pg 102 of 107
                   -ATT-S-CORP CALCULATION OF FEDERAL TAXABLE INCOME FOR S CORPORATIONS 2023
                                                                 ATTACH TO FORM NYC-1, NYC-3A, NYC-3L, NYC-4S OR NYC-4SEZ

     All federal Subchapter S Corporations must complete this schedule and include it when filing Form NYC-1, NYC-3A, NYC-3L, NYC-4S, or
     NYC-4SEZ. Amounts on Part I, Lines 1 through 8, 12 and 13 and Part II, Lines 15 through 18 are carried from your Federal form 1120S.

For CALENDAR YEAR                       2023             or FISCAL YEAR beginning                                        and ending
Name as shown on NYC-1, NYC-3A/ATT, NYC-3L, NYC-4S or NYC-4SEZ                                                                         EMPLOYER IDENTIFICATION NUMBER

MOXY RESTAURANT ASSOCIATES INC.                                                                                                       XX-XXXXXXX
PART I - ADDITIONS TO ORDINARY BUSINESS INCOME
                                                                                         From Federal Form 1120S
1     Ordinary business income (loss) . . . . . . . . . . . . . .                          Schedule K, Line 1                              1.                 77,177
2     Net rental real estate income (loss) . . . . . . . . . . .                           Schedule K, Line 2                              2.
3     Other net rental income (loss) . . . . . . . . . . . . . . . .                       Schedule K, Line 3c                             3.

4a    Interest income. . . . . . . . . . . . . . . . . . . . . . . . . . . . . .           Schedule K, Line 4                              4a.

4b    Interest Expense Addback. . . . . . . . . . . . . . . . . . . .                      See Instructions                                4b.

5     Ordinary dividends. . . . . . . . . . . . . . . . . . . . . . . . . . .              Schedule K, Line 5a                             5.

6     Royalties. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .     Schedule K, Line 6                              6.

7     Net short-term capital gain (loss) . . . . . . . . . . . . .                         Schedule K, Line 7      7.
8     Net long-term capital gain (loss). . . . . . . . . . . . . .                         Schedule K, Line 8a     8.

9     Sum of lines 7 and 8. . . . . . . . . . . . . . . . . . . . . . . . .                See Instructions        9.
10    Capital Loss Carryover . . . . . . . . . . . . . . . . . . . . . . .                 See Instructions        10.
11    Net Capital Gain. . . . . . . . . . . . . . . . . . . . . . . . . . . . .            See Instructions                                11.

12    Net Section 1231 gain (loss). . . . . . . . . . . . . . . . . .                      Schedule K, Line 9                              12.

13    Other income (loss). . . . . . . . . . . . . . . . . . . . . . . . . .               See Instructions                                13.

14    TOTAL ADDITIONS
      (Sum of lines 1 through 6 plus lines 11 through 13). . . . .                                                                         14.                77,177

PART II - DEDUCTIONS FROM ORDINARY BUSINESS INCOME
                     Make applicable adjustments for C Corporation treatment of items 15 through 21
15    Section 179 deduction. . . . . . . . . . . . . . . . . . . . . . . . .               Schedule K, Line 11                             15.                31,433
16    Contributions. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .       Schedule K, Line 12a                            16.                   122
17    Interest expense. . . . . . . . . . . . . . . . . . . . . . . . . . . . . .          See Instructions                                17.

18    Section 59(e)(2) expenditures . . . . . . . . . . . . . . . . .                      Schedule K, Line 12c                            18.

19    Other deductions . . . . . . . . . . . . . . . . . . . . . . . . . . . . .           See Instructions                                19.
20    Intentionally Omitted. . . . . . . . . . . . . . . . . . . . . . . . . .                                                             20.
21    TOTAL DEDUCTIONS
      (Sum of lines 15 through 20) . . . . . . . . . . . . . . . . .                                                                       21.                31,555
PART III - CALCULATION OF FEDERAL TAXABLE INCOME

22    Federal Taxable Income. . . . . . . . . . . . . . . . . . . . . .                      See Instructions                              22.                45,622




                                                                                         YCCA2201L 12/21/23                           NYC - ATT-S-CORP 2023             18
                24-10449-mew                               Doc 14-1              Filed 03/27/24 Entered 03/27/24 11:34:24 Most recent
                                                                                  tax return Pg 103 of 107
                      - NOLD-GCT                                              NET OPERATING LOSS DEDUCTION COMPUTATION                2023
                                                                              GENERAL CORPORATION TAX
                                                                              ATTACH TO FORM NYC-3A, NYC-3L, NYC-4S or NYC-4SEZ

                                                        For CALENDAR YEAR 2023 or FISCAL YEAR beginning                                                                               2023 and ending
Print or Type I
Name as shown on NYC-3A, NYC-3L, NYC-4S or NYC-4SEZ:                                                                                                                                   EMPLOYER IDENTIFICATION NUMBER

MOXY RESTAURANT ASSOCIATES INC.                                                                                                                                                        XX-XXXXXXX

SCHEDULE A - NYC Net Operating Loss Deduction Schedule (NOLD)

  APPLICABLE COLUMN A -                                   COLUMN B -                        COLUMN C -          COLUMN D -                                       COLUMN E -                    COLUMN F -                 COLUMN G -
     YEAR                                                                                                    NYC Net Operating Loss                             NYC Net Operating             NYC Net Operating
               Tax Year                                  Federal Taxable                    Amount from                                                                                                                   NYC Net Operating
                                                          Income (Loss)                   NYC-3A, NYC-3L, Generated (attach rider                                 Loss Utilized                 Loss Expired               Loss Remaining
                                                         before NOL and                      NYC-4S or         for Separate Return
                                                        special deductions                   NYC-4SEZ               Limitation
                                                                                          (See instructions)   Year (SRLY) Loss)


A. NOL Carryforward from prior years. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .   G
1. 20th preceding yr
2. 19th preceding yr
3. 18th preceding yr

4. 17th preceding yr
5. 16th preceding yr

6. 15th preceding yr

7. 14th preceding yr
8. 13th preceding yr

9. 12th preceding yr

10. 11th preceding yr
11. 10th preceding yr

12. 9th preceding yr

13. 8th preceding yr
14. 7th preceding yr

15. 6th preceding yr

16. 5th preceding yr
17. 4th preceding yr

18. 3rd preceding yr                       2020                -554,552.                        -543,291.                            543,291.                            30,582.                                             512,709.
19. 2nd preceding yr                       2021                  38,228.                          43,315.                                                                                                                    512,709.
20. 1st preceding yr                       2022                 178,134.                         180,709.                                                             142,507.                                               370,202.
21. Current year                           2023                  45,622.                          49,543.                                                              36,498.                                               333,704.
Note: Current Year's Net Operating Loss Utilized should be carried forward to NYC-3A or NYC-3L, Sch. B, Line 11 or NYC-4S, Sch. B, Line 6a
or NYC-4SEZ, Sch. B, line 4.

Were there any special federal Net Operating Loss elections?. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                       YES        X    NO


SCHEDULE B - Complete the Net Operating Loss Apportionment to Investment Income (if applicable)

NYC Net Operating Loss Apportionment To Investment Income


DESCRIPTION                                                                                                                                                                                                               AMOUNT
 1 Investment Income before Net Operating Loss from NYC-3A or NYC-3L, Sch. B line 20g. . . . . . . . . . . . . . . . . . . . .                                                                             1
 2 Entire Net Income before Net Operating Loss from NYC-3A or NYC-3L, Sch. B line 18 or 19 plus line 11. . . . . .                                                                                         2
   3     Ratio: (Divide line 1 by line 2). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .           3
   4     Net Operating Loss (NYC-3A or NYC-3L, Sch. B line 11). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                        4
   5     Net Operating Loss Apportionment to Investment Income (multiply line 3 by line 4 and enter on NYC-3A or
         NYC-3L, Sch. B line 21). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .          5




                                                                                                 YCCA2301          07/24/23                                                                         NYC-NOLD-GCT 2023                     18
           24-10449-mew                   Doc 14-1          Filed 03/27/24 Entered 03/27/24 11:34:24                    Most recent
18                                                           tax return Pg 104 of 107
                                               NYC-200V                                                PAYMENT VOUCHER
59 Maiden Lane, 19th Floor
New York, NY 10038-4502
nyc.gov/finance


MOXY RESTAURANT ASSOCIATES INC.
                                                                                                       EIN/SSN:         XX-XXXXXXX
138 WEST 25TH ST                                                                                       PERIOD BEGIN:    01-01-2023
NEW YORK, NY 10001                                                                                     PERIOD END:      12-31-2023



General Information
File form NYC-200V if you are filing a paper return and there is a balance due. Submit your check with this form. Do not send the check with
the return. If you filed your New York City return or extension electronically but did not pay the amount due electronically with the return,
you may file a paper NYC-200V with a check, or you may file a Form NYC-200V online and pay online at nyc.gov/eservices.
Your form NYC-200V and payment must be postmarked by the return due date to avoid late payment penalties and interest.

EIN/SSN
Individuals and Single-Member LLCs should file using a Social Security Number. Estates and Trusts and Partnerships should file using an
Employer Identification Number.

Payment
The amount you pay should be the amount shown on your e-filed or paper New York City return or extension. Make your check or money order
payable in US funds to New York City Department of Finance.

Where to Mail
Mail your payment to:

New York City Department of Finance
P.O. Box 3933
New York, NY 10008-3933

                            Paying electronically is fast, secure and easy. Go to nyc.gov/eservices for more information.

                                                                                                                                               2023




                                                                 PLEASE DETACH ALONG THE DOTTED LINE

 18

                    NYC-200V                                                                           PAYMENT VOUCHER

MOXY RESTAURANT ASSOCIATES INC.
                                                                                                       EIN/SSN:         XX-XXXXXXX
138 WEST 25TH ST                                                                                       PERIOD BEGIN:    01-01-2023
NEW YORK, NY 10001                                                                                     PERIOD END:      12-31-2023
 TAX TYPE                        FORM NAME

  200                 NYC-4S
                                                                                                       NYC DEPARTMENT OF FINANCE
                                                                                                       P.O. BOX 3933
Payment Amount Enclosed                                                                                NEW YORK, NY 10008-3933
                                                                                                                                YCIZ2101L   07/31/23
                                                        2,327.
Make Remittance Payable to: NYC Department of Finance




            200 001 00000000464423234 12312023 00000000000 06 0000232700 3
                  24-10449-mew                                  Doc 14-1                   Filed 03/27/24 Entered 03/27/24 11:34:24 Most recent
                                                                                            tax return Pg 105 of 107
                                                            - 222                         UNDERPAYMENT OF ESTIMATED TAX BY                     2023
                                                                                          BUSINESS AND GENERAL CORPORATIONS
                                                                                          ATTACH TO FORM NYC-2, NYC-2A, NYC-2S, NYC-3L, NYC-3A, NYC-4S OR NYC-4SEZ


                                                                   For CALENDAR YEAR 2023 or FISCAL YEAR beginning                                                                  , 2023 and ending

                                Print or Type I
                                 Name:                                                                                                                                                   EMPLOYER IDENTIFICATION NUMBER




                                 MOXY RESTAURANT ASSOCIATES INC.                                                                                                                          XX-XXXXXXX



                                      Computation of Underpayment
1. 2023 tax (from NYC-2, Sch. A, line 4; NYC-2A, Sch. A, line 6; NYC-2S, Sch. A, line 4; NYC-3L, Sch. A, line 6;
   NYC-4S, Sch. A, line 5; NYC-4S-EZ, Sch. A, line 3; or NYC-3A, Sch. A, line 8). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 1.                                                          2,473.
2. Credits (from NYC-2, Schedule A, lines 5, 7, 8, 9 through 11b; NYC-2A, Schedule A, lines 7, 9, 10, 11 through 13b;
   NYC-3L, Schedule A, lines 7, 9a, 9b, 10a through 10d or NYC-3A, Schedule A, lines 9, 11a, 11b, 12a through 12d) . . . . . . . . . . . . . 2.
3. Line 1 less line 2. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 3.                                   2,473.
4. 90% of line 3 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 4.                                 2,226.
                                                                                                         1-      FIRST                  2-          SECOND                   3-               THIRD          4-        FOURTH
          Enter quarterly due dates of installments:
                                                                                                         03-15-23                       06-15-23                             09-15-23                        12-15-23

5a. 2021 Business Corporation Tax. . . 5a.

5b. 2022 General Corporation Tax. . . . 5b.                                            3,381.
6a. C Corps: If line 5a is over $1,000, enter 25% of line 5a or
    amount from Form NYC-300, line 2, if filed for 2023. . . . . . .                               6a.
6b. S Corps: If line 5b is over $1,000, enter 25% of line 5b or
    amount from NYC-EXT, line 2, if filed for 2022. . . . . . . . . . .                            6b.                     845.

7. Line 4 less line 6a or 6b. . . . . . . . 7.                                         1,381.

8. Enter amount of the installments due in Quarters 2, 3 and 4 (see inst.). . . . . . . . . . . .                            8.                                  460.                                 461.                       460.

9. Amount paid or credited for each period . . . . . . . . . . . . . . .                           9.                      845.

10. Overpayment of previous installment (see instructions) . . . . . . . . . . . . . . . . . . . . . . . 10.

11. Total of lines 9 and 10 . . . . . . . . . . . . . . . . . . . . . . . . . . . .                11.                     845.
                 Quarter 1. . . . . line 11 less line 6a or 6b
12. OVERPAYMENT:                                               12.
                 Quarters 2, 3 and 4 . . . line 11 less line 8
                                    Quarter 1. . . . . line 6a or 6b less line 11
13. UNDERPAYMENT:                                                                 13.                                                                            460.                                 461.                       460.
                                    Quarters 2, 3 and 4 . . . line 8 less line 11
                                                                                                                                                                                COMPUTATION CONTINUES ON PAGE 2

  Exceptions that Avoid the Underpayment Penalty
Total cumulative amount paid or credited from the beginning of                                           1 - FIRST QUARTER              2 - SECOND QUARTER                   3 - THIRD QUARTER               4 - FOURTH QUARTER
the taxable year through the installment dates that correspond to
the 15th day of the 3rd, 6th, 9th and 12th months of the taxable
year . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                           845.                                  845.                                 845.                       845.
                                                                                                                                               50% of 2022 tax                      75% of 2022 tax               100% of 2022 tax


C EXCEPTION 1- Prior year's tax (2022)                                                $                       3,381.
     (see instructions). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                           1,691.                               2,536.                      3,381.
C EXCEPTION 2- Tax on prior year's facts and law using 2023 rates                                                                              Enter 50% of tax                     Enter 75% of tax              Enter 100% of tax

     (attach computation) (see instructions). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
C EXCEPTION 3- Tax on annualized 2023 income                                                                                                   Enter 45% of tax                     Enter 67.50% of tax           Enter 90% of tax

     (attach computation) (see instructions). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
C EXCEPTION 4- Tax on recurring seasonal 2023 income
     (attach computation) (see instructions). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .

30912318                                                                                                       YCCA1712       08/30/23                                                                            NYC-222 2023        18
             24-10449-mew                            Doc 14-1                  Filed 03/27/24 Entered 03/27/24 11:34:24                                     Most recent
                                                                                tax return Pg 106 of 107
Form NYC-222 - 2023                MOXY RESTAURANT ASSOCIATES INC.                                                                        XX-XXXXXXX                              Page 2



            COMPUTATION OF PENALTY                                             1-    FIRST         2-       SECOND                 3-        THIRD                 4-    FOURTH
                                                                                                      06-15-23                       09-15-23                       12-15-23
14. Enter the date of payment or the 15th day of the
    3rd month after the close of the taxable year,
    whichever is earlier . . . . . . . . . . . . . . . . . . . . . . .   14.                             03-15-24                        03-15-24                       03-15-24
15. Number of days from due date of installment to the
    date shown on line 14. . . . . . . . . . . . . . . . . . . . . . 15.                                                   274                           182                        91
16. Number of days on line 15 after
    3/15/2023 and before 4/1/2023. . . . . . . . .                       16.
17. Number of days on line 15 after
    3/31/2023 and before 7/1/2023. . . . . . . . .                       17.                                                 15
18. Number of days on line 15 after
    6/30/2023 and before 10/1/2023. . . . . . . .                        18.                                                 92                             15
19. Number of days on line 15 after
    9/30/2023 and before 1/1/2024. . . . . . . . .                       19.                                                 92                             92                      16
20. Number of days on line 15 after
    12/31/2023 and before 4/1/2024. . . . . . . .                        20.                                                 75                             75                      75
21. Number of days on line 15 after
    3/31/2024 and before 7/1/2024. . . . . . . . .                       21.
22. Number of days on line 15 after
    6/30/2024 and before 10/1/2024. . . . . . . .                        22.
23. Number of days on line 15 after
    9/30/2024 and before 1/1/2025. . . . . . . . .                       23.
24. Number of days on line 15 after
    12/31/2024 and before 3/15/2025. . . . . . . 24.
25. Number of days on line 16 x 11% x amount on line 13
                           365                          25.
26. Number of days on line 17 x 11% x amount on line 13
                           365                          26.                                                             2.08
27. Number of days on line 18 x 11% x amount on line 13
                           365                          27.                                                           12.75                             2.08
28. Number of days on line 19 x *% x amount on line 13
                           365                          28.                                                           13.91                            13.94                      2.42
29. Number of days on line 20 x * % x amount on line 13
                           366                          29.                                                           11.31                            11.34                  11.31
30. Number of days on line 21 x * % x amount on line 13
                           366                          30.
31. Number of days on line 22 x * % x amount on line 13
                           366                          31.
32. Number of days on line 23 x * % x amount on line 13
                           366                          32.
33. Number of days on line 24 x * % x amount on line 13
                           365                          33.

34. Add lines 25 through 33 . . . . . . . . . . . . . . .                34.                                          40.05                            27.36                  13.73
35. To complete this line, refer to the
    instructions for line 35. . . . . . . . . . . . . . . . .            35.

36. Add the amounts on line 34 (or line 35, if applicable) for quarters 1 through 4. Enter total and transfer amount to Form NYC-4SEZ, line 9c,
    Form NYC-4S, Schedule A, line 11c, Form NYC-3L, Schedule A, line 17c, Form NYC-3A, Sch. A, line 19c, Form NYC-2,
    Schedule A, line 16c, Form NYC-2A, Schedule A, line 18c or Form NYC-2S, Sch. A, line 8c. (see instructions for line 35). . . . . . . . . . . . . . . . . 36.                   81.


                                                                                                        *For information regarding interest rates, call 311.
                                                                                                         If calling from outside of the five NYC boroughs,
                                                                                                             please call 212-NEW-YORK (212-639-9675).
                                                                                    30922318         You may also consult the Finance website at nyc.gov/finance

                                                                                                                              YCCA1712      08/14/23                                 18
          24-10449-mew                             Doc 14-1                    Filed 03/27/24 Entered 03/27/24 11:34:24                                                                       Most recent
                                                                                tax return Pg 107 of 107

2023                                                               NEW YORK CITY STATEMENTS                                                                                                           PAGE 1
CLIENT M3234                                                            MOXY RESTAURANT ASSOCIATES INC.                                                                                               XX-XXXXXXX
3/15/24                                                                                                                                                                                                     10:21AM

  STATEMENT 1
  FORM NYC-4S, SCHEDULE B, LINE 3A
  STATE AND LOCAL TAXES

  STATE TAX . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $   1,209.
                                                                                                                                                                                    TOTAL $           1,209.



     STATEMENT 2
     FORM NYC-4S, SCHEDULE D
     CERTAIN STOCKHOLDERS

                              NAME: DAVID MASSEY
                          ZIP CODE: 10701
                          S. S. N.:
                             TITLE:
                      COMPENSATION: $ 0.

                              NAME: WILLIAM THOMPSON
                          ZIP CODE: 11377
                          S. S. N.:
                             TITLE:
                      COMPENSATION: $ 0.

                              NAME: GAVIN WHISTON
                          ZIP CODE: 11792
                          S. S. N.:
                             TITLE: DIRECTOR
                      COMPENSATION: $ 53,050.

                              NAME: THOMAS MCCARTHY
                          ZIP CODE: 11756
                          S. S. N.:
                             TITLE:
                      COMPENSATION: $ 78,150.

                              NAME: KIERON SLATTERY
                          ZIP CODE: 11228
                          S. S. N.:
                             TITLE:
                      COMPENSATION: $ 82,050.



     STATEMENT 3
     FORM NYC-4S, SCHEDULE E, LINE 3A
     CORPORATION HAS INTEREST IN REAL PROPERTY LOCATED AT:

     138 WEST 25 ST
     BOROUGH: MANHATTAN
